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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 1 of 239 PageID #: 196




      STATE OF MISSOURI

                                                   ED100807
      vs.


      JEFFREY WEINHAUS




                                     VOLUME 1
             BEFORE THE HONORABLE JUDGE KEITH SUTHERLAND
                      TRANSCRIPT OF TRIAL TESTIMONY
                          TAKEN OCTOBER 8TH,
                                        8TH, 2013




                     REPORTED BY KIM WROCKLAGE, CCR




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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 2 of 239 PageID #: 197
                                  Weinhaus, Vol. 1                             2




  1            IN THE CIRCUIT COURT OF FRANKLIN COUNTY
  2                           STATE OF MISSOURI
  3
  4   STATE OF MISSOURI,
  5                     PLAINTIFF,                   ED100807
  6   vs.                                 No. 12AB-CR02409-01
  7   JEFFREY WEINHAUS,
  8                       DEFENDANT.
  9
10                  Volume 1, Trial Testimony taken at the
11    Franklin County Justice Center, 401 E. Main Street,
12    Union, in the County of Franklin, State of Missouri,
13    on the 8th day of October, 2013, before Kim
14    Wrocklage, CCR.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 3 of 239 PageID #: 198
                                  Weinhaus, Vol. 1                             3




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  3   FOR THE PLAINTIFF:
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 4 of 239 PageID #: 199
                                  Weinhaus, Vol. 1                             4




  1                         INDEX OF EXAMINATION
  2                                 Voir Dire
  3   On Behalf of the State                          Page 29,      Line 25
  4   On Behalf of the Defendant                      Page 77,      Line 20
  5
  6                           Opening Statement
  7   On Behalf of the State                          Page 151, Line 3
  8   On Behalf of the Defendant                      Page 157, Line 17
  9
10                              Sergeant Folsom
11    Direct Examination by Mr. Parks                 Page 166, Line 17
12    Continued Direct by Mr. Parks                   Page 205, Line 16
13    Cross Examination by Mr. Eastwood               Page 249, Line 5
14    (Vol. 2)
15
16                                 Matthew Fox
17    Direct Examination by Mr. Parks                 Page 192, Line 14
18    Cross Examination by Mr. Eastwood               Page 198, Line 3
19    Redirect Examination by Mr. Parks               Page 204, Line 17
20
21                      Corporal Mertens (Volume 2)
22    Direct Examination by Mr. Parks                 Page 374, Line 22
23    Cross Examination by Mr. Eastwood               Page 397, Line 17
24    Redirect Examination by Mr. Parks               Page 445, Line 12
25    Recross Exam by Mr. Eastwood       Page 447, Line 17
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                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 5 of 239 PageID #: 200
                                  Weinhaus, Vol. 1                             5




  1                   INDEX OF EXAMINATION CONTINUED
  2
  3                         Sergeant Perry Smith
  4   Direct Examination by Mr. Parks                 Page 450, Line 11
  5   Cross Examination by Mr. Eastwood               Page 460, Line 21
  6
  7                          Corporal Jeff White
  8   Direct Examination by Mr. Parks                 Page 482, Line 24
  9   Cross Examination by Mr. Eastwood               Page 493, Line 18
10    Redirect Examination by Mr. Parks               Page 531, Line 5
11    Recross Exam by Mr. Eastwood                    Page 532, Line 14
12
13                         Marty Leach (Volume 3)
14    Direct Examination by Mr. Eastwood Page 563, Line 4
15    Cross Examination by Mr. Parks                  Page 573, Line 20
16    Redirect Exam by Mr. Eastwood                   Page 576, Line 2
17    Recross Examination by Mr. Parks                Page 578, Line 16
18    Further Direct by Mr. Eastwood                  Page 580, Line 11
19
20                              Steve Everhart
21    Direct Examination by Mr. Combs                 Page 581, Line 14
22    Cross Examination by Mr. Parks                  Page 591, Line 2
23    Redirect Examination by Mr. Combs               Page 592, Line 19
24
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                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 6 of 239 PageID #: 201
                                  Weinhaus, Vol. 1                             6




  1                   INDEX OF EXAMINATION CONTINUED
  2
  3                              Heather Clark
  4   Direct Examination by Mr. Eastwood Page 593, Line 22
  5   Cross Examination by Mr. Parks                  Page 601, Line 3
  6
  7                            Closing Argument
  8   By Mr. Parks                Page 614, Line 11
  9   By Mr. Eastwood             Page 622, Line 4
10    By Mr. Parks                Page 637, Line 2
11
12                               Guilt Verdict
13    By Judge Sutherland Page 650, Line 17
14
15                 Opening Statement Punishment Phase
16    By Mr. Parks                Page 664, Line 5
17    By Mr. Eastwood             Page 664, Line 21
18
19                     Testimony by Sergeant Folsom
20    By Mr. Parks                Page 665, Line 6
21
22                  Testimony by Judy Kropf Weinhaus
23    By Mr. Eastwood             Page 671, Line 19
24
25
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                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 7 of 239 PageID #: 202
                                  Weinhaus, Vol. 1                             7




  1                   INDEX OF EXAMINATION CONTINUED
  2
  3                Closing Argument Punishment Phase
  4   By Mr. Parks                Page 676, Line 17
  5   By Mr. Eastwood             Page 678, Line 6
  6   By Mr. Parks                Page 679, Line 25
  7
  8                           Sentencing Verdict
  9   By Judge Sutherland Page 682, Line 8
10
11
12
13
14
15
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17
18
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25
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                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 8 of 239 PageID #: 203
                                  Weinhaus, Vol. 1                             8




  1                     INDEX OF EXHIBITS ADMITTED
  2   State's Exhibit
  3   1 - You Tube Video w/o Captions, Pg. 170
  4   1A- You Tube Video with Captions, Pg. 170
  5   2 - Search Warrant, Pg. 178
  6   3 - Photo of Gun/Holster, Pg. 181
  7   4 - Photo of Gun, Pg. 181
  8   5 - Photo of Command Center, Pg. 183
  9   6 - Photo Contents of Drawer, Pg. 186
10    7 - Photo Individual Items, Pg. 186
11    8 - Photo of Pills in Case, Pg. 186
12    11- Photo of Marijuana Bag, Pg. 214
13    13- Diagram of Scene, Pg. 211
14    14- Photo of Scene from End of Parking Lot, Pg. 233
15    15- Watch Video, Pg. 233
16    16- Photo Position of Cars, Pg. 233
17    17- Photo Driver's Side of Cars, Pg. 233
18    18- Photo Behind Green Car, Pg. 233
19    19- Photo Passenger's Side of White Car, Pg. 233
20    20- Photo Markers for Shell Casings, Pg. 453, Vol. 2
21    21- Photo Holster, Pg. 453, Vol. 2
22    22- Photo Pistol/Holster, Pg. 453, Vol. 2
23    23- Photo of 22 Clipped to Box, Pg. 453, Vol. 2
24    24- Photo of Barrel of Shotgun, Pg. 453, Vol. 2
25    25- Photo of Shotgun Covered in Back Seat, Pg. 453
                    Wrocklage Reporting, LLC
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                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 9 of 239 PageID #: 204
                                  Weinhaus, Vol. 1                             9




  1              INDEX OF EXHIBITS ADMITTED CONTINUED
  2
  3   State's Exhibit
  4   26- Photo of Shotgun After Recovery, Pg. 453, Vol. 2
  5   27- Pistol and Holster, Pg. 225, Vol. 1
  6   31- Lab Report, Pg. 197, Vol. 1
  7   32- Statement by Marty Leach, Page 575, Vol. 3
  8
  9   Defendant's Exhibit
10    B- Notarized Statement by Mr. Leach, Pg. 577, Vol. 3
11
12
13
14
15
16
17
18
19
20
21
22
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 10 of 239 PageID #: 205
                                  Weinhaus, Vol. 1                            10




  1               JUDGE SUTHERLAND:           Motions we need to take
  2    up prior to bringing the jury panel in, so let's do
  3    that now.      I'm not sure what was filed first and
  4    what difference it makes, what do you want to take
  5    up first?
  6               MR. PARKS:      We can take up the State's
  7    motion first, Your Honor.
  8               MR. EASTWOOD:        That's fine.
  9               JUDGE SUTHERLAND:           You're talking about the
 10    State's motion in limine two?
 11               MR. PARKS:      Yes, Your Honor.
 12               JUDGE SUTHERLAND:           Argument for the State.
 13               MR. PARKS:      Yes, Your Honor.          Mr. Eastwood
 14    contacted me yesterday and asked me if I would
 15    stipulate to the You Tube video from Wal-Mart, which
 16    I said I would; however, it is the State's position
 17    that even though the You Tube video of the
 18    defendant, which we are going to show, that it's
 19    still up on You Tube is irrelevant and prejudicial.
 20    I do not believe Mr. Eastwood is going to bring in
 21    anybody from You Tube that is going to testify to
 22    their standards or anything.                  I don't even know if
 23    You Tube knows about this video.                 We have not
 24    contacted them to have it down because it's
 25    irrelevant at this point, because what we were
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 11 of 239 PageID #: 206
                                  Weinhaus, Vol. 1                            11




  1    concerned about is the actions in 2012.                 Arguing
  2    that it was still up now and so therefore You Tube
  3    thinks that it's an okay video and doesn't have any
  4    threats to anybody is irrelevant and prejudicial at
  5    this time because we don't know what standards, we
  6    have nobody coming from You Tube to talk about the
  7    standards and to whether or not they would or would
  8    not take the video down.
  9               JUDGE SUTHERLAND:           Mr. Eastwood.
 10               MR. EASTWOOD:        Your Honor, we discussed the
 11    issue of this speech extensively obviously in the
 12    Motion to Dismiss and the 8th Circuit's factors,
 13    which are both objective and subjective in
 14    evaluating speech, and the Court already ruled that
 15    Judge Kelly Parker's testimony would be admissible
 16    in terms of his subjective reaction to the speech.
 17    I think it's important to remember that this speech
 18    was expressed in a context and the context was the
 19    You Tube website on the worldwide web.                 And so I
 20    think by allowing, for instance, Judge Parker's
 21    reaction to the speech, which is a subjective
 22    reaction, I think it's fair to inquire of the
 23    investigating trooper whether or not he contacted
 24    You Tube, whether or not he investigated the terms
 25    of service and guidelines that are posted on the
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 12 of 239 PageID #: 207
                                  Weinhaus, Vol. 1                             12




  1    website along with the video on the same and which
  2    do prohibit threats and to inquire what contact he
  3    had with You Tube, if any, and obviously if he says
  4    I didn't, that's something the jury can hear because
  5    the jury is not just making an objective evaluation
  6    of this speech, they're also making an evaluation of
  7    the speech in the totality of the circumstances.
  8    And the context matters, the speech was not, for
  9    instance, in the form of a letter mailed directly to
 10    Judge Parker.        The speech was in the form of a video
 11    uploaded to the worldwide web, which is a public
 12    forum.     It's a public forum that has terms and
 13    standards and conditions that are publicly posted.
 14    I think it's fair -- if the State is allowed, for
 15    instance, to introduce Judge Parker's testimony as
 16    to his opinion on the speech, that I can also
 17    introduce the terms and guidelines that You Tube has
 18    posted on their website, and the fact that it is
 19    still up there, I think, is relevant.                The fact is
 20    that the State, if we look at the elements of the
 21    offense, the elements include whether the
 22    defendant's speech was reasonably calculated to
 23    harass Judge Parker and whether the defendant so
 24    acted with the purpose to harass Judge Parker in the
 25    performance of Judge Parker's official duties.                    The
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 13 of 239 PageID #: 208
                                  Weinhaus, Vol. 1                            13




  1    fact of the matter is this speech is still up there,
  2    anyone can go online and access it.                It has not been
  3    banned or taken down by You Tube, and therefore I
  4    think that matters in terms of what the jury needs
  5    to evaluate as to this speech, as to its effect,
  6    whether it was reasonably calculated to harass,
  7    whether it had a purpose to harass, the fact that
  8    it's still up there, that nothing has happened to
  9    Judge Parker so far, I think these are all relevant
 10    facts.
 11               JUDGE SUTHERLAND:           Anything else?
 12               MR. PARKS:      Not at this point, Your Honor.
 13               JUDGE SUTHERLAND:           Well, whatever You Tube
 14    has done or not done has been done by unknown IT
 15    people presumably out in California, I would guess.
 16    We don't know why they have done or not done any
 17    particular thing, and I think it's just simply
 18    speculation to question any of the witnesses about
 19    whether they contacted You Tube or made any requests
 20    to have this video removed or anything of the sort.
 21    We don't know why You Tube does or does not do
 22    anything.      I read reports of them removing political
 23    speech that they don't like, although that's
 24    obviously hearsay from newspaper articles, and I
 25    think we're just getting into speculation if we
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 14 of 239 PageID #: 209
                                  Weinhaus, Vol. 1                            14




  1    permit that.       So I am going to grant the State's
  2    motion in limine to prohibit any reference to the
  3    fact that the You Tube video is still being shown
  4    after the date of the offenses charged here.
  5               MR. EASTWOOD:        Your Honor, may I inquire of
  6    the Court.      Can I at least, on my cross examination
  7    of the investigating trooper, can I inquire whether
  8    or not he did make any contact with You Tube, at
  9    least preliminary questions such as that, did you
 10    have contact with the web host, anything like that,
 11    did you investigate who the account holder was,
 12    their IP address, user name or password, just
 13    general?
 14               JUDGE SUTHERLAND:           I don't think so.       I
 15    think that comes within the ruling on the motion, so
 16    I would say no.        You got a motion in limine as well?
 17               MR. EASTWOOD:        I do, Your Honor.         We
 18    discussed it orally last time.                I have since filed a
 19    written second motion in limine.
 20               JUDGE SUTHERLAND:           I have had a chance to
 21    read that this morning, by the way.
 22               MR. EASTWOOD:        The troopers recovered a
 23    shotgun and handgun.          This is not the handgun that
 24    was on the defendant's person.                This was just
 25    another handgun from the defendant's car, which I
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 15 of 239 PageID #: 210
                                  Weinhaus, Vol. 1                            15




  1    believe the evidence will show is his wife's, now
  2    ex-wife's Subaru.         Those two weapons were in the car
  3    after the defendant exited the car.                 The troopers
  4    had no knowledge of their presence during the
  5    interaction with the defendant.                 They had no
  6    knowledge of their presence when they shot the
  7    defendant.      The recording of the defendant indicates
  8    that his state of mind believed this ruse that his
  9    computers were going to be returned to him, not that
 10    he was about to be arrested.                  There's no charges
 11    involving unlawful possession of these weapons or
 12    anything of that sort.            So there's no collateral
 13    evidence of bad intent or bad state of mind by the
 14    defendant.      The State, of course, wants to argue the
 15    defendant was loaded for bear.                 I think that's just
 16    extremely prejudicial.            There's no indication that
 17    these guns came into -- had anything to do with the
 18    series of events at the gas station.                 I don't
 19    think -- there's nothing illegal about having a
 20    shotgun in your car, back of your car.                 I think it
 21    would be prejudicial to the defendant for the State
 22    to argue that somehow he had come with an arsenal.
 23    I think if they had somehow been used in the
 24    incident, if they had somehow come into the
 25    officers' knowledge, if they somehow were involved,
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 16 of 239 PageID #: 211
                                  Weinhaus, Vol. 1                            16




  1    it would be a different thing but here it's
  2    prejudicial.
  3               MR. PARKS:      Your Honor, in State versus
  4    Whitt, 371 sw 2nd 215, this same type of incident
  5    came up into where a car was used, and then when the
  6    defendants were taken into custody, the car was
  7    searched.      The Supreme Court has said that
  8    automobiles may be searched incident to the arrest
  9    or the totality of the circumstances going on there.
 10    This car was driven to the scene by the defendant.
 11    He was armed when he got out of the car.                  After the
 12    shootout, the entire scene was searched for
 13    evidence.      The car was in the middle of the search
 14    scene, and these other weapons were found in the
 15    car.    It's standard police procedure to search and
 16    inventory everything at a crime scene, and I believe
 17    that these items, which were found at the crime
 18    scene, should be allowed to come in.
 19               JUDGE SUTHERLAND:           Anything further?
 20               MR. EASTWOOD:        Your Honor, I have not seen
 21    this case that the -- the Whitt case that Mr. Parks
 22    cited, so I can't respond to that, but I will say
 23    this.     Of course the police can search a vehicle
 24    pursuant to arrest, and of course the contents would
 25    be admissible if they were evident relative to the
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 17 of 239 PageID #: 212
                                  Weinhaus, Vol. 1                            17




  1    crime, but here it's not relevant.                 It has nothing
  2    to do with the attempted assault charge, nothing to
  3    do with the resisting arrest charge.                 The troopers
  4    were not aware of it.           It was not in the immediate
  5    possession or within arm's reach of the defendant.
  6    He was out of his car when this incident occurred,
  7    and therefore it shows nothing except allowing the
  8    State to sort of prejudice him with this argument
  9    that he was loaded for bear.                  Loaded for bear, if he
 10    had used them, if he had popped out of the car with
 11    an arsenal, I think it would be relevant, but he
 12    didn't.
 13               JUDGE SUTHERLAND:           Well, that motion is
 14    denied.     However, I think it's appropriate for
 15    the -- not inappropriate for the State to introduce
 16    the evidence of the search.               Whether I let the State
 17    argue that the defendant was loaded for bear is
 18    quite another matter, but as far as the evidence of
 19    the guns themselves being found in the search of the
 20    car, the motion is denied.
 21               MR. EASTWOOD:        Your Honor, in terms of that
 22    also, of course, would then open the door to the
 23    defendant being able to produce rebuttal evidence as
 24    to state of mind or intent.
 25               JUDGE SUTHERLAND: That remains to be seen.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 18 of 239 PageID #: 213
                                  Weinhaus, Vol. 1                            18




  1    I'll take that up during the trial itself.                  You also
  2    have defendant's amended motion to dismiss the
  3    charge of tampering with a judicial officer for a
  4    defect in the institution of the prosecution.                   As I
  5    said a few minutes ago, I have had a chance to
  6    read --
  7               MR. PARKS:      Didn't we already do that?
  8               MR. EASTWOOD:        We did.
  9               MR. PARKS:      We had done that and that was
 10    denied.
 11               MR. EASTWOOD:        I simply renew my motion that
 12    the speech ought not go to the jury.                It's not a
 13    threat, it's not an incitement to violence, would
 14    not reasonably harass a judge under the 8th
 15    Circuit's dimwitte (phonetic) factors and for that
 16    reason I renew it.
 17               JUDGE SUTHERLAND:           What you need to do
 18    during trial when we get to that point is object
 19    again for the same grounds that would be stated in
 20    the motion rather than rearguing it in front of the
 21    jury.
 22               MR. EASTWOOD:        Absolutely, also I renew my
 23    motion to sever.
 24               JUDGE SUTHERLAND:           Both of those motions are
 25    again denied.      Anything else we need to take up
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 19 of 239 PageID #: 214
                                  Weinhaus, Vol. 1                            19




  1    preliminarily?
  2               MR. EASTWOOD:        Yes.      I have a point of
  3    clarification.        The Court previously ruled at the
  4    pretrial hearing on defendant's original motion in
  5    limine, and the Court granted, at least as to the
  6    prosecution's case in chief, that the particulars of
  7    the defendant's Bulletinman statements and
  8    publications, other than the video that is in
  9    question and subsequent videos that Sergeant Folsom
 10    viewed, should be excluded.               And so what I'd like to
 11    clarify, just for the record before we start having
 12    testimony, is I don't think Sergeant Folsom -- when
 13    I took his deposition, he talked also about hearing
 14    things about other statements the defendant had made
 15    or that he was going -- that he had gone to a 911
 16    call center, that he was going to occupy a
 17    courthouse, I think that's hearsay and I don't think
 18    that's part of the record either that Sergeant
 19    Folsom used in filing his affidavit for the search
 20    in seizing the computers.              So what I don't want to
 21    do is sort of kind of expand the record of the
 22    defendant's speech that is being submitted to the
 23    jury in terms of what the threat was.                I believe,
 24    and I think we agree, that the threat was that video
 25    that we all watched and discussed and the jury is
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 20 of 239 PageID #: 215
                                  Weinhaus, Vol. 1                            20




  1    going to see.        I don't want sort of hearsay remarks
  2    coming in to kind of supplement that speech.
  3               MR. PARKS:      Your Honor, the State is going
  4    to show the investigation that the officer did.
  5    Part of this investigation was going to Crawford
  6    County to see what security measures they had taken.
  7    Part of the things would be the statements that the
  8    defendant made about those when he was confronted at
  9    his house.
 10               JUDGE SUTHERLAND:           Is that when the search
 11    warrant was served or another time?
 12               MR. PARKS:      When they went to interview the
 13    defendant the first time about the video and that's
 14    when they detected the marijuana.               So it's all the
 15    things leading up to them going to his house to
 16    question him about the video and then finding the
 17    marijuana, but what the State is going to show is
 18    why did the troopers, how did they find this guy,
 19    what did they do in their background investigation
 20    before they went out there.
 21               JUDGE SUTHERLAND:           Well, anything further
 22    Mr. Eastwood?
 23               MR. EASTWOOD:        I think we can make a
 24    distinction between what the defendant said at his
 25    house to the witness, to the troopers when they
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 21 of 239 PageID #: 216
                                  Weinhaus, Vol. 1                            21




  1    testify versus what the troopers kind of heard
  2    around the courthouse.            That's my fear.       In the
  3    deposition the troopers testified they also heard
  4    things down in Crawford County from people, and I
  5    think that's hearsay.           I can obviously make a
  6    hearsay objection at trial, but if that bell is
  7    rung, I think that's a pretty big bell that you
  8    can't unring in terms of I heard these things from
  9    people at the courthouse and they were terrified.
 10    If they were witnesses and they were going to come
 11    to testify, that would be a different thing, but
 12    other than that it's hearsay.
 13               JUDGE SUTHERLAND:           At least to a limited
 14    extent I think it's admissible to show why the
 15    officer did what he did, or officers, if there are
 16    more than one.        Certainly not admissible to prove
 17    the truth of it.         I think the jury sometimes has
 18    problems with that.          I think it's admissible to an
 19    extent to show why the officer did what he did.
 20    Make your objection at trial and we'll deal with it
 21    at the time.       Perhaps I'll say it loud enough so
 22    that the jury understands it's not admitted for the
 23    truth of it.
 24               MR. PARKS:      I have two points of order I'd
 25    like to bring up with the Court. No. 1, on voir
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 22 of 239 PageID #: 217
                                  Weinhaus, Vol. 1                            22




  1    dire, normally in this circuit what we do is we ask
  2    general questions, and if we get hands then we go to
  3    the people that raise their hands to ask specific
  4    questions.      We do not just start with okay, juror
  5    No. 1 what do you think about this, juror No. 2.                     Is
  6    that the way the court --
  7               JUDGE SUTHERLAND:           Yes, that's the way I
  8    always proceed.
  9               MR. PARKS:      Secondly, on objections, what we
 10    have started doing here is we have made our
 11    objections like Judge, I object to that for
 12    relevance and then we come to the bench and make the
 13    argument.      We don't make the argument here to the
 14    Court in front of the jury.               Do you want that?
 15               JUDGE SUTHERLAND:           If there's any real
 16    argument on it, if it's just a quick one or two
 17    three word objection, it obviously should be
 18    overruled or granted, but if there is going to be
 19    some serious argument about it, I'd like you to come
 20    up to the bench, over to this side of the bench
 21    where the reporter can hear you.
 22               MR. EASTWOOD:        I've talked with Mr. Parks
 23    about this already.          Obviously to make a record and
 24    preserve the objection, I'm going to have to object
 25    to the You Tube video, but I'm not going to get to
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 23 of 239 PageID #: 218
                                  Weinhaus, Vol. 1                            23




  1    some foundational objection.
  2               JUDGE SUTHERLAND:           If you make the
  3    objection, state it's for the same reasons as stated
  4    in your motions.
  5               MR. EASTWOOD:        Right.
  6               JUDGE SUTHERLAND:           That will be sufficient
  7    to preserve for the record.
  8               MR. PARKS:      We have agreed that the two You
  9    Tube and watch videos would not have to have
 10    foundational basis.
 11               MR. EASTWOOD:        Correct.      And I also may use,
 12    I don't think I'll need to use it but obviously if I
 13    have to impeach I have the Perry Smith recordings of
 14    the interviews with the troopers.
 15               MR. PARKS:      That's fine.
 16               MR. EASTWOOD:        I assume that won't be
 17    necessary, simply what you said.
 18               JUDGE SUTHERLAND:           That will not be a
 19    problem.      Anything else?
 20               MR. PARKS:      Not for the State, Your Honor.
 21               MR. EASTWOOD:        Not for the defense, Your
 22    Honor.
 23               JUDGE SUTHERLAND:           I do have a couple of
 24    matters.      One, this is a bifurcated trial.
 25    Defendant has a right to waive the second phase if
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 24 of 239 PageID #: 219
                                  Weinhaus, Vol. 1                            24




  1    he wants to.       Have you had an opportunity to talk to
  2    your client about that?
  3               MR. EASTWOOD:        I have, Your Honor, and if I
  4    can confer with him again just for a second.
  5               JUDGE SUTHERLAND:           If you wish.     If he wants
  6    to do that, I do have a form for that purpose, but
  7    if he doesn't, that's fine.               I've got all week.
  8               MR. EASTWOOD:        Yes, Your Honor, we would
  9    request jury sentencing.
 10               JUDGE SUTHERLAND:           There's a matter to take
 11    up with Mr. Weinhaus.           Mr. Weinhaus, you probably
 12    had an opportunity to discuss this with your
 13    attorney but you understand that you have the right
 14    either to testify or not to testify.
 15               MR. WEINHAUS:        Yes, sir, I'm aware of that.
 16               JUDGE SUTHERLAND:           The Fifth Amendment under
 17    the United States Constitution you have the right to
 18    not testify, and if your attorney wishes to do so he
 19    can offer a jury instruction which would instruct
 20    the jury that that cannot be held against you.
 21               MR. WEINHAUS:        Yes, sir, I'm aware of that.
 22               JUDGE SUTHERLAND:           I'm not asking and I'm
 23    not going to ask what your conversations with your
 24    attorney, he can certainly give you his advice as to
 25    whether he thinks you should testify or not, but you
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 25 of 239 PageID #: 220
                                  Weinhaus, Vol. 1                            25




  1    understand that it's entirely up to you, your
  2    decision whether to testify or not.
  3               MR. WEINHAUS:        I'm aware of that, Your
  4    Honor.
  5               JUDGE SUTHERLAND:           And also understanding
  6    that you have the right to change your mind at any
  7    time up to that point, can you tell me if it's your
  8    intent to testify at this point?
  9               MR. WEINHAUS:        No, sir, I don't believe it's
 10    necessary.
 11               JUDGE SUTHERLAND:           But you do understand you
 12    have the right to change your mind?
 13               MR. WEINHAUS:        If it's fluid and things
 14    change, you'll be the first to know.
 15               JUDGE SUTHERLAND:           Well, maybe the third or
 16    fourth.
 17               MR. EASTWOOD:        I hope so.
 18               MR. WEINHAUS:        I won't make any outbursts, I
 19    promise, I don't want to get tazed.
 20               JUDGE SUTHERLAND:           Let's go off the record
 21    for a moment.
 22              (WHEREUPON A BRIEF RECESS TOOK PLACE)
 23       (WHEREUPON THE JURY PANEL ENTERED THE COURTROOM)
 24               JUDGE SUTHERLAND:           State of Missouri versus
 25    Jeffrey R. Weinhaus for trial today. Mr. Parks, is
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 26 of 239 PageID #: 221
                                  Weinhaus, Vol. 1                            26




  1    the State ready?
  2               MR. PARKS:      State is ready to proceed, Your
  3    Honor.
  4               JUDGE SUTHERLAND:           Mr. Eastwood, is
  5    defendant ready?
  6               MR. EASTWOOD:        Defense is ready to proceed,
  7    Your Honor.
  8               JUDGE SUTHERLAND:           Ladies and gentlemen,
  9    today's trial for which you have been called for
 10    jury service is a criminal case.               The State of
 11    Missouri has charged the defendant, Jeffrey R.
 12    Weinhaus, has committed the offenses of two counts
 13    of possession of a controlled substance, tampering
 14    with a judicial officer, two counts of assault of a
 15    law enforcement officer in the first degree, two
 16    counts of armed criminal action and resisting
 17    arrest.     The defendant has pled not guilty to the
 18    charges.      Those are the issues of fact which must be
 19    decided by the jury, subject to instructions
 20    concerning the law which the Court will give to the
 21    jury.     The jury is obligated to follow those
 22    instructions.        The trial of a criminal case begins
 23    with a selection of a jury of qualified and
 24    impartial people.         In order to obtain such a jury,
 25    all of you have been summoned as prospective jurors.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 27 of 239 PageID #: 222
                                  Weinhaus, Vol. 1                            27




  1    From your numbers, a jury will be selected to hear
  2    the case.      It is necessary that you be asked various
  3    questions.      Your answers will assist the Court in
  4    determining whether it should excuse you from
  5    serving in this case and will assist the attorneys
  6    in making their selection of those who will hear the
  7    case.     The questions which will be asked of you are
  8    not meant to pry into your personal affairs but
  9    rather a necessary part of selecting a jury.                   Since
 10    this is an important part of the trial, you are
 11    required to be sworn before questions are asked.
 12    Please rise now and be sworn to answer questions.
 13             (WHEREUPON THE JURY PANEL WAS SWORN IN)
 14               JUDGE SUTHERLAND:           Please listen carefully
 15    to all questions.         Take your time in answering
 16    questions.      Some of the questions may require you to
 17    recall experiences during your entire lifetime.
 18    Therefore search your memory before answering.                    If
 19    you do not understand the question, raise your hand
 20    and say so.       If later on during the examination you
 21    remember something which you failed to answer before
 22    or which would modify an answer you gave before,
 23    raise your hand and you will be asked about it.
 24    Your answers must not only be truthful but they must
 25    be full and complete. If your answer to any of
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 28 of 239 PageID #: 223
                                  Weinhaus, Vol. 1                             28




  1    these questions involves matters which are personal
  2    or private, you may so indicate and you will be
  3    given an opportunity to state your answer at the
  4    bench.
  5           The trial of the lawsuit involves considerable
  6    time and effort, and the parties are entitled to
  7    have their rights finally determined.                 The failure
  8    on your part to fully and truthfully answer
  9    questions during this stage of the trial could force
 10    the parties to have to retry the lawsuit at some
 11    future date.       The Court will now read you an
 12    instruction on the law applicable to all criminal
 13    cases.     The charge of any offense is not evidence,
 14    and it creates no inference that any offense was
 15    committed or that the defendant is guilty of an
 16    offense.      The defendant is presumed to be innocent
 17    unless and until during your deliberations upon your
 18    verdict you find him guilty.                  This presumption of
 19    innocence places upon the State the burden of
 20    proving beyond a reasonable doubt that the defendant
 21    is guilty.      A reasonable doubt is a doubt based upon
 22    reason and common sense after careful and impartial
 23    consideration of all the evidence in the case.
 24    Proof beyond a reasonable doubt is proof that leaves
 25    you firmly convinced of the defendant's guilt.                    The
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 29 of 239 PageID #: 224
                                  Weinhaus, Vol. 1                            29




  1    law does not require proof that overcomes every
  2    possible doubt.        If, after your consideration of all
  3    the evidence, you are firmly convinced that the
  4    defendant is guilty of the crimes charged, you will
  5    find him guilty.         If you are not so convinced, you
  6    must give him the benefit of the doubt and find him
  7    not guilty.       Is there any of you who if selected as
  8    a juror could not for any reason follow that
  9    instruction?       If so, would you please raise your
 10    hand.     Thank you.      I see no hands.
 11           It is your duty to follow the law as the Court
 12    gives it to you in the instructions even though you
 13    may disagree with it.           Are there any of you who
 14    would not be willing to follow all instructions
 15    which the Court will give to the jury?                 If so, would
 16    you please raise your hand.               Again I see no hands.
 17    Thank you.
 18           The State is represented here today by
 19    Mr. Robert E. Parks, Prosecuting Attorney of
 20    Franklin County.         The defendant is represented here
 21    today by Mr. Hugh A. Eastwood and Chris Combs of St.
 22    Louis County.        The prosecutor will question you
 23    first and counsel for the defendant will question
 24    you.    Counsel for the State may proceed.
 25                (VOIR DIRE ON BEHALF OF THE STATE)
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 30 of 239 PageID #: 225
                                  Weinhaus, Vol. 1                             30




  1               MR. PARKS:      Thank you, Your Honor.           Good
  2    morning ladies and gentlemen.                 As the Judge said, my
  3    name is Robert Parks.           I'm the elected Prosecuting
  4    Attorney here for Franklin County.                With me today is
  5    Mr. Tim Hoeing, who is my investigator, and he's
  6    going to help me during the voir dire and jury
  7    selection process.         This is the part of the trial
  8    that is known as voir dire.               This is where the
  9    attorneys are going to ask you questions.                  We do not
 10    mean to pry into your personal life, so if there are
 11    any questions that we ask that you feel
 12    uncomfortable answering in front of the whole panel,
 13    please raise your hand and ask for a conference with
 14    the Judge and the two attorneys out of the hearing
 15    of everybody else.         Can everybody hear me okay?
 16    Does everyone here on the jury panel actually
 17    physically live in Franklin County?                 We do have some
 18    areas in Sullivan that go into Crawford County, some
 19    places in Pacific go into a couple of counties.                    Is
 20    there anyone here who does not actually reside in
 21    Franklin County?         Juror No. 7.
 22               MS. FLETCHER:        I am borderline St. Louis
 23    County, unincorporated Franklin County.
 24               MR. PARKS:      Where do you pay your taxes?
 25               MS. FLETCHER: In Arkansas.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 31 of 239 PageID #: 226
                                  Weinhaus, Vol. 1                             31




  1               MR. PARKS:      Where is your voter
  2    registration?
  3               MS. FLETCHER:        In Arkansas.       I live
  4    part-time in Arkansas but I reside part-time here in
  5    St. Louis at a Pacific address.
  6               MR. PARKS:      Okay.       Well that took me by
  7    surprise because we never had anybody that didn't
  8    live in Franklin County.             The way that I will
  9    proceed this morning is I'm going to ask questions.
 10    What I'm going to do is because we have people over
 11    here in the jury box, we have people over here, I'm
 12    going to direct my questions to the entire panel but
 13    I'm going to look to the jury box first, then I'm
 14    going to kind of go down the rows.               So if you're in
 15    the back row and you got your hand up, I don't want
 16    you sitting there for 5, 10 or 20 minutes until we
 17    get to you to answer the question.               So we're going
 18    to be going over here and come back over here.                    Not
 19    trying to slight those people in the back row but
 20    that's the easiest way I found to do this.                  I'm
 21    going to ask you when you answer the question to
 22    please state your name or your jury badge number and
 23    speak up loud enough for us to hear you.                  As the
 24    Judge told you, the defendant in this case is
 25    Mr. Jeffrey Weinhaus. Mr. Weinhaus, could you
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 32 of 239 PageID #: 227
                                  Weinhaus, Vol. 1                             32




  1    please stand.
  2               MR. WEINHAUS:        Sure.
  3               MR. PARKS:      Thank you.          Does anyone here
  4    know Mr. Weinhaus or anyone in his family?                  Over
  5    here in the jury box.           Juror No. 44, do you know
  6    Mr. Weinhaus?
  7               MR. PARKER:       Yes, sir.
  8               MR. PARKS:      Is there anything about knowing
  9    him that would keep you from being fair and
 10    impartial?
 11               MR. PARKER:       No, sir.         I go to church with
 12    the man.
 13               MR. PARKS:      Anyone else?         As the Judge told
 14    you, the defendant is represented by Mr. Hugh
 15    Eastwood and Mr. Chris Combs.                 Does anyone here know
 16    Mr. Eastwood or Mr. Combs?               I see no hands.      Thank
 17    you.    With me today is, like I said, Mr. Tim Hoeing,
 18    who is my investigator.            Does anybody know Tim?           I
 19    see no hands.        Thank you.
 20           This trial is scheduled for three days.                 If
 21    there is anyone here that was selected for this
 22    trial -- is there anyone who could not serve three
 23    days on the jury panel for any reason, anybody
 24    scheduled for a vacation, have a sick kid at home,
 25    going to have surgery, anything like that, anybody
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 33 of 239 PageID #: 228
                                  Weinhaus, Vol. 1                            33




  1    in the jury box
  2               MR. CLICK:      Would that be the next three
  3    days or in the near future?
  4               MR. PARKS:      It will be over by Thursday hell
  5    or high water.        The Judge already said we would.
  6               MR. CLICK:      So we're fine.
  7               MR. PARKS:      Anybody in the first row.
  8               MR. HASLAG:       Early in the afternoon on
  9    Thursday I have a doctor's appointment that I waited
 10    for for three weeks, and I would prefer not to miss
 11    that.
 12               MR. PARKS:      If you were selected and it
 13    would go on, can you reschedule that if need be?
 14               MR. HASLAG:       If I had to, yes, I could
 15    but --
 16               MR. PARKS:      Juror No. 23.
 17               MR. GREGG:      I have a son sick at home.
 18               MR. PARKS:      Are you the only caregiver for
 19    that son?
 20               MR. GREGG:      Right now, yes.         He's got a
 21    doctor's appointment tomorrow.
 22               MR. PARKS:      If you were on the panel, is
 23    there anyone else who could take him to that
 24    doctor's appointment?
 25               MR. GREGG: I suppose.
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 34 of 239 PageID #: 229
                                  Weinhaus, Vol. 1                            34




  1               MR. PARKS:      Juror 34.
  2               MS. NOWLIN:       I have to be at the doctor on
  3    Wednesday.      I had surgery last week and I have to go
  4    get my stitches out on Wednesday.
  5               MR. PARKS:      Tomorrow?
  6               MS. NOWLIN:       Yeah.
  7               MR. PARKS:      If for some reason you made it
  8    on the panel, could you please put that off til
  9    Friday?
 10               MS. NOWLIN:       I could call and ask, I don't
 11    know.
 12               MR. PARKS:      Let me ask you this.           If you did
 13    make the panel, are you going to be worried about
 14    that, is that going to keep you from listening to
 15    the evidence and everything here?
 16               MS. NOWLIN:       No.
 17               MR. PARKS:      But you'd prefer not to if we
 18    can get by.       Anyone else in this row.           In the next
 19    row and the back row.           The State is going to be
 20    calling several witnesses.               One of the witnesses
 21    we're going to be calling is Sergeant James Folsom
 22    from the Missouri State Highway Patrol.                 Sergeant
 23    Folsom, could you please stand.               Thank you.      Does
 24    anyone here know Sergeant Folsom?
 25           Another witness that the State is going to be
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 35 of 239 PageID #: 230
                                  Weinhaus, Vol. 1                            35




  1    calling is Corporal Scott Mertens from the Missouri
  2    State Highway Patrol.           Corporal Mertens, could you
  3    stand up.      Does anyone recognize Corporal Mertens?
  4    Thank you.
  5           The State plans to call Sergeant Perry Smith
  6    from the Missouri State Highway Patrol.                 He is not
  7    here this morning.         Does anyone know Sergeant Smith
  8    from Troop C?
  9           The State plans on calling Corporal Jeffrey
 10    White, who is a firearms instructor with the Highway
 11    Patrol out of Jefferson City.                 Does anyone here know
 12    of Corporal White?
 13           And the State intends to call Mr. Matt Fox, who
 14    is a criminalist out of the Missouri State Highway
 15    Patrol Crime Lab.         Is anyone familiar with Mr. Fox?
 16           Now as you can see, this case from the State is
 17    going to call into question a lot of law enforcement
 18    officers.      Is there anyone here who is themselves,
 19    has a family member, a close personal friend or
 20    anyone who is in law enforcement?
 21               MS. SENSENBRENNER:            I have friends in law
 22    enforcement in California.
 23               MR. PARKS:      But nobody here in Missouri or
 24    in Franklin County?
 25               MS. SENSENBRENNER: No.
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 36 of 239 PageID #: 231
                                  Weinhaus, Vol. 1                            36




  1               MR. PARKS:      Is there anything about having
  2    friends in law enforcement that would keep you from
  3    listening to the evidence today and rendering a fair
  4    and impartial verdict?
  5               MS. SENSENBRENNER:            No.
  6               MR. PARKS:      Juror No. 13, Mrs. Hoffman.
  7               MS. HOFFMANN:        My sister's grandson is in
  8    south county, I don't know.
  9               MR. PARKS:      He's a law enforcement officer
 10    in St. Louis county?
 11               MS. HOFFMANN:        Yeah.
 12               MR. PARKS:      Do you know anybody from
 13    Franklin County, anybody from the Highway Patrol?
 14               MS. HOFFMANN:        No.
 15               MR. PARKS:      Is there anything that would
 16    keep you from listening to the evidence here today
 17    and rendering a fair and impartial verdict?
 18               MS. HOFFMANN:        No.
 19               MR. PARKS:      Anyone in the first row here.
 20    Juror No. 25, Ms. Stack.
 21               MS. STACK:      I have a cousin that works at
 22    the Rolla Police Department.
 23               MR. PARKS:      Nobody, though, that works in
 24    Franklin County?
 25               MS. STACK: No.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 37 of 239 PageID #: 232
                                  Weinhaus, Vol. 1                             37




  1               MR. PARKS:      Is there anything about your
  2    association with your cousin or anything that would
  3    keep you from rendering a fair and impartial verdict
  4    here today?
  5               MS. STACK:      No.
  6               MR. PARKS:      That was a no?
  7               MS. STACK:      No.
  8               MR. PARKS:      You need to speak up because the
  9    court reporter has to take down everything and
 10    that's the last person in the room that we want to
 11    make mad this morning, so keep your voices up.                    No.
 12    22?
 13               MR. HASLAG:       My niece's husband, which we
 14    are also neighbors, is a law enforcement officer in
 15    St. Clair.
 16               MR. PARKS:      In St. Clair?
 17               MR. HASLAG:       Yes, sir.
 18               MR. PARKS:      Is there anything about that
 19    that would keep you from being fair and impartial
 20    here today?
 21               MR. HASLAG:       I will try my best to be fair
 22    and impartial.
 23               MR. PARKS:      Yes or no, can you be impartial?
 24               MR. HASLAG:       I believe I can.        I think I
 25    can, yes.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 38 of 239 PageID #: 233
                                  Weinhaus, Vol. 1                            38




  1               MR. PARKS:      The next row, No. 27.
  2               MS. PIERCE:       I know Monte Delmaine, who is a
  3    state patrol officer, a friend of ours.
  4               MR. PARKS:      You haven't discussed that case
  5    with him?
  6               MS. PIERCE:       No.
  7               MR. PARKS:      Is there anything about knowing
  8    Trooper Delmaine that would keep you from being fair
  9    and impartial here today?
 10               MS. PIERCE:       No.
 11               MR. PARKS:      Anyone else.
 12               MR. DZIEJMA:       I'm currently law enforcement
 13    in Franklin County.
 14               MR. PARKS:      You didn't work on this case?
 15               MR. DZIEJMA:       Did not.
 16               MR. PARKS:      Do you have any personal
 17    knowledge from working on the case?
 18               MR. DZIEJMA:       No.
 19               MR. PARKS:      Could you, as a law enforcement
 20    officer, set that aside, listen to the evidence and
 21    make a fair and impartial verdict based only on the
 22    evidence that you hear today?
 23               MR. DZIEJMA:       I believe so.
 24               MR. PARKS:      Yes or no?
 25               MR. DZIEJMA: Yes.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 39 of 239 PageID #: 234
                                  Weinhaus, Vol. 1                            39




  1               MR. PARKS:      No. 31, Mr. Brendel.
  2               MR. BRENDEL:       I know several people that
  3    work for the Sheriff's Department and one for the
  4    State.
  5               MR. PARKS:      Have you discussed this case
  6    with any one of them?
  7               MR. BRENDEL:       No.
  8               MR. PARKS:      Is there anything about that
  9    that would keep you from being fair and impartial
 10    here today?
 11               MR. BRENDEL:       No.
 12               MR. PARKS:      Anyone else in this row.            The
 13    next row, No. 38, Mrs. Scheer.
 14               MS. SCHEER:       My cousin works for the
 15    Sheriff's Department.
 16               MR. PARKS:      Have you talked to him about
 17    this case?
 18               MS. SCHEER:       No.
 19               MR. PARKS:      Is there anything about that
 20    that would keep you from listening to the evidence
 21    here today and rendering a fair and impartial
 22    verdict based only upon the evidence?
 23               MS. SCHEER:       No.
 24               MR. PARKS:      Anyone else in the row.            No. 41.
 25               MS. WALKER: I have church family that are
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 40 of 239 PageID #: 235
                                  Weinhaus, Vol. 1                            40




  1    law enforcement in Franklin County.
  2               MR. PARKS:      Is there anything about that,
  3    have you discussed this case with any of them.
  4               MS. WALKER:       No, sir.
  5               MR. PARKS:      Is there anything about your
  6    circle of friends that include law enforcement that
  7    would keep you from being fair and impartial here
  8    today?
  9               MS. WALKER:       No, sir.
 10               MR. PARKS:      Thank you.         No. 42, Mr. Kriete.
 11               MR. KRIETE:       I know Sheriff's Deputy Paul
 12    McCluer.
 13               MR. PARKS:      Have you discussed this case
 14    with him or is there anything about that
 15    relationship that would keep you from being fair and
 16    impartial here today?
 17               MR. KRIETE:       No, sir.
 18               MR. PARKS:      Anyone else?        No. 44,
 19    Mr. Parker.
 20               MR. PARKER:       My nephew is a sheriff's deputy
 21    in this county.
 22               MR. PARKS:      Is there anything about that
 23    that would keep you from being fair and impartial?
 24               MR. PARKER:       No.
 25               MR. PARKS: Anyone in the last row, No. 48,
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 41 of 239 PageID #: 236
                                  Weinhaus, Vol. 1                            41




  1    Mr. Wilmsmeyer.
  2               MR. WILMSMEYER:         I'm currently in law
  3    enforcement and I know several people in law
  4    enforcement.
  5               MR. PARKS:      Is there anything about you
  6    being in law enforcement that would keep you from
  7    being fair and impartial?
  8               MR. WILMSMEYER:         No.
  9               MR. PARKS:      Could you listen to the evidence
 10    today and render a fair and impartial verdict based
 11    only upon that testimony and not your involvement in
 12    law enforcement?
 13               MR. WILMSMEYER:         Yes.
 14               MR. PARKS:      No. 16, Ms. Davis.
 15               MS. DAVIS:      I also know a couple of people
 16    in law enforcement in Franklin County.
 17               MR. PARKS:      Have you discussed this case in
 18    any way?
 19               MS. DAVIS:      No.
 20               MR. PARKS:      Is there anything about knowing
 21    them that would keep you from rendering a fair and
 22    impartial verdict?
 23               MS. DAVIS:      No.
 24               MR. PARKS:      No. 18, Ms. Bates.
 25               MS. BATES: I'm friends with the police
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 42 of 239 PageID #: 237
                                  Weinhaus, Vol. 1                            42




  1    chief in Pacific, but I have not discussed anything
  2    with him and I could be fair and impartial.
  3               MR. PARKS:      Thank you very much.
  4               MR. CLICK:      Being a long-time resident, I
  5    know a number of officers here in town.                 We don't
  6    know them real well but we do know a number of
  7    people.
  8               MR. PARKS:      You're Mr. Click?
  9               MR. CLICK:      Yes.
 10               MR. PARKS:      Is there anything about knowing
 11    these people that would keep you from being fair and
 12    impartial?
 13               MR. CLICK:      No.
 14               MR. PARKS:      Thank you.         I'm going to turn
 15    that question around just a little.                Is there anyone
 16    here who has ever come into contact with law
 17    enforcement, either been a suspect or accused of a
 18    crime by law enforcement or has been a victim of a
 19    crime and come into contact with law enforcement,
 20    and I'm talking about anything here.                No. 8.
 21               MS. SIEVE:      I had to call the police for
 22    domestic violence in St. Louis six years ago.
 23               MR. PARKS:      Was there anything about that
 24    contact with law enforcement that left a bad taste
 25    in your mouth against law enforcement that you could
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 43 of 239 PageID #: 238
                                  Weinhaus, Vol. 1                            43




  1    not listen to officers on the stand and be fair and
  2    impartial?
  3               MS. SIEVE:      No.
  4               MS. LAUBINGER:         I've been arrested before.
  5               MR. PARKS:      Anything about that with the
  6    officers --
  7               MS. LAUBINGER:         No.
  8               MR. PARKS:      That you're not going to be
  9    fair?
 10               MS. LAUBINGER:         I'd be fair.
 11               MR. PARKS:      You'd listen to them and give
 12    them the benefit as you would anyone else?
 13               MS. LAUBINGER:         Yeah.
 14               MR. PARKS:      Nothing about that incident that
 15    left a bad taste in your mouth against law
 16    enforcement?
 17               MS. LAUBINGER:         No.
 18               MR. PARKS:      No. 6.
 19               MS. BUHR:      A DWI, was arrested for DWI once
 20    a long time ago.
 21               MR. PARKS:      Has that been taken care of?
 22               MS. BUHR:      It was years and years ago.
 23               MR. PARKS:      Is there anything about that
 24    arrest with the police officers, the court system,
 25    anything that left a bad taste in your mouth that
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 44 of 239 PageID #: 239
                                  Weinhaus, Vol. 1                            44




  1    you would not be fair and impartial here today?
  2               JUDGE SUTHERLAND:           I can be fair and
  3    impartial.
  4               MR. PARKS:      No. 11, Mr. Strassner.
  5               MR. STRASSNER:         I'm assuming you're not
  6    including things like traffic violations, that sort
  7    of thing.      Because yeah, I had a speeding ticket
  8    when I was 16.
  9               MR. PARKS:      And you're 17 now so.           Anything
 10    about that --
 11               MR. STRASSNER:         No, sir.
 12               MR. PARKS:      -- dealing with the contact of
 13    law enforcement that would keep you from treating
 14    them just like you would any other witness?
 15               MR. STRASSNER:         No, sir.
 16               MR. PARKS:      No. 12, Ms. Terschluse.
 17               MS. TERSCHLUSE:         I know law enforcement, in
 18    fact she's your daughter Meg, and my grandson was
 19    involved in a drug deal with law enforcement.
 20               MR. PARKS:      Is there anything about that
 21    contact or knowing these people that would taint you
 22    against law enforcement to where you could not
 23    listen fairly to their testimony and give a fair and
 24    accurate or fair and impartial verdict to the
 25    defendant?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 45 of 239 PageID #: 240
                                  Weinhaus, Vol. 1                            45




  1               MS. TERSCHLUSE:         I think I could give a fair
  2    verdict because they treated them right, my grandson
  3    right, so I'm sure they'd be fair.
  4               MR. PARKS:      So you could be fair and
  5    impartial?
  6               MS. TERSCHLUSE:         Sure.
  7               MR. PARKS:      No. 10, Sensenbrenner.
  8               MS. SENSENBRENNER:            Are you asking in our
  9    lifetime if we had any contact being pulled over?
 10               MR. PARKS:      Any contacts you might have had
 11    with law enforcement where you don't think the
 12    officer treated you fair, where it left a bad taste
 13    against officers.         If law enforcement officers get
 14    up here to testify, are you going to automatically
 15    disregard what they said because of your experience
 16    with them.
 17               MS. SENSENBRENNER:            I understand, thank you.
 18               MR. PARKS:      Are you okay?
 19               MS. SENSENBRENNER:            Yes, thank you.
 20               MR. PARKS:      No. 19.
 21               MR. HATCHER:       I had a DWI about three years
 22    ago.
 23               MR. PARKS:      Is that disposed of?
 24               MR. HATCHER:       Yes, all over with.
 25               MR. PARKS: Is there anything about the way
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 46 of 239 PageID #: 241
                                  Weinhaus, Vol. 1                            46




  1    the arresting officer handled that that would keep
  2    you from being fair and impartial to the testimony
  3    of a law enforcement officer?
  4               MR. HATCHER:       No, the only thing I didn't
  5    like was to be kept 24 hours when nobody knew where
  6    I was at, but I had no problem with them.
  7               MR. PARKS:      So you could be fair and
  8    impartial?
  9               MR. HATCHER:       Yes.
 10               MR. PARKS:      And that incident would not keep
 11    you from believing the law enforcement officers that
 12    talk or testify here today.
 13               MR. HATCHER:       No.
 14               MR. PARKS:      No. 18.
 15               MS. BATES:      Several years ago I was involved
 16    in an embezzlement case, and I worked along side the
 17    officers to help solve that.
 18               MR. PARKS:      Is there anything about that
 19    that left a bad taste in your mouth that would keep
 20    you from automatically not believing what a law
 21    enforcement officer said?
 22               MS. BATES:      No.
 23               MR. PARKS:      Anyone else in the next row
 24    there.     In the third row, yes, No. 32.
 25               MR. DEBONNAIRE: You're speaking of things
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 47 of 239 PageID #: 242
                                  Weinhaus, Vol. 1                            47




  1    in general that I've done for the law or against?
  2               MR. PARKS:      Have you been a victim of a
  3    crime or law enforcement came --
  4               MR. DEBONNAIRE:         No, no.     Just so your
  5    investigator understands, I have a nephew who I had
  6    to turn in because of crack, and he's out of prison
  7    now, clean and sober and he's got a business, and
  8    I'd rather not mention his name.               He's not dirty
  9    anymore.
 10               MR. PARKS:      Great, that's what we want.
 11               MR. DEBONNAIRE:         I don't see him.
 12               MR. PARKS:      Is there anything about that
 13    incident that left a bad taste --
 14               MR. DEBONNAIRE:         No, I did what was right,
 15    he came to my house and --
 16               MR. PARKS:      We don't want to go into details
 17    but is there anything about that, the way law
 18    enforcement handled that case that left a bad taste
 19    in your mouth?
 20               MR. DEBONNAIRE:         No, they cleaned him up and
 21    he's now good.
 22               MR. PARKS:      Anyone in the next row.            Yes,
 23    No. 41.
 24               MS. WALKER:       My daughter was a rape victim.
 25    I had no problem with the way the police handled it.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 48 of 239 PageID #: 243
                                  Weinhaus, Vol. 1                            48




  1               MR. PARKS:      And you could listen to police
  2    officers testify and be fair and impartial?
  3               MS. WALKER:       Yes.
  4               MR. PARKS:      Another.
  5               MR. PARKER:       I had eight felonies since I
  6    was 15 and misdemeanors.
  7               MR. PARKS:      Thank you very much.
  8               MR. ROACH:      I've been arrested.
  9               MR. PARKS:      Is there anything about that
 10    arrest that left a bad taste in your mouth with the
 11    law enforcement or the court system?
 12               MR. ROACH:      No.
 13               MR. PARKS:      Could you listen to law
 14    enforcement officers testify and treat them the same
 15    as anybody else and be fair and impartial.
 16               MR. ROACH:      Absolutely, yes.
 17               MR. PARKS:      Anyone else in this row.            I
 18    believe the evidence in this case will show that on
 19    September 11th, 2012 that the defendant arrived at
 20    the MFA gas station on Highway K here in Franklin
 21    County.     Defendant was wearing a holstered pistol on
 22    his side.      He was confronted by Sergeant Folsom and
 23    Corporal Mertens.         He attempted to draw his pistol
 24    and was shot by the Highway Patrol.                Is there anyone
 25    here that believes that the defendant's pistol
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 49 of 239 PageID #: 244
                                  Weinhaus, Vol. 1                            49




  1    should have cleared the holster before the law
  2    enforcement officer shot?              Anyone in the jury box?
  3    Anyone back here?         I see no hands.
  4           Does anyone here believe that the law
  5    enforcement officers should have waited for the
  6    defendant to shoot at them and then returned his
  7    fire before they shot him?               Anyone in the jury box?
  8    Anyone back here?
  9               MR. WHITE:      I have a question on your
 10    question before.         Did you say he was pulling his gun
 11    out of his holster but didn't clear the holster?
 12               MR. PARKS:      Yes, do you have any problems
 13    with that?
 14               MR. WHITE:      No.
 15               MR. PARKS:      Anybody here on the second
 16    question that believes the defendant should have
 17    fired at the troopers before they returned fire?
 18               MR. EASTWOOD:        I'm going to ask the Court to
 19    instruct the jury pool that Mr. Parks' statements
 20    are not evidence, they're hypotheticals.
 21               MR. PARKS:      These are hypothetical questions
 22    I'm asking, this is not evidence.
 23               JUDGE SUTHERLAND:           That's sufficient, go
 24    ahead.
 25               MR. PARKS: Does everyone here in the jury
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 50 of 239 PageID #: 245
                                  Weinhaus, Vol. 1                            50




  1    pool agree with the proposition that in Missouri you
  2    have the right to openly carry a weapon, not talking
  3    about carry and conceal but does everybody agree
  4    with the proposition that you may at any time wear a
  5    handgun on your hip as long as it's not concealed.
  6    Does everyone agree with that proposition.
  7               MS. DAYTON:       No, I think you should have a
  8    carry and conceal.
  9               MR. PARKS:      A carry and concealed permit
 10    means that you are allowed to carry a weapon on your
 11    hand and have a coat over it or have it in your
 12    pocket.     That you have to go through special
 13    practice and training, but in the State of Missouri
 14    you can slap a six gun on your hip and walk around
 15    all day, that's the law.             Is there anyone here that
 16    does not believe that that is the law.
 17               MS. QUENNOZ:       That you don't believe it or
 18    that you don't believe in the law?
 19               MR. PARKS:      I'm not asking you if you
 20    believe in the law.          I'm only asking you if you
 21    agree that that is what the law is.                I don't care
 22    whether you agree or not with it, that's irrelevant.
 23    I just want to know do you understand that you're
 24    allowed to that?
 25               MS. QUENNOZ: I don't believe that's the
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 51 of 239 PageID #: 246
                                  Weinhaus, Vol. 1                            51




  1    law, what you're asking.
  2               MR. PARKS:      If I told you that was the law,
  3    would you believe that?
  4               MS. QUENNOZ:       Well, I would hope you would
  5    tell me the law.
  6               MR. PARKS:      Well that is, so everybody
  7    understands now that you can carry a weapon, you can
  8    strap a two gun set on your hips if you want to as
  9    long as you don't have a coat over it.                 As long as
 10    the gun is out in plain view, you're allowed to
 11    carry.
 12               JUDGE SUTHERLAND:           It's not going to get you
 13    very far inside the courthouse or airport but that's
 14    another issue.
 15               MR. PARKS:      Nothing there.        Does everyone
 16    agree with the proposition, though, whether you
 17    carry open or you carry concealed that once that
 18    weapon is drawn, a whole other set of laws take
 19    effect.     You can -- you have the right to carry but
 20    you do not have the right to draw, except in
 21    specific circumstances.            Does everybody agree with
 22    that proposition?         Everybody agree with it in the
 23    jury box.      Everybody agree with it out here.               Does
 24    everyone here agree with the proposition that you
 25    have a constitutional right to criticize your
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 52 of 239 PageID #: 247
                                  Weinhaus, Vol. 1                             52




  1    elected officials.         Anybody here that thinks you
  2    can't?     Anybody in the jury box.             Anybody out here
  3    think that you do not have a constitutional right to
  4    criticize your elected officials.
  5           Does everyone here agree with the proposition
  6    that you do not have a constitutional right to
  7    threaten to kill or harm your elected officials.
  8    Everybody agree with that proposition here in the
  9    jury box.      Everybody agree with that out here.                You
 10    may criticize but you may not kill or harm,
 11    everybody agree with that.
 12           Now the Court has told you that the defendant
 13    is charged with eight crimes.                 This case will
 14    proceed in two stages, the first stage we call the
 15    guilt phase, and if you are on the jury panel, the
 16    first thing that you must decide after hearing the
 17    evidence is whether or not the defendant is guilty
 18    of each or one or all eight of the charges.                   Each
 19    one is to be considered separately.                Each one is to
 20    be found beyond a reasonable doubt by you as guilt.
 21    If you find a guilty verdict on any of the charges,
 22    one, all eight, six, five, whatever, if you find a
 23    guilty verdict, then we will do what is called the
 24    penalty phase in which you will be asked to render a
 25    penalty for each count. The first count is
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 53 of 239 PageID #: 248
                                  Weinhaus, Vol. 1                             53




  1    tampering with a judicial official, which is a Class
  2    C felony.      That charge has a range of punishment of
  3    from one day to one year in the county jail or two
  4    years to seven years in the Department of
  5    Corrections and/or a fine of up to $5,000.00, which
  6    would be assessed by the Court.               So you could find
  7    him on that count guilty and sentence him to one day
  8    to a year in county jail, you could sentence him
  9    from two years to seven years in the Department of
 10    Corrections, and on either one of those you could or
 11    could not ask the Judge to assess a fine.                  Is there
 12    anyone here that if they had found the defendant
 13    guilty of that charge would not consider the entire
 14    range of punishment?          In other words if you say
 15    well, he's guilty of that, all I'll consider is the
 16    jail time.      I won't consider the prison time.               Is
 17    there anyone here that won't consider the entire
 18    range?     I see no hands in the jury box.              I see no
 19    hands with the rest of the panel.
 20           The defendant is charged with possession of a
 21    controlled substance, Morphine in Count 2, again the
 22    same range of punishment as to Count 1, one day to
 23    12 months in the county jail or two years to seven
 24    years in a Department of Corrections or a fine.                    If
 25    you found the defendant guilty of that charge, is
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 54 of 239 PageID #: 249
                                  Weinhaus, Vol. 1                            54




  1    there anyone here who could not consider that entire
  2    range of punishment.          Anyone in the jury box.
  3    Anyone out here.
  4           The third count is possession of a controlled
  5    substance, marijuana, a misdemeanor amount of
  6    marijuana.      That is a Class A misdemeanor where the
  7    penalty is one day to 12 months in the Department of
  8    Corrections and -- let me start over, I'm sorry.
  9    One day to 12 months in the county jail.                  There is
 10    no prison time on a misdemeanor and/or a fine of up
 11    to $1,000.00.        If you convicted the defendant of a
 12    possession of marijuana, is there anyone here who
 13    could not consider that entire range of punishment?
 14    Anyone in the jury box.
 15               MR. GREGG:      I couldn't consider that entire
 16    range.     I don't believe it should be illegal.                I
 17    wouldn't be able to consider a punishment, so.                    I
 18    don't think it should be illegal.
 19               MR. PARKS:      The Judge asked you when he read
 20    the instructions and asked you if you could consider
 21    the instructions, whether you agree with them or
 22    not, if I prove the elements of possession of
 23    marijuana and you think I've proved it beyond a
 24    reasonable doubt, whether you believe in that charge
 25    or not, could you render a guilty verdict?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 55 of 239 PageID #: 250
                                  Weinhaus, Vol. 1                             55




  1               MR. GREGG:      I don't think I could.
  2               MR. PARKS:      Is there anyone else here that
  3    could not consider the full range of punishment on a
  4    misdemeanor marijuana charge.
  5           The defendant is charged with two counts of
  6    assault of a law enforcement officer, the first
  7    being on Sergeant Folsom, the second charge being on
  8    Corporal Mertens.         These are Class A felonies.             The
  9    range of punishment for a Class A felony is minimum
 10    of 10 years, a maximum of 30 years or life in the
 11    Department of Corrections.               If you found the
 12    defendant guilty of the charges of assault of a law
 13    enforcement officer, could you consider the entire
 14    range of punishment.          Anyone in the jury box who
 15    could not consider the entire range of punishment.
 16    Anyone back here on a Class A felony 10 years to 30
 17    years or life in the Missouri Department of
 18    Corrections could not consider that entire range of
 19    punishment.       I see no hands.
 20           The defendant is also charged with two counts
 21    of armed criminal action, which means he used, in
 22    this case, he used a weapon to commit the assault of
 23    a law enforcement officer.               The range of punishment
 24    on an armed criminal action is a minimum of three
 25    years up to whatever you want to give him.                  Is there
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 56 of 239 PageID #: 251
                                  Weinhaus, Vol. 1                            56




  1    anyone here in the jury box that could not consider
  2    the entire range of punishment in their deliberation
  3    on armed criminal action.              Anyone back here.
  4           The last charge is resisting arrest, that is a
  5    Class D felony.        The range of punishment for
  6    resisting arrest is one day to 12 months in the
  7    Franklin County jail or two years to four years in
  8    the Missouri Department of Corrections and/or a fine
  9    of up to $5,000.00.          Is there anyone here who could
 10    not consider the entire range of punishment on
 11    resisting arrest.         Anyone in the jury box.           Anyone
 12    back here.
 13           Has anyone here ever served on a jury panel or
 14    been on a jury before, and I don't care whether it
 15    was criminal or civil, whether it was in Franklin
 16    County, State case or a Federal case.                Anybody here.
 17    We'll start over here, you all put your hands down
 18    and we'll come back.          Anybody in the first row.
 19    Juror No. 9.
 20               MS. DUBUQUE:       I was on Grand jury.
 21               MR. PARKS:      Here in Franklin County?
 22               MS. DUBUQUE:       Yes.
 23               MR. PARKS:      How long ago has that been?
 24               MS. DUBUQUE:       Two years at least.
 25               MR. PARKS: You never heard anything about
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 57 of 239 PageID #: 252
                                  Weinhaus, Vol. 1                            57




  1    this?
  2               MS. DUBUQUE:       No.
  3               MR. PARKS:      Is there anything about that
  4    that would keep you from being fair and impartial
  5    here today?
  6               MS. DUBUQUE:       No, not at all.
  7               MR. PARKS:      Juror No. 11.
  8               MR. STRASSNER:         I was an alternate juror on
  9    a recent civil case.
 10               MR. PARKS:      Here?
 11               MR. STRASSNER:         Yes.
 12               MR. PARKS:      But you never got to
 13    deliberation?
 14               MR. STRASSNER:         I didn't get to deliberate.
 15               MR. PARKS:      You realize that's a civil case.
 16    In a civil case you do not have to have a unanimous
 17    verdict.      You understand you do in a criminal case?
 18               MR. STRASSNER:         I understand.
 19               MR. PARKS:      No. 12.
 20               MS. TERSCHLUSE:         I was on the same civil
 21    case as he was.
 22               MR. PARKS:      Did you make the jury panel?
 23               MS. TERSCHLUSE:         Yes.
 24               MR. PARKS:      You sat for the deliberations?
 25               MS. TERSCHLUSE: Yes.
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 58 of 239 PageID #: 253
                                  Weinhaus, Vol. 1                            58




  1               MR. PARKS:      Is there anything about that
  2    that would keep you from sitting on this jury and
  3    rendering a fair and impartial verdict?
  4               JUDGE SUTHERLAND:           I don't think so.
  5               MR. PARKS:      Did you all reach the verdict?
  6               MS. TERSCHLUSE:         Yes.
  7               MR. PARKS:      Were you the foreman of that
  8    jury?
  9               MS. TERSCHLUSE:         No.
 10               MR. PARKS:      No. 15.
 11               MS. DAYTON:       I've been called several times
 12    and I have served two or three times, it's been many
 13    years but I have served several times, once on a
 14    criminal.
 15               MR. PARKS:      Was that in Franklin County?
 16               MS. DAYTON:       No.
 17               MR. PARKS:      Is there anything about that
 18    jury service that would keep you from being fair and
 19    impartial if you were picked for this jury and
 20    serving on this jury?
 21               MS. DAYTON:       No.
 22               MR. PARKS:      Did you reach a verdict in the
 23    case?
 24               MS. DAYTON:       Yes.
 25               MR. PARKS: Were you the foreman of any of
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 59 of 239 PageID #: 254
                                  Weinhaus, Vol. 1                            59




  1    those jury panels?
  2               MS. DAYTON:       No.
  3               MR. PARKS:      No. 21.
  4               MS. PIOTRASCHKE:          I was on the same one as
  5    them.
  6               MR. PARKS:      Were you on the jury panel or --
  7    were you picked for the jury?
  8               MS. PIOTRASCHKE:          No, I was picked, I was on
  9    the jury.
 10               MR. PARKS:      And you all reached a verdict?
 11               MS. PIOTRASCHKE:          Yes.
 12               MR. PARKS:      Were you the foreman?
 13               MS. PIOTRASCHKE:          No.
 14               MR. PARKS:      And realizing this is a criminal
 15    trial, not a civil, in a criminal trial -- let me
 16    rephrase.      Is there anyone here that does not
 17    realize that in a criminal trial all 12 members must
 18    agree to whatever their verdict is, there's no
 19    getting nine.        All 12 people have to agree,
 20    everybody understand that.               Anyone in the next row,
 21    No. 25.
 22               MS. STACK:      I was in the civil case a few
 23    months ago.
 24               MR. PARKS:      Was there anything about that
 25    jury service that would keep you from serving on
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 60 of 239 PageID #: 255
                                  Weinhaus, Vol. 1                            60




  1    this jury and being fair and impartial?
  2               MS. STACK:      No.
  3               MR. PARKS:      Were you actually on the jury
  4    panel?
  5               MS. STACK:      No.
  6               MR. PARKS:      So you never got to the trial?
  7               MS. STACK:      No.
  8               MR. PARKS:      No. 23.
  9               MR. GREGG:      I was on the same civil case.
 10               MR. PARKS:      Was there anything about that
 11    service that would keep you from being fair and
 12    impartial here today?
 13               MR. GREGG:      No.
 14               MR. PARKS:      Anyone else in this row.            The
 15    next row, No. 30.
 16               MR. DZIEJMA:       I served on a civil case 10
 17    years ago.
 18               MR. PARKS:      In Franklin County?
 19               MR. DZIEJMA:       Yes.
 20               MR. PARKS:      Were you on the jury panel?
 21               MR. DZIEJMA:       Yes.
 22               MR. PARKS:      Did you all reach a verdict?
 23               MR. DZIEJMA:       Yes, sir.
 24               MR. PARKS:      Were you the foreman?
 25               MR. DZIEJMA: No.
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 61 of 239 PageID #: 256
                                  Weinhaus, Vol. 1                            61




  1               MR. PARKS:      Is there anything about that
  2    that would keep you from being fair and impartial?
  3               MR. DZIEJMA:       No.
  4               MR. PARKS:      Mr. Brendel.
  5               MR. BRENDEL:       Franklin County, it was a
  6    malpractice suit in Franklin County.
  7               MR. PARKS:      How long ago was that?
  8               MR. BRENDEL:       Seven years ago, I was on the
  9    jury and I was not a foreman.
 10               MR. PARKS:      Did you all reach a verdict?
 11               MR. BRENDEL:       Yes.
 12               MR. PARKS:      Is there anything about that
 13    that would keep you from rendering a fair and
 14    impartial verdict?
 15               MR. BRENDEL:       No.
 16               MR. PARKS:      Anyone else in this row.            Anyone
 17    in the next row.         No. 46.
 18               MR. HAYS:      I was on a Federal Grand jury in
 19    the late '70s.
 20               MR. PARKS:      Anything about that Grand jury
 21    service that would keep you from being fair and in
 22    partial here today?
 23               MR. HAYS:      No.
 24               MR. PARKS:      Anyone else in this row.
 25               MS. RAGAN: I was called to serve but never
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 62 of 239 PageID #: 257
                                  Weinhaus, Vol. 1                            62




  1    selected.
  2               MR. PARKS:      Here in Franklin County?
  3               MS. RAGAN:      Yes.
  4               MR. PARKS:      Thank you very much.           Now the
  5    next line of questioning is a little more personal.
  6    So if you would feel uncomfortable answering these
  7    questions in front of the entire jury panel, just
  8    please let me know and we'll have a private
  9    conversation with the Judge when we're done with the
 10    voir dire.      But has anyone here on the jury panel
 11    ever been charged with or convicted of a crime you
 12    yourself.
 13               MS. FLETCHER:        A felony charge 17 years ago.
 14    I feel uncomfortable talking about it.
 15               MR. PARKS:      Judge, could we have a
 16    conference with No. 7 please.
 17               MS. LAUBINGER:         I've had a DWI and I think I
 18    mentioned that already.
 19               MR. PARKS:      But was there anything about
 20    that DWI, the way it was handled, the outcome or
 21    anything that would keep you from being fair and
 22    impartial here today?
 23               MS. LAUBINGER:         No.
 24               MR. PARKS:      Anyone else, same thing and we
 25    discussed that with juror No. 6.
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 63 of 239 PageID #: 258
                                  Weinhaus, Vol. 1                            63




  1               MS. BUHR:      Yeah.
  2               MR. PARKS:      No. 22.
  3               MR. HASLAG:       Approximately 10 years ago I
  4    also had a DUI.
  5               MR. PARKS:      Was there anything about that
  6    that left a bad taste in your mouth or would keep
  7    you from being fair and impartial?
  8               MR. HASLAG:       No.
  9               MR. PARKS:      Anything about the way the
 10    officers treated you at the scene that you don't
 11    think was fair or just?
 12               MR. HASLAG:       No, sir.
 13               MR. PARKS:      Anyone in the second row.
 14    Anyone in the third row.
 15               MS. NOWLIN:       I was arrested and charged with
 16    two felonies.
 17               MR. PARKS:      Is there anything about that?
 18               MS. NOWLIN:       No.
 19               MR. PARKS:      Anyone else, 44.
 20               MR. PARKER:       I've been charged with eight
 21    felonies.
 22               MR. PARKS:      Anybody in the last row, 47.
 23               MR. ROACH:      DUI.
 24               MR. PARKS:      How long ago was that?
 25               MR. ROACH: 2002.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 64 of 239 PageID #: 259
                                  Weinhaus, Vol. 1                            64




  1               MR. PARKS:      That's all been disposed of?
  2               MR. ROACH:      Yes.
  3               MR. PARKS:      Was there anything about that,
  4    the way anyone treated you that you feel you could
  5    not be fair and impartial here today?
  6               MR. ROACH:      No.
  7               MR. PARKS:      Anyone else.        Okay, I'm going to
  8    turn that around just a little bit but has a family
  9    member or a close personal friend that you know, and
 10    I'm not talking about well the guy down at the end
 11    of the block got arrested at one time, I'm talking
 12    about somebody you know and have contact with.                    Have
 13    they ever been charged with or convicted of a crime,
 14    close family member or a close personal friend.
 15               MS. DUBUQUE:       How recent do you want to go?
 16               MR. PARKS:      If it's going to bother you,
 17    then I'd like to know about it.               No. 8.
 18               MS. SIEVE:      Unfortunately my daughter is
 19    going to be charged with drug possession, and if I
 20    have an attitude with anybody, it's with my
 21    daughter.
 22               MR. PARKS:      Is that being handled by my
 23    office.
 24               MS. SIEVE:      She's 20, I don't know all the
 25    details.
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 65 of 239 PageID #: 260
                                  Weinhaus, Vol. 1                            65




  1               MR. PARKS:      Was she arrested in Franklin
  2    County?
  3               MS. SIEVE:      Yes.
  4               MR. PARKS:      Was she charged in Franklin
  5    County through a municipality or State court?
  6               MS. SIEVE:      I don't know.
  7               MR. PARKS:      Is there anything about the way
  8    that she is being treated --
  9               MS. SIEVE:      No, it's been exceedingly fair.
 10               MR. PARKS:      So you could be fair and
 11    impartial here today?
 12               MS. SIEVE:      Yes.
 13               MR. PARKS:      No. 9.
 14               MS. DUBUQUE:       I had a son with a Class D
 15    felony about 20 years ago.
 16               MR. PARKS:      Anything about the way that was
 17    handled?
 18               MS. DUBUQUE:       No, same way, very fair and he
 19    got to go on probation, so they treated him right.
 20               MR. PARKS:      So you could be fair and
 21    impartial, listen to the testimony, render a verdict
 22    based only on that, not about your son's prior
 23    convictions.
 24               MS. DUBUQUE:       Yes.
 25               MS. TERSCHLUSE: I have a grandson that
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 66 of 239 PageID #: 261
                                  Weinhaus, Vol. 1                            66




  1    right now he's in drug treatment and he will be in
  2    drug court here when he's released in two weeks.
  3               MR. PARKS:      Is there anything about the way
  4    the police, the courts, the prosecutors, his defense
  5    attorney has handled that case that has left a bad
  6    taste in your mouth so where you could not render a
  7    fair and impartial verdict if you were picked for
  8    this jury?
  9               MS. TERSCHLUSE:         No, because I feel he was
 10    treated fairly.
 11               MR. PARKS:      That's good enough.          Anyone else
 12    in the back row.         Juror No. 2.
 13               MR. CLICK:      I have cousins, aunts and uncles
 14    that all had severe altercations.
 15               MR. PARKS:      Is there anything about those
 16    altercations, the way they were treated by the
 17    police, the court system, the prosecutors, their own
 18    defense attorneys, anything there that has left a
 19    bad taste in your mouth against the legal system?
 20               MR. CLICK:      Most of it was well deserved but
 21    one of the uncles resisted address and they beat him
 22    so bad I couldn't recognize him the next day.                   So at
 23    that time it was pretty hard to handle that, to be
 24    quite honest.
 25               MR. PARKS: Have you been able to resolve
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 67 of 239 PageID #: 262
                                  Weinhaus, Vol. 1                            67




  1    that and set that aside?
  2               MR. CLICK:      I understand them fighting with
  3    him.    I can be impartial still but I have to admit
  4    it was hard at that time.
  5               MR. PARKS:      This case involves the charge of
  6    resisting arrest.         Could you listen to the facts of
  7    the case and render a verdict, putting aside all the
  8    family history, and render a verdict based only on
  9    the evidence you hear here today?
 10               MR. CLICK:      I think so.
 11               MR. PARKS:      Anyone else?
 12               MS. BUHR:      My brother is in prison.
 13               MR. PARKS:      Did those charges arise out of
 14    Franklin County?
 15               MS. BUHR:      Yes.
 16               MR. PARKS:      Was there anything about the way
 17    the police treated that, the courts, the prosecutor,
 18    defense attorney that you did not think was right?
 19               MS. BUHR:      No.
 20               MR. PARKS:      Could you listen to the evidence
 21    here today, be fair and impartial?
 22               MS. BUHR:      Yes.
 23               MR. PARKS:      Anyone here in the first row.
 24    Ms. Davis.
 25               MS. DAVIS: I have a brother that was in
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 68 of 239 PageID #: 263
                                  Weinhaus, Vol. 1                            68




  1    prison.
  2               MR. PARKS:      Did those charges arise out of
  3    Franklin County?
  4               MS. DAVIS:      I don't know for sure.
  5               MR. PARKS:      Was there anything about the way
  6    he was treated by police, by the courts, by the
  7    prosecutor, by his own defense attorneys that left a
  8    bad taste in your mouth?
  9               MS. DAVIS:      No.
 10               MR. PARKS:      If you were picked for the jury,
 11    could you listen to the evidence today, setting
 12    everything aside about your brother and reach a fair
 13    and impartial verdict?
 14               MS. DAVIS:      Yes.
 15               MR. PARKS:      No.
 16               MS. RUTHERFORD:         My brother has been in
 17    prison, not in Franklin County.
 18               MR. PARKS:      Is there anything about his
 19    arrest --
 20               MS. RUTHERFORD:         No.
 21               MR. PARKS:      -- that left a bad taste in your
 22    mouth?
 23               MS. RUTHERFORD:         No.
 24               MR. PARKS:      If you were picked for the jury,
 25    could you set that aside and render a verdict based
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 69 of 239 PageID #: 264
                                  Weinhaus, Vol. 1                            69




  1    only on the testimony you heard here today.
  2               MS. RUTHERFORD:         Yes.
  3               MR. PARKS:      Anyone else.        No. 18.
  4               MS. BATES:      I'd like to speak privately.
  5               MR. PARKS:      No. 18, Ms. Bates, would like a
  6    conference with the Court, Your Honor.                 No. 19, Mr.
  7    Hatcher.
  8               MR. HATCHER:       A couple years back, I own a
  9    lawn business and I was cutting this residence, my
 10    wife was there.
 11               MR. PARKS:      We don't want to go into a lot
 12    of details.
 13               MR. HATCHER:       Anyway, she was taken to the
 14    police station in Washington, Missouri.
 15               MR. PARKS:      Did you think that she was
 16    unfairly arrested?
 17               MR. HATCHER:       No.
 18               MR. PARKS:      Is there anything about the way
 19    the police treated your wife, you, that left a bad
 20    taste in your mouth that you could not be fair and
 21    impartial?
 22               MR. HATCHER:       I just wish I knew more about
 23    it and kept in the know.
 24               MR. PARKS:      But could you be fair and
 25    impartial if you were picked for this jury?
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 70 of 239 PageID #: 265
                                  Weinhaus, Vol. 1                            70




  1               MR. HATCHER:       Yes, I could.
  2               MR. PARKS:      No. 21.
  3               MS. PIOTRASCHKE:          I feel I should mention,
  4    my brother-in-law, his son, he is in trouble with
  5    the courts somehow, but I'm not close enough to the
  6    situation to know anything about it.
  7               MR. PARKS:      There's nothing about that
  8    situation, either the police, courts, anything that
  9    you could not render a fair and impartial verdict?
 10               MS. PIOTRASCHKE:          No.
 11               MR. PARKS:      No. 24.
 12               MS. QUENNOZ:       My nephew has been arrested
 13    and served time for drugs.
 14               MR. PARKS:      Here in Franklin County?
 15               MS. QUENNOZ:       Yes.
 16               MR. PARKS:      Anything about the way that was
 17    handled by the police that you could not set that
 18    aside and render a fair and impartial verdict.
 19               MS. QUENNOZ:       No, sir.
 20               MR. PARKS:      No. 28, Mr. Straatmann.
 21               MR. STRAATMANN:         My brother spent time in
 22    federal prison for drugs.
 23               MR. PARKS:      Is there anything about the way
 24    he was treated by the police, the courts, the legal
 25    system that you could not set that aside and render
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 71 of 239 PageID #: 266
                                  Weinhaus, Vol. 1                            71




  1    a fair and impartial verdict?
  2               MR. STRAATMANN:         No.
  3               MR. PARKS:      No. 29.
  4               MS. TYREE:      I have a brother and
  5    brother-in-law in federal prison.
  6               MR. PARKS:      Is there anything about the way
  7    that was handled that would leave a bad taste in
  8    your mouth that you could not put that aside and
  9    render a fair and impartial verdict here in this
 10    case today?
 11               MS. TYREE:      No.
 12               MR. PARKS:      Anyone in the next row, No. 31,
 13    Mr. Brendel.
 14               MR. BRENDEL:       Son, theft.
 15               MR. PARKS:      Was that here in Franklin
 16    County?
 17               MR. BRENDEL:       Yes.
 18               MR. PARKS:      Was there anything about the way
 19    that was handled by the police, the courts that left
 20    a bad taste in your mouth?
 21               MR. BRENDEL:       No.
 22               MR. PARKS:      You could be fair and impartial
 23    if you were on the jury?
 24               MR. BRENDEL:       Yes.
 25               MR. PARKS: No. 33, Ms. Acton.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 72 of 239 PageID #: 267
                                  Weinhaus, Vol. 1                            72




  1               MS. ACTON:      I have two sons in Franklin
  2    County jail for drugs.
  3               MR. PARKS:      Is there anything about the way
  4    they were treated by the police or anything that you
  5    think was unfair that you could not be fair and
  6    impartial here today?
  7               MS. ACTON:      No.
  8               MR. PARKS:      Anyone else.        Anyone in the next
  9    row.    No. 42.
 10               MR. KRIETE:       My brother had a DWI about 20
 11    years ago.
 12               MR. PARKS:      And is there anything about the
 13    way he was treated by law enforcement, by the legal
 14    system that you thought was unfair?
 15               MR. KRIETE:       No.
 16               MR. PARKS:      Anything about that that you
 17    could not set that aside and render a fair and
 18    impartial verdict here today?
 19               MR. KRIETE:       No.
 20               MR. PARKS:      Anyone else.        No. 45.
 21               MS. WAHLE:      Nephew.
 22               MR. PARKS:      Here in Franklin County?
 23               MS. WAHLE:      Yes.
 24               MR. PARKS:      Anything about the way that was
 25    handled by the police, the court system that you
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 73 of 239 PageID #: 268
                                  Weinhaus, Vol. 1                            73




  1    could not set that aside and render a fair and
  2    impartial verdict?
  3               MS. WAHLE:      No.
  4               MR. PARKS:      You could do that?
  5               MS. WAHLE:      I could.
  6               MR. PARKS:      No. 47, Mr. Roach.
  7               MR. ROACH:      Mr. Brother is locked up right
  8    now.
  9               MR. PARKS:      In another state?
 10               MR. ROACH:      Yes.
 11               MR. PARKS:      Do you know a lot of facts about
 12    that case?
 13               MR. ROACH:      I just know what he was accused
 14    of.
 15               MR. PARKS:      Is there anything about that
 16    accusation that you think the police or the courts
 17    or the prosecutor or his defense attorney did
 18    something that you're not happy with?
 19               MR. ROACH:      I'll say no.
 20               MR. PARKS:      If you were picked for this jury
 21    panel, could you set that aside, render a verdict
 22    only upon the evidence that you hear in court here
 23    today?
 24               MR. ROACH:      Yes, sir.
 25               MR. PARKS: Anyone else.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 74 of 239 PageID #: 269
                                  Weinhaus, Vol. 1                            74




  1               MR. SWINNEY:       No. 50.         My cousin is in jail.
  2               MR. PARKS:      Is that here in Franklin County.
  3               MR. SWINNEY:       No, sir.
  4               MR. PARKS:      Is there anything about that
  5    incarceration, the way the police, the courts,
  6    anybody handled that?
  7               MR. SWINNEY:       Not at all.
  8               MR. PARKS:      You could be fair and impartial?
  9               MR. SWINNEY:       Yes, sir.
 10               MR. PARKS:      Anyone else.         No. 46, Mr. Hays.
 11               MR. HAYS:      My son had a few intersections
 12    with law enforcement when he was a teenager.
 13               MR. PARKS:      Anything about the way the
 14    police or courts handled that that would keep you
 15    from rendering a fair and impartial verdict here
 16    today?
 17               MR. HAYS:      No.
 18               MR. PARKS:      No. 51, Ms. Tuttle.
 19               MS. TUTTLE:       Two sons, one for traffic and
 20    one for theft, and it's still in the process.
 21               MR. PARKS:      Was that here in Franklin
 22    County?
 23               MS. TUTTLE:       Yes.
 24               MR. PARKS:      Is there anything about the way
 25    the police or my office or whoever is handling that
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 75 of 239 PageID #: 270
                                  Weinhaus, Vol. 1                            75




  1    or the court system that you did not feel was right?
  2               MS. TUTTLE:       No.
  3               MR. PARKS:      Is there anything about that,
  4    that if you are picked for this panel you could set
  5    that aside and render a fair and impartial verdict?
  6               MS. TUTTLE:       There's nothing that would --
  7               MR. PARKS:      Could you set that aside, yes or
  8    no, and render a fair and impartial verdict?
  9               MS. TUTTLE:       Yes.
 10               MR. PARKS:      No. 24.
 11               MS. QUENNOZ:       My son had a DWI.
 12               MR. PARKS:      Is there anything about the way
 13    that was handled by the police or courts or anything
 14    that you could not set that aside?
 15               MS. QUENNOZ:       No, sir.
 16               MR. PARKS:      You could be fair and impartial?
 17               MS. QUENNOZ:       Yes, sir.
 18               MR. PARKS:      Your Honor, I do not believe I
 19    have anymore questions at this time.
 20               JUDGE SUTHERLAND:           I do believe the jury
 21    panel would like a little break at this time.
 22               MR. PARKS:      I would.
 23               JUDGE SUTHERLAND:           Ladies and gentlemen,
 24    we'll be in recess for about 15 minutes.                  Before we
 25    finish up the voir dire, I do need to read you an
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 76 of 239 PageID #: 271
                                  Weinhaus, Vol. 1                            76




  1    instruction before we break.                  It is the court's duty
  2    to instruct you now upon a matter about which you
  3    will be reminded at each recess or adjournment of
  4    the Court.      Until the case is given to you to
  5    decide, you must not discuss any subject connected
  6    with the trial among yourselves or form or express
  7    any opinion about it, and until you are discharged
  8    as jurors, you must not talk with others about the
  9    case or permit them to discuss it with you in your
 10    hearing.      You must not email, text or blog, instant
 11    message or use any form of communication regarding
 12    the case or anyone involved in the case until the
 13    trial has ended and you have been discharged as a
 14    juror.     It is important that your decision be based
 15    only on the evidence presented to you in the
 16    proceedings in the courtroom.                 You must not do any
 17    research or investigation on your own regarding any
 18    matter involved in the case.                  For example, you must
 19    not consult books, dictionaries, the Internet or
 20    talk to a person you consider knowledgeable.                   You
 21    should not read, view or listen to any newspaper,
 22    radio, electronic communications from the Internet
 23    or television report of the trial.                 The bailiff and
 24    other officers of the Court are not permitted to
 25    talk to you about any subject connected with the
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 77 of 239 PageID #: 272
                                  Weinhaus, Vol. 1                            77




  1    trial, and you are not permitted to talk to them
  2    about it.      The attorneys representing the State and
  3    the defendant are under a duty not to do anything
  4    which may even seem improper.                 Therefore at recesses
  5    and adjournments they will avoid saying anything to
  6    the jury except perhaps something like good morning
  7    or good afternoon.         In doing that, they do not mean
  8    to be unfriendly but are simply doing their best to
  9    avoid even an appearance which might be
 10    misunderstood that they are or you are doing
 11    anything improper.         The same applies to witnesses
 12    and to the defendant.           They have been or will be
 13    instructed to avoid all contacts with the jury, even
 14    to talk about matters wholly unrelated to the case.
 15    We'll be recessed for 15 minutes.                 You may go out
 16    with the bailiff.
 17              (WHEREUPON A BRIEF RECESS TOOK PLACE)
 18               JUDGE SUTHERLAND:           Voir dire on behalf of
 19    defendant.
 20              (VOIR DIRE ON BEHALF OF THE DEFENDANT)
 21               MR. EASTWOOD:        Good morning everyone.          My
 22    name is Hugh Eastwood.            This is my co-counsel, Chris
 23    Combs, and I'm a criminal defense attorney.                   That
 24    means I defend people who are accused of a crime.
 25    Accused of a crime, nothing more. This trial is a
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 78 of 239 PageID #: 273
                                  Weinhaus, Vol. 1                            78




  1    little different than some in that it has received
  2    quite a bit of coverage in the press.                So first off,
  3    I'd like to ask anyone if they read about this trial
  4    or heard about it in the press or on TV.                  Juror No.
  5    3, without saying exactly what you heard, where have
  6    you heard about this trial in the press or on TV?
  7               MS. COLEMAN:       Local paper.
  8               MR. EASTWOOD:        Would that be the Missourian?
  9               MS. COLEMAN:       Independent.
 10               MR. EASTWOOD:        How closely have you been
 11    following?
 12               MS. COLEMAN:       I haven't.
 13               MR. EASTWOOD:        Just kind of skimmed the
 14    headline?
 15               MS. COLEMAN:       Exactly.
 16               MR. EASTWOOD:        Have you formed an opinion
 17    about the allegations against Mr. Weinhaus based on
 18    what you've read or seen.
 19               MS. COLEMAN:       No.
 20               MR. EASTWOOD:        Juror No. 9.       Where have you
 21    heard about it?
 22               MS. DUBUQUE:       Paper, media and it also
 23    happened in the area I live in.
 24               MR. EASTWOOD:        Do you live in St. Clair?
 25               MS. DUBUQUE: South of St. Clair off of K.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 79 of 239 PageID #: 274
                                  Weinhaus, Vol. 1                            79




  1               MR. EASTWOOD:        How closely have you been
  2    following this matter?
  3               MS. DUBUQUE:       Well, when it comes up, I know
  4    people that know him, kind of in a distant way, we
  5    talk about it.
  6               MR. EASTWOOD:        Do you think you could be
  7    fair and impartial having heard so many things
  8    already?
  9               MS. DUBUQUE:       I think I can.
 10               MR. EASTWOOD:        Juror No. 12,
 11    Mrs. Terschluse.         Where have you heard about it?
 12               MS. TERSCHLUSE:         Newspaper and media.
 13               MR. EASTWOOD:        How closely have you been
 14    following it?
 15               MS. TERSCHLUSE:         Well, I read it but not
 16    really, I don't zero in on it.
 17               MR. EASTWOOD:        Do you always believe
 18    everything you read in the paper?
 19               MS. TERSCHLUSE:         No.
 20               MR. EASTWOOD:        Have you formed any
 21    conclusions already about this matter based on what
 22    you read?
 23               MS. TERSCHLUSE:         No.
 24               MR. EASTWOOD:        Do you think you can be fair
 25    and impartial?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 80 of 239 PageID #: 275
                                  Weinhaus, Vol. 1                            80




  1               MS. TERSCHLUSE:         I think so.
  2               MR. EASTWOOD:        Juror No. 15, Mrs. Dayton.
  3               MS. DAYTON:       Yes.
  4               MR. EASTWOOD:        Where have you heard about
  5    this matter?
  6               MS. DAYTON:       Mainly in the Missourian.
  7               MR. EASTWOOD:        How closely have you been
  8    following it?
  9               MS. DAYTON:       Not closely at all.          I really
 10    couldn't reiterate what the case was all about.
 11               MR. EASTWOOD:        How familiar are you with the
 12    details?
 13               MS. DAYTON:       Not familiar at all.
 14               MR. EASTWOOD:        Have you formed any judgments
 15    or assumptions about this case so far?
 16               MS. DAYTON:       Not at all.
 17               MR. EASTWOOD:        Do you think you can be fair
 18    and impartial?
 19               MS. DAYTON:       Yes, sir.
 20               MS. PIOTRASCHKE:          I heard it on the news and
 21    read about it.
 22               MR. EASTWOOD:        So you heard about it on the
 23    news?
 24               MS. PIOTRASCHKE:          Yeah, but I didn't pay
 25    that much attention to it.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 81 of 239 PageID #: 276
                                  Weinhaus, Vol. 1                            81




  1               MR. EASTWOOD:        Did you form any conclusions
  2    or assumptions?
  3               MS. PIOTRASCHKE:          No.
  4               MR. EASTWOOD:        You could be fair and
  5    impartial?
  6               MS. PIOTRASCHKE:          I think so.
  7               MR. EASTWOOD:        Mr. Haslag, similarly, how
  8    have you been following this?
  9               MR. HASLAG:       I try to keep up with local
 10    news through the newspaper every week, that's the
 11    only source.
 12               MR. EASTWOOD:        Just reading it in the paper?
 13               MR. HASLAG:       Yes.
 14               MR. EASTWOOD:        How close have you been
 15    following it?
 16               MR. HASLAG:       I haven't went out of my way to
 17    follow it.
 18               MR. EASTWOOD:        Juror No. 24.
 19               MS. QUENNOZ:       Newspaper and the TV.
 20               MR. EASTWOOD:        How closely have you been
 21    following it?
 22               MS. QUENNOZ:       Just read about it.
 23               MR. EASTWOOD:        How many of the details are
 24    you familiar with?
 25               MS. QUENNOZ: Just that it happened in
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 82 of 239 PageID #: 277
                                  Weinhaus, Vol. 1                            82




  1    St. Clair.
  2               MR. EASTWOOD:        You could be fair and
  3    impartial?
  4               MS. QUENNOZ:       Yes.
  5               MR. EASTWOOD:        Juror 27.
  6               MS. PIERCE:       I read about it in the
  7    Missourian, and my mother-in-law lives right next
  8    door to the MFA station, so I am pretty familiar
  9    with it, yeah.
 10               MR. EASTWOOD:        Have you been to the scene or
 11    have you been to that gas station many times?
 12               MS. PIERCE:       My whole life, yeah, for years.
 13               MR. EASTWOOD:        Do you regularly go in there
 14    and talk to people there?
 15               MS. PIERCE:       Sometimes.
 16               MR. EASTWOOD:        Would you know the store
 17    clerk there for instance?
 18               MS. PIERCE:       Yes.
 19               MR. EASTWOOD:        Do you think that you would
 20    be able to be fair and impartial?
 21               MS. PIERCE:       Yes.
 22               MR. EASTWOOD:        How familiar are you with the
 23    details of the allegations?
 24               MS. PIERCE:       Somewhat, I read about it in
 25    the paper and heard about it also.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 83 of 239 PageID #: 278
                                  Weinhaus, Vol. 1                            83




  1               MR. EASTWOOD:        Do you feel you are too
  2    personally affected by having family that lives
  3    right by where so many of these events occurred?
  4               MS. PIERCE:       No.
  5               MR. EASTWOOD:        More hands, juror No. 38.
  6               MS. SCHEER:       I read about it in the paper.
  7    Whenever it first happened, I was paying attention.
  8    I work in a county Government building in Jefferson
  9    County.
 10               MR. EASTWOOD:        And do you feel that you
 11    could be fair and impartial in this matter?
 12               MS. SCHEER:       Yeah.
 13               MR. EASTWOOD:        Did you ever feel personally
 14    involved in this matter?
 15               MS. SCHEER:       I did have to cancel an event
 16    because our office was closed.
 17               MR. EASTWOOD:        I'll stop you right there.
 18    Do you think that you still could be fair and
 19    impartial having been personally affected?
 20               MS. SCHEER:       I think so.
 21               MR. EASTWOOD:        Juror No. 40.
 22               MR. CUTLER:       I just read it in the paper.
 23               MR. EASTWOOD:        Mr. Cutler, you read about it
 24    in the paper?
 25               MR. CUTLER: Yes.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 84 of 239 PageID #: 279
                                  Weinhaus, Vol. 1                            84




  1               MR. EASTWOOD:        How close have you followed
  2    it?
  3               MR. CUTLER:       I haven't.
  4               MR. EASTWOOD:        Formed an opinion?
  5               MR. CUTLER:       No.
  6               MR. EASTWOOD:        39, Mrs. Barringhaus.
  7               MS. BARRINGHAUS:          I just remember seeing it
  8    in the paper.
  9               MR. EASTWOOD:        Juror 46, Mr. Hays.
 10               MR. HAYS:      I remember the initial television
 11    reports and news articles, and I knew I was going to
 12    be on a jury --
 13               JUDGE SUTHERLAND:           Sir, could you speak up.
 14               MR. HAYS:      I heard the initial television
 15    reports and just personally read the articles until
 16    the weekend when I knew I was going to be summoned
 17    for jury duty.
 18               MR. EASTWOOD:        Did reading that article
 19    before you came here today make you pre judge any of
 20    the facts or allegations?
 21               MR. HAYS:      I don't think so.
 22               MR. EASTWOOD:        Do you think you could be
 23    fair and impartial?
 24               MR. HAYS:      Yes.
 25               MR. EASTWOOD: Has anybody read comments
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 85 of 239 PageID #: 280
                                  Weinhaus, Vol. 1                            85




  1    about this case on social media, that would be
  2    Facebook, Twitter, You Tube, the comment sections of
  3    newspapers when they're online where you can post
  4    comments if you read the paper online.                 Has anyone
  5    here read or posted comments about this case on
  6    social media?        I see no hands.          I see hands, all
  7    right.     And that is juror No. 38 again and this is
  8    Ms. Scheer.
  9               MS. SCHEER:       I didn't post, I just read what
 10    was on the Missourian's website.
 11               MR. EASTWOOD:        In the comment feed?
 12               MS. SCHEER:       Yeah, the comments on the
 13    Missourian's website.
 14               MR. EASTWOOD:        People in Jeff's life who
 15    love and support him have raised money in his
 16    defense, and they have a website for that.                  Has
 17    anyone ever gone to that website or received an
 18    email from that group of people?               I see no hands.        I
 19    see no hands.
 20           Now, I know Mr. Parks asked you some questions
 21    about law enforcement, about whether you're related
 22    to or close to law enforcement or you've had an
 23    experience, either you or someone in your life,
 24    positive or negative with law enforcement.                  And I
 25    want to ask some follow-up questions about that.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 86 of 239 PageID #: 281
                                  Weinhaus, Vol. 1                            86




  1    Juror No. 22, that's Mr. Haslag.               I know you said
  2    you had your niece's husband is your neighbor.                    He
  3    works for the St. Clair Police Department, and you
  4    said you could try your best but that sounded a
  5    little hesitant to me.            Is your neighbor an officer
  6    for the St. Clair Police Department?
  7               MR. HASLAG:       Yes, he is.
  8               MR. EASTWOOD:        When you said you could try
  9    your best, what did you mean by that?
 10               MR. HASLAG:       Well, I mean from what I've
 11    heard, maybe I possibly should have said it would
 12    cloud my judgment, I probably should have said that,
 13    because I mean I believe what he tells me, I have a
 14    good relationship with him and from what I've heard
 15    from him --
 16               MR. EASTWOOD:        About this case?
 17               MR. HASLAG:       Right, because everybody talks,
 18    right, so I try to be fair and balanced.
 19               MR. EASTWOOD:        But he's your friend, he
 20    married your niece?
 21               MR. HASLAG:       Right.
 22               MR. EASTWOOD:        Sure, I get that.         Juror No.
 23    31, Mr. Brendel.         I know you said you know some
 24    cops.     Have you ever talked about this case with the
 25    cops?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 87 of 239 PageID #: 282
                                  Weinhaus, Vol. 1                            87




  1               MR. BRENDEL:       No.
  2               MR. EASTWOOD:        Have you commented on this
  3    case?
  4               MR. BRENDEL:       No.
  5               MR. EASTWOOD:        Online?
  6               MR. BRENDEL:       No.
  7               MR. EASTWOOD:        Juror No. 12, that's
  8    Ms. Terschluse.        At one point you said you know
  9    Mr. Parks' daughter?
 10               MS. TERSCHLUSE:         Yeah, just through my
 11    sister and my niece really.               She's friends with her
 12    daughter and we've been at parties where they're at.
 13               MR. EASTWOOD:        You're both members of this
 14    community?
 15               MS. TERSCHLUSE:         Right.
 16               MR. EASTWOOD:        Do you think knowing
 17    Mr. Parks' daughter might make it a little bit
 18    difficult for you to be fair and impartial in terms
 19    of the State's witnesses versus the defense's
 20    witnesses or evidence that the State puts on versus
 21    the defense?
 22               MS. TERSCHLUSE:         I think I could be fair
 23    because when you're at a party, you don't discuss
 24    stuff like this.
 25               MR. EASTWOOD: It would be a different kind
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 88 of 239 PageID #: 283
                                  Weinhaus, Vol. 1                            88




  1    of party.      Thank you very much for that.              Juror No.
  2    19, Mr. Hatcher.         I know that you said you had a DWI
  3    and they held you for 24 hours and your wife had an
  4    incident once?
  5               MR. HATCHER:       Yes.
  6               MR. EASTWOOD:        But you also said you could
  7    put those things aside and be fair and impartial
  8    here today?
  9               MR. HATCHER:       I could.
 10               MR. EASTWOOD:        So you could put those out of
 11    your mind entirely whether you're hearing the
 12    testimony of police officers or of other witnesses
 13    and render a fair and impartial verdict in this case
 14    based only on the evidence and the instructions from
 15    the Judge?
 16               MR. HATCHER:       Yes.
 17               MR. EASTWOOD:        Thank you very much.          Juror
 18    No. 23, Mr. Gregg.         So you're a pro legalize
 19    marijuana guy?
 20               MR. GREGG:      Yes.
 21               MR. EASTWOOD:        A lot of people are, it's a
 22    fair subject in our community, absolutely, and I
 23    know you said you'd have a hard time in the
 24    punishment phase if there was a finding of guilt
 25    with assessing a punishment to the defendant.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 89 of 239 PageID #: 284
                                  Weinhaus, Vol. 1                            89




  1               MR. GREGG:      Yes.
  2               MR. EASTWOOD:        But of course the jury is
  3    given discretion to punish here.               Do you think you
  4    could follow the guidelines and within those
  5    guidelines use your discretion and judgment to
  6    assess punishment?
  7               MR. GREGG:      I'd just feel conflicted about
  8    the situation.        I don't know that I could render a
  9    fair verdict just to be completely honest.                  It's
 10    just that conflict there.
 11               MR. EASTWOOD:        So could you render a
 12    punishment of no punishment at all?
 13               MR. GREGG:      Yes.
 14               MR. EASTWOOD:        Juror No. 2, Mr. Click.           I
 15    know you said that some cousins and an uncle and
 16    aunt had a run-in with the law?
 17               MR. CLICK:      Yes.
 18               MR. EASTWOOD:        And one of your family
 19    members, a cousin or uncle was beaten?
 20               MR. CLICK:      An uncle, yeah.
 21               MR. EASTWOOD:        How close are you to these
 22    family members?
 23               MR. CLICK:      The uncle in question has passed
 24    on, it's been several years ago, but it left a
 25    lasting impression.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 90 of 239 PageID #: 285
                                  Weinhaus, Vol. 1                            90




  1               MR. EASTWOOD:        Could you put that lasting
  2    impression aside and be fair and impartial here?
  3               MR. CLICK:      I think I can, yes.
  4               MR. EASTWOOD:        You could be fair to the
  5    State and the defense?
  6               MR. CLICK:      Yes.
  7               MR. EASTWOOD:        And listen to the testimony
  8    of law enforcement officers and other witnesses and
  9    have a fair and impartial verdict?
 10               MR. CLICK:      I think so.
 11               MR. EASTWOOD:        Thank you very much.          Now you
 12    are -- I don't know but I would expect you're likely
 13    to hear the testimony of law enforcement officers in
 14    this trial as the State's witnesses.                Does anyone
 15    here disagree with the proposition that law
 16    enforcement officers are human, like you and me, and
 17    just like you and me, just like any other human
 18    being law enforcement officers can tell the truth
 19    but they can also lie, does anyone disagree with
 20    that?     I see no hands.         Does everyone here think
 21    that they could make a decision for themselves about
 22    whether a law enforcement officer was telling the
 23    truth just like any other human being, any other
 24    witness you heard testify?               I see no hands.      Is
 25    anyone here just a little bit more likely to believe
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 91 of 239 PageID #: 286
                                  Weinhaus, Vol. 1                            91




  1    someone because they are a law enforcement officer
  2    testifying under oath as opposed to someone else?
  3    Anyone else here just a little more credible, juror
  4    No. 4, that's Mr. Suntrup.               Can you tell me about
  5    that, sir?
  6               MR. SUNTRUP:       Yeah, I believe that law
  7    enforcement ought to be believed because they are
  8    law enforcement, and if we can't believe our law
  9    officers, we're in trouble.
 10               MR. EASTWOOD:        So you're more likely to
 11    believe a law enforcement officer than just some guy
 12    off the street?
 13               MR. SUNTRUP:       Yes.
 14               MR. EASTWOOD:        And do you feel that would be
 15    the case throughout this trial?
 16               MR. SUNTRUP:       Uh-huh.
 17               JUDGE SUTHERLAND:           Is that a yes?
 18               MR. SUNTRUP:       Yes.
 19               JUDGE SUTHERLAND:           I thought it was but it's
 20    hard for the reporter to get those uh-huhs down very
 21    well.
 22               MR. EASTWOOD:        Thank you very much, sir.
 23    And do you believe that you would be fair and
 24    impartial nevertheless while believing a law
 25    enforcement officer more than someone off the
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 92 of 239 PageID #: 287
                                  Weinhaus, Vol. 1                            92




  1    street?
  2               MR. SUNTRUP:       Yes.
  3               MR. EASTWOOD:        Thank you very much.          Now,
  4    you're going to hear a lot about free speech in this
  5    case, and I know Mr. Parks asked you some questions
  6    about that.       And it seemed like everyone agreed that
  7    we all have the right to criticize Government
  8    officials.      I want to talk to you for a minute about
  9    context, because I think when we talk about speech,
 10    context matters.         Does anybody disagree that words
 11    mean the same thing no matter where they are said or
 12    the context in which they are said.                 Does anyone
 13    disagree with that?          I see no hands.
 14               MR. DZIEJMA:       Could you repeat that.
 15               MR. EASTWOOD:        Sure.         Does everyone
 16    understand what I mean by context.                 For example,
 17    saying something in a letter you mailed to someone
 18    privately is different than saying something
 19    standing in the town square across the street.                    Does
 20    everyone agree that saying something privately in a
 21    letter or phone call is different than saying
 22    something to someone in public on the street?
 23    Anyone disagree with that?               That's what I mean by
 24    context.
 25           Now, I want to talk to you about extreme
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 93 of 239 PageID #: 288
                                  Weinhaus, Vol. 1                            93




  1    political speech.         By that I mean speech that can be
  2    upsetting, that can be offensive, that can be
  3    outrageous, that you can really, really disagree
  4    with, makes you sick to your stomach.                Does anyone
  5    think that speech ought to be banned, ought to be
  6    punished?      You really don't like it, it makes you
  7    sick to your stomach and it offends you.                  I see no
  8    hands.
  9           Does everyone agree that something that's a
 10    threat in one context could not be a threat in a
 11    different context?         So for example, if I said to my
 12    friend Mr. Combs here, "I'm going to kill you
 13    tonight," that might be different than me saying
 14    when I walk out of here in a joking manner, "oh,
 15    man, I want to kill you."              Those could be read
 16    differently, right?          Is it fair to say context
 17    matters?      Does anyone disagree with that?              You
 18    wouldn't just look at the words but you'd look at
 19    how they were said, where they were said, who they
 20    were said to.        Does anyone disagree that all those
 21    factors are important when you're looking at
 22    someone's statements?
 23           Does anyone here, and I realize some of you
 24    probably use the Internet more than others or don't
 25    use it at all, but does anyone here just feel they
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 94 of 239 PageID #: 289
                                  Weinhaus, Vol. 1                            94




  1    have difficulty evaluating evidence in the form of a
  2    You Tube video?        I see no hands.         Sorry, juror No.
  3    11, that's Mr. Strassner.
  4               MR. STRASSNER:         I would have to be shown
  5    that You Tube video is credible.               I mean obviously
  6    any media is able to be manipulated and You Tube
  7    videos are not excluded from that.
  8               MR. EASTWOOD:        Fair enough, that's a fair
  9    thing to say.        In your experience are normally You
 10    Tube videos available to anyone on the Internet.
 11               MR. STRASSNER:         Generally speaking.
 12               MR. EASTWOOD:        But you'd hold the State to
 13    requiring an explanation about where this video came
 14    from?
 15               MR. STRASSNER:         I think that's fair for any
 16    information, the source of it needs to be explained.
 17               MR. EASTWOOD:        But if the State met that
 18    burden, you could be fair and impartial to the State
 19    in evaluating that video?
 20               MR. STRASSNER:         Of course.
 21               MR. EASTWOOD:        Thanks very much.         A few
 22    years ago, I think it was the 2010 election, Sarah
 23    Palin made an ad that was pretty famous, and in the
 24    ad she said, "On election day we're going to put
 25    certain congressmen in the crosshairs and take them
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 95 of 239 PageID #: 290
                                  Weinhaus, Vol. 1                            95




  1    out of office."        And she actually had pictures of
  2    different congressional seats on the map.                  One of
  3    them was the congressional seat of Gabbie Giffords
  4    in Arizona, and tragically about a month later a
  5    very mentally ill man shot congresswoman Giffords.
  6    Everyone heard of that?            Anyone not heard of that?
  7    Who here thinks that Sarah Palin went too far,
  8    anyone?     Who here thinks that Sarah Palin broke the
  9    law?    Who here is offended by what Sarah Palin said?
 10    Juror No. 15, Mrs. Dayton.               You say you're offended
 11    by what she said?
 12               MS. DAYTON:       I just think that a lot of
 13    politicians can go too far in their assessment of
 14    other opponents, and I think that that's
 15    unnecessary.
 16               MR. EASTWOOD:        Would you throw them in jail
 17    for it?
 18               MS. DAYTON:       No, there's free speech.
 19               MR. EASTWOOD:        So here if you were asked to
 20    judge someone's speech, even if you were offended by
 21    it, you thought it went too far, you still could be
 22    fair and impartial and follow the law?
 23               MS. DAYTON:       Yes.
 24               MR. EASTWOOD:        I want to ask you now about
 25    the Second Amendment, the right to carry a gun.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 96 of 239 PageID #: 291
                                  Weinhaus, Vol. 1                            96




  1    Mr. Parks asked you whether you agreed or disagreed
  2    with the fact that in Missouri under our
  3    constitution, state constitution and our federal
  4    constitution, you have the right to open carry a
  5    gun, not hidden, not concealed, you need a permit
  6    for that, but you have the right to open carry a
  7    gun.    And Mr. Parks asked if anyone thought it was
  8    illegal, and I know I think about three of you did.
  9    Does anyone disagree with that?                Does anybody just
 10    think it's wrong that you're able to open carry a
 11    gun?    All right, let's start with juror No. 21 and
 12    that is Ms. Piotraschke.
 13               MS. PIOTRASCHKE:          I think we have too many
 14    people carrying guns already.                 You can't let
 15    everyone walk around with a gun.                I don't think
 16    that's right.        I think it's dangerous, too many
 17    idiots out there shooting people for no reason.
 18               MR. EASTWOOD:        Do you think that someone is
 19    automatically inherently more dangerous just because
 20    they're carrying a gun on their person?
 21               MS. PIOTRASCHKE:          No, I just think there are
 22    certain people who should not carry guns because
 23    they can't control their temper or they don't know
 24    how to operate it, they just think they do or stuff
 25    like that.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 97 of 239 PageID #: 292
                                  Weinhaus, Vol. 1                              97




  1               MR. EASTWOOD:        Fair enough.       Fair enough.
  2    Would you hold it against someone just for carrying
  3    a gun if you're sitting in judgment of them?
  4               MS. PIOTRASCHKE:          No, I can't say that, no,
  5    but I sure hope none of my neighbors are walking
  6    around carrying guns, and I hope that doesn't get
  7    out of this courtroom.            Let's keep it under wraps.
  8               JUDGE SUTHERLAND:           Don't have an argument
  9    with any of your neighbors.
 10               MR. EASTWOOD:        Juror No. 15, Ms. Dayton.            I
 11    know at one point you said you didn't like guns.                     Do
 12    you think that if someone is carrying a gun, open
 13    carrying a gun on their side that they're more
 14    dangerous?
 15               MS. DAYTON:       No.
 16               MR. EASTWOOD:        If you're sitting in judgment
 17    of someone, would you hold it against them just for
 18    the fact that they're carrying a gun?
 19               MS. DAYTON:       No, I would not.
 20               MR. EASTWOOD:        You could be fair and
 21    impartial?
 22               MS. DAYTON:       Yes.
 23               MR. EASTWOOD:        Juror No. 24, Mrs. Quennoz.
 24    You said at one point you don't -- you didn't
 25    believe it was legal to open carry a gun?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 98 of 239 PageID #: 293
                                  Weinhaus, Vol. 1                            98




  1               MS. QUENNOZ:       I'm sorry, I feel silly but I
  2    thought Missouri was a conceal and carry.
  3               MR. EASTWOOD:        Do you not like guns?
  4               MS. QUENNOZ:       Not particularly but I believe
  5    in everyone's right, if that's what you want to do,
  6    you have the right to do that, that's the law.
  7               MR. EASTWOOD:        Do you think someone is more
  8    dangerous because they're carrying a gun?
  9               MS. QUENNOZ:       No.
 10               MR. EASTWOOD:        Do you think someone is
 11    escalating the danger just because they're carrying
 12    a gun?
 13               MS. QUENNOZ:       No, sir.
 14               MR. EASTWOOD:        You could be fair and
 15    impartial of someone you're sitting in front of even
 16    though they were carrying a gun?
 17               MS. QUENNOZ:       Yes, sir.
 18               MR. EASTWOOD:        Juror No. 45, is it Mr.
 19    Wahle?
 20               MS. WAHLE:      Yes.
 21               MR. EASTWOOD:        At one point you made a
 22    comment about guns earlier, is it that you don't
 23    like guns?
 24               MS. WAHLE:      I didn't make a comment.
 25               MR. EASTWOOD: I'm sorry, I'm mistaken.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 99 of 239 PageID #: 294
                                  Weinhaus, Vol. 1                            99




  1    What are your thoughts on guns, you don't like them?
  2               MS. WAHLE:      I don't like them.
  3               MR. EASTWOOD:        Do you think someone is more
  4    dangerous because they're carrying a gun?
  5               MS. WAHLE:      Yes.
  6               MR. EASTWOOD:        So you think -- would you
  7    hold it against them in a trial just because of the
  8    mere fact they were carrying a gun?
  9               MS. WAHLE:      No.
 10               MR. EASTWOOD:        You wouldn't think
 11    automatically that person is more dangerous?
 12               MS. WAHLE:      No, I just don't think they need
 13    to be carrying a gun.
 14               MR. EASTWOOD:        You're also going to hear
 15    messages about Christianity, about Evangelical
 16    Christianity.        Obviously a lot of people in our
 17    community are Christian.             Is anyone offended by
 18    Evangelical Christian proselytizing.                Is there
 19    anyone that that just rubs them the wrong way, they
 20    don't want to hear it?
 21               MR. HATCHER:       I think everybody has the
 22    right to be a Christian, any religion, it's like
 23    freedom of speech again, and that should not stop
 24    that person because of one religion, there are
 25    several different religions. I'm Catholic but I
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 100 of 239 PageID #: 295
                                   Weinhaus, Vol. 1                          100




   1   still go to different churches.                Last time I've been
   2   to church was probably five years ago but everybody
   3   has a different religion.               You have probably almost
   4   five or 10 different religions if you were to look
   5   at it and sit down and see it, so no, it would not
   6   hurt me.
   7              MR. EASTWOOD:         Would it change your
   8   perception of the defendant because he's an
   9   Evangelical Christian?
 10               MR. HATCHER:        No, everybody has their
 11    belief, that's what I'm saying.
 12               MR. EASTWOOD:         Is anyone here going to hold
 13    it against the defendant that he is an Evangelical
 14    Christian.       I see no hands.           That he likes to speak
 15    out about Jesus and the bible and his faith?                    Thank
 16    you.
 17           Drugs, okay, we've talked a little bit about
 18    pot.     Does anyone here have such strong views on
 19    marijuana that they feel it would affect their
 20    ability to either judge the guilt or to impose
 21    sentencing in this matter?                Juror 23, we already
 22    spoke about that, is that fair to say Mr. Gregg?
 23               MR. GREGG:       Yeah.
 24               MR. EASTWOOD:         Juror 19, Mr. Hatcher, I see
 25    your hand up.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 101 of 239 PageID #: 296
                                   Weinhaus, Vol. 1                           101




   1              MR. HATCHER:        I think they should make it
   2   legal not to destroy it but like somebody that has a
   3   chronic disease, they should make it legal, where
   4   they're using it to prevent you from dying.
   5              MR. EASTWOOD:         Medical marijuana.
   6              MR. HATCHER:        Medical marijuana because they
   7   have in California and there are people that are in
   8   pain and that does help them.                  So they're not
   9   breaking the law, they are using it by a medical
 10    doctor, so I don't see anything wrong with it.                    If
 11    you got people smoking marijuana in their home, you
 12    got these meth labs.
 13               MR. EASTWOOD:         Are they a little different?
 14               MR. HATCHER:        Yeah, what is the difference
 15    between marijuana and -- if it was me, I would tell
 16    them to make everything legal and stuff.                  I just
 17    don't see anything wrong with that.
 18               MR. EASTWOOD:         Let's talk about the amount
 19    of drugs, the amount of the evidence.                 Would the
 20    amount of drugs, whether it's a tiny little bit of
 21    marijuana for personal use or a big bushel
 22    presumably for sale, would that affect anyone's
 23    ability either to assess guilt or sentencing?
 24               MS. PIOTRASCHKE:           If a guy had one beer or
 25    had drank a case of beer, is he just a little bit
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 102 of 239 PageID #: 297
                                   Weinhaus, Vol. 1                          102




   1   drunk or a whole lot drunk?
   2              MR. EASTWOOD:         Juror 21, I take your point.
   3              MS. PIOTRASCHKE:           Does the same thing no
   4   matter what.
   5              MR. EASTWOOD:         Would it affect your sense of
   6   sentencing perhaps, how severe a crime it was?
   7              MS. PIOTRASCHKE:           I don't think so.       If he's
   8   done the crime, whether he was drunk or not drunk,
   9   he's still got it, whatever it was.
 10               MR. EASTWOOD:         Would you impose a different
 11    sentence for a lot of marijuana as opposed to a tiny
 12    amount?
 13               MS. PIOTRASCHKE:           No.
 14               MR. EASTWOOD:         You'd impose the same
 15    sentence?
 16               MS. PIOTRASCHKE:           For the crime, yes, but if
 17    you're judging him for the intake of marijuana,
 18    that's something else, but we're not, we're judging
 19    him on what, something else.
 20               MR. EASTWOOD:         I want to talk about
 21    prescription drugs.           I'm sorry, sir, juror No. 11
 22    and that is Mr. Strassner.
 23               MR. STRASSNER:          Going back to your previous
 24    point, I believe there's different laws regarding
 25    different amounts of marijuana that would entail
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 103 of 239 PageID #: 298
                                   Weinhaus, Vol. 1                          103




   1   different sentencing and so forth.
   2              MR. EASTWOOD:         Yes, you are correct, sir,
   3   within degrees.         Does anyone have any further hands
   4   on pot?
   5          Prescription drugs.            We live in a society where
   6   increasingly people take prescription drugs for a
   7   variety of ailments, ongoing, sometimes temporary,
   8   sometimes ongoing.          You will -- I anticipate you
   9   will hear evidence about prescription Morphine
 10    tablets.      Does anyone here in their own life or life
 11    of people close to them have a particularly good or
 12    bad experience with prescription painkillers?
 13               MS. SIEVE:       Can you clarify.
 14               MR. EASTWOOD:         Sure.         Does anyone here,
 15    either themselves personally or someone close to
 16    them in their life, have a particularly good or
 17    particularly bad experience with prescription
 18    painkillers that would affect their ability to be
 19    fair?
 20               MS. SIEVE:       As a nurse, after surgery,
 21    patients are often given pain medication, so I've
 22    seen a real need for it, but I don't have a bias,
 23    they either have it legally or they don't.
 24               MR. EASTWOOD:         You're Mrs. Sieve?
 25               MS. SIEVE: Yes.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 104 of 239 PageID #: 299
                                   Weinhaus, Vol. 1                          104




   1              MR. EASTWOOD:         So patients can be prescribed
   2   painkillers.
   3              MS. SIEVE:       And there's a good purpose for
   4   it.
   5              MR. EASTWOOD:         What is that purpose?
   6              MS. SIEVE:       It allows them to get up and
   7   move, which decreases blood clots and increases
   8   healing.      There's a lot of positive effects but
   9   you're asking a question of whether he has it
 10    prescription or not prescription, so there's a whole
 11    lot of missing information.
 12               MR. EASTWOOD:         Juror No. 10, I'm sorry, No.
 13    2, Mr. Click.
 14               MR. CLICK:       I had a close personal family
 15    member who was eventually hooked on prescription
 16    pain medication and wound up getting them anyway she
 17    could and pretty much destroyed her life in the
 18    process.
 19               MR. EASTWOOD:         Does that make you -- does
 20    that make it difficult, that's an upsetting thing to
 21    watch, isn't it?
 22               MR. CLICK:       Yes.
 23               MR. EASTWOOD:         She's a drug addict?
 24               MR. CLICK:       Pretty much.
 25               MR. EASTWOOD: Does that make it difficult
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 105 of 239 PageID #: 300
                                   Weinhaus, Vol. 1                          105




   1   for you to be fair when you hear about allegations
   2   of possession of a prescription.
   3              MR. CLICK:       I have little sympathy for it.
   4              MR. EASTWOOD:         Sympathy for the person
   5   accused?
   6              MR. CLICK:       Yes.
   7              MR. EASTWOOD:         So would it make it difficult
   8   for you to be fair and impartial given this
   9   experience you went through?
 10               MR. CLICK:       Given my background, I would
 11    always try to be impartial in any court situation,
 12    but I would probably struggle with that one a little
 13    bit but I would still be impartial.
 14               MR. EASTWOOD:         Those memories from your own
 15    personal life might come in a little bit?
 16               MR. CLICK:       Yes.
 17               MR. EASTWOOD:         Juror No. 10,
 18    Mrs. Sensenbrenner, did you have your hand up
 19    earlier?
 20               MS. SENSENBRENNER:             No.
 21               MR. EASTWOOD:         Any hands over here on the
 22    prescription drug issue?              Does everyone agree that
 23    prescription drugs are more and more commonly
 24    prescribed today.          I see a lot of heads shaking.
 25    Does everyone think that it's a pretty common thing
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 106 of 239 PageID #: 301
                                   Weinhaus, Vol. 1                          106




   1   in most family medicine chests to have a bunch of
   2   prescription pills for different members of the
   3   family?      I see a lot of nods yes, pretty common
   4   thing.     Does anyone think it's reasonable for your
   5   average family to worry that if the police came into
   6   their house, they might not be able to produce a
   7   current prescription for every single last pill in
   8   the house?       Does anyone think that's reasonable,
   9   juror No. 21, you're shaking your head.
 10               MS. PIOTRASCHKE:           I got all my
 11    prescriptions, you keep them for your tax purposes.
 12    I can't imagine having something that you don't have
 13    proof that it's legal or whatever.
 14               MR. EASTWOOD:         Would you have a problem with
 15    someone who couldn't produce a prescription for
 16    every last single pill in their medicine chest?
 17               MS. PIOTRASCHKE:           I would automatically
 18    assume that he got it illegally.
 19               MR. EASTWOOD:         You would automatically
 20    assume that?
 21               MS. PIOTRASCHKE:           Yes, I would.      Even if you
 22    don't have the prescription, you should be able to
 23    either call the doctor whose name should be on there
 24    and he would confirm that you got it.
 25               MR. EASTWOOD: Do you feel that way for any
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 107 of 239 PageID #: 302
                                   Weinhaus, Vol. 1                          107




   1   medication, whether that's prescription, whether
   2   it's a painkiller or say diabetes medication,
   3   doesn't matter?
   4              MS. PIOTRASCHKE:           If it's not a
   5   prescription, everybody can have it.
   6              MR. EASTWOOD:         Is it fair to say that some
   7   prescription medicines are different than others,
   8   some are particularly what are called controlled
   9   substances, things like Morphine, painkillers?
 10               MS. PIOTRASCHKE:           Yes.
 11               MR. EASTWOOD:         And would you treat those
 12    drugs differently than you would a more innocuous
 13    prescription than like a nasal spray?
 14               MS. PIOTRASCHKE:           I'm very careful with all
 15    of mine and do exactly what it says.                 No, if you've
 16    got small children around, you might be more careful
 17    of locking it up or something, but medication is
 18    medication, you treat it as medication.
 19               MR. EASTWOOD:         Fair enough.      Juror No. 10,
 20    that's Mrs. Sensenbrenner again.
 21               MS. SENSENBRENNER:             A prescription is a
 22    prescription.        You are given that by a physician,
 23    whether it's nasal spray -- if it's a prescribed
 24    nasal spray, it's a prescription.               So I would say
 25    that if it's a nasal spray or a painkiller, it is
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 108 of 239 PageID #: 303
                                   Weinhaus, Vol. 1                          108




   1   still a prescription.            So I wouldn't define -- you
   2   can OD on nasal spray and you can OD on painkillers,
   3   so a prescription is a prescription for me.
   4              MR. EASTWOOD:         Thank you very much.         Juror
   5   No. 46, Mr. Hays.          Could you stand and speak up a
   6   little bit.
   7              MR. HAYS:       I can agree with what the lady
   8   said.     If a drug is a controlled substance, you
   9   should have a prescription for that.                 These drugs
 10    are abused.       And gee, if I had that and I lost the
 11    prescription, I'd be worried about that.                  I would
 12    have a problem with that, someone not having a
 13    prescription for a controlled substance.
 14               MR. EASTWOOD:         And would you have a problem
 15    with someone, whether it was one tablet or 100
 16    tablets?
 17               MR. HAYS:       Yes.
 18               MR. EASTWOOD:         Would that matter for anyone
 19    here, whether it was one tablet or 100 tablets?
 20    Juror No. 45, Ms. Wahle.
 21               MS. WAHLE:       I'm not sure what they're
 22    saying.      I have medicine in my cabinet that I don't
 23    keep the prescription at home.                 Once I have it
 24    filled, that's it.          I don't necessarily use all the
 25    pills when I need them from a surgery or whatever
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 109 of 239 PageID #: 304
                                   Weinhaus, Vol. 1                          109




   1   the case may be, but I wouldn't feel that's any kind
   2   of crime.       Are you saying I should produce my thing
   3   from the doctor to get the drugs, I don't believe
   4   that.
   5              MR. EASTWOOD:         Let me ask you this.
   6              MS. WAHLE:       Don't you give that to them,
   7   don't they keep it?           So I wouldn't have anything at
   8   home, they keep it.
   9              MR. EASTWOOD:         Sitting as a juror in
 10    judgment of someone accused of a crime, would the
 11    quantity of pills or tablets matter, would it matter
 12    if it was one tablet or 100 tablets?
 13               MS. WAHLE:       I would say yeah, I think it
 14    would.
 15               MR. EASTWOOD:         Why would that be?
 16               MS. WAHLE:       What do you need 100 oxycodone
 17    for.
 18               MS. PIOTRASCHKE:           I don't think you can get
 19    100.     Those prescriptions aren't for more than 60
 20    days.
 21               MR. EASTWOOD:         I agree with you, that's a
 22    lot of pills.        Why would it matter to you whether
 23    it's one or 100?
 24               MS. PIERCE:        What are you doing with that
 25    many pills.      I would question why you had 100 pills,
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 110 of 239 PageID #: 305
                                   Weinhaus, Vol. 1                          110




   1   what are you doing with those.
   2              MR. EASTWOOD:         This is juror No. 27,
   3   Mrs. Pierce.
   4              MS. PIERCE:        I would question if you had
   5   just a few pills or if you had 100 pills.                  I don't
   6   know why you would have 100.                   Like I said, a
   7   controlled substance like that, you can't get a
   8   prescription that big.
   9              MR. EASTWOOD:         Juror No. 8, Mrs. Sieve.
 10               MS. SIEVE:       I've been a nurse and paramedic
 11    for almost 20 years, and I have been in family homes
 12    where somebody has chronic pain and there I've seen
 13    over 300 Percocet in one bottle before for chronic
 14    pain.     Then there comes the problem where so the
 15    prescription, what she was asking, the prescription
 16    is a label on the bottle, he's not talking about the
 17    paper prescription any longer.                  So if the person is
 18    going to go stay with her granddaughter, because if
 19    she can't control her pill consumption, they may put
 20    it in those seven day containers that don't have the
 21    prescription on them, but they should be able to
 22    verify through the pharmacy or doctor that it was
 23    prescribed, and they can identify the pills because
 24    they all have different manufacturing marks and
 25    colors, so it should be traceable to find out if
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 111 of 239 PageID #: 306
                                   Weinhaus, Vol. 1                          111




   1   that is indeed their prescription, but it is illegal
   2   to transport it without being in the prescription
   3   bottle, I believe.
   4              MR. EASTWOOD:         Are you saying that sometimes
   5   in your experience as a nurse, you've come across
   6   people having one or two or a small quantity of
   7   tablets without the prescription label bottle?
   8              MS. SIEVE:       I have seen that in the seven
   9   day pill planners, especially for those who may have
 10    trouble reading, their family may plan it for them
 11    for the week.        They can't get tops off because of
 12    arthritis, so there's different things that have led
 13    to that.
 14               MR. EASTWOOD:         And I've asked this to other
 15    people, sitting here in judgment of someone charged
 16    with possession of a substance, would it make a
 17    difference to you as to the quantity of the pills or
 18    tablets that were there, whether it was one or 100?
 19               MS. SIEVE:       I would ask to refer back to the
 20    law, for example marijuana, because there's the
 21    question of intention to distribute.                 So I would
 22    hope those questions would be answered.
 23               MR. EASTWOOD:         Fair question.       Just so you
 24    know, I think the evidence here I anticipate will be
 25    about one and a half tablets. Everyone here seen a
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 112 of 239 PageID #: 307
                                   Weinhaus, Vol. 1                          112




   1   movie in their life?           Anyone have not seen a movie
   2   in their life?        I see no hands.          Okay.   Everyone
   3   agrees it's fair to say that you're at home and you
   4   tune into the movie about halfway through and you
   5   watch only 10 or 15 minutes of it, you may not
   6   understand everything that's going on in the movie,
   7   is that fair to say?           I see a lot of head shaking.
   8   Anyone here disagree with the proposition that you
   9   have to watch the whole movie, you have to see the
 10    whole thing, hear the whole thing before you can
 11    come to a judgment not only about whether or not you
 12    like it but about to the motivations of the
 13    characters, about what they've done, perhaps their
 14    true identity, the facts, does anyone disagree with
 15    that?
 16               MR. STRASSNER:          Sure.
 17               MR. PARKS:       Juror No. 11, Mr. Strassner.
 18               MR. STRASSNER:          I could read about the movie
 19    online.      I could find out these things from the
 20    cliff notes version.           There are other ways to get
 21    that information.
 22               MR. EASTWOOD:         That's a fair point.         Let's
 23    take this as an analogy.              If the Judge asked you not
 24    to look at the cliff notes, not to talk to other
 25    people about it, instead the Judge asked you just to
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 113 of 239 PageID #: 308
                                   Weinhaus, Vol. 1                          113




   1   watch the whole movie from start to end before you
   2   made any conclusions about who Luke Skywalker's
   3   father was or whether Kaiser Soze was the real
   4   mastermind or whatever, could you do that, could you
   5   not go online, not talk to other people, watch the
   6   whole movie through and through to reach your
   7   conclusions about it?
   8              MR. STRASSNER:          Yes.
   9              MR. EASTWOOD:         Juror No. 10.
 10               MS. SENSENBRENNER:             Sometimes you can sit
 11    through an entire movie and still go what?
 12               MR. EASTWOOD:         Juror No. 37, Mr. White.
 13               MR. WHITE:       I don't know where you're headed
 14    towards this, but if someone asks me to make an
 15    assumption after watching a half of a movie and not
 16    seeing the whole movie, then I would have a problem
 17    with it.
 18               MR. EASTWOOD:         That's what I'm getting at.
 19               MR. WHITE:       I would want to see the whole
 20    movie before making a decision.
 21               MR. EASTWOOD:         Especially when coming to a
 22    verdict against someone.
 23               MR. WHITE:       I would want to see the whole
 24    movie, not just a part.
 25               MR. EASTWOOD: Does anyone think they don't
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 114 of 239 PageID #: 309
                                   Weinhaus, Vol. 1                          114




   1   have to see the whole movie to come to a judgment
   2   about it, particularly if the Judge instructed them
   3   to watch the whole movie and not to go online, talk
   4   to other people about it, does anyone disagree with
   5   that?     I see no hands.
   6          Finally I want to talk about the burden here.
   7   This is not a civil case, this is not one of these
   8   things where the scales just need to tip ever so
   9   slightly.       This is a criminal trial and therefore
 10    the State has the entire burden of proof beyond a
 11    reasonable doubt.          Not that you're fairly certain,
 12    not that more likely than not, that kind of sorta I
 13    bet, probably, beyond a reasonable doubt, firmly
 14    convinced.       So that means Mr. Parks in the form of
 15    the State has a lot of work to do.                Does anyone have
 16    a problem with the fact that the entire burden rests
 17    on the State to prove every element of each offense
 18    beyond a reasonable doubt?                Does anyone have a
 19    problem with that?          I see no hands.        I don't
 20    anticipate I'm going to do this but I could just sit
 21    here the whole trial and say nothing, do nothing,
 22    and if Mr. Parks didn't meet his burden of proving
 23    each element of the offense beyond a reasonable
 24    doubt, you ought not to convict.               Who would have a
 25    problem with that if I sat there the whole trial and
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 115 of 239 PageID #: 310
                                   Weinhaus, Vol. 1                          115




   1   did nothing and feel like they'd have to hear
   2   something from me in order to render a verdict?
   3              MR. STRASSNER:          The point of your question,
   4   as I understand it, but yes, I would have a problem
   5   with you not doing your portion of the civic duty.
   6              MR. EASTWOOD:         What's my duty?
   7              MR. STRASSNER:          To aid your defendant in
   8   whatever way needs to happen.                  If you were to sit
   9   there the whole time, I would come to a conclusion
 10    that you're not wanting to do your job.
 11               MR. EASTWOOD:         What do you think I'm
 12    obligated to do under terms of proof?
 13               MR. STRASSNER:          Nothing in terms of proof, I
 14    understand your question but the way you posed it
 15    leads a little bit of criticism open.
 16               MR. EASTWOOD:         Juror No. 10, I saw you
 17    nodding.
 18               MS. SENSENBRENNER:             I agree that if you're
 19    sitting there twiddling your fingers and not
 20    listening or partaking in the actions that go on
 21    here, then I would say that you're lacking.
 22               MR. EASTWOOD:         Sure, perhaps as a defense
 23    lawyer, but would I be lacking in terms of the
 24    burden of the State?
 25               MS. SENSENBRENNER: No.
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 116 of 239 PageID #: 311
                                   Weinhaus, Vol. 1                           116




   1              MR. EASTWOOD:         Anyone else have a thought if
   2   I just sat there and did nothing the whole time,
   3   Chris Combs sat there and did nothing the whole
   4   time?
   5              MS. PIOTRASCHKE:           I'd fire you.
   6              MR. EASTWOOD:         Now in America you are under
   7   no obligation to testify in your own defense.                    Who
   8   here would have trouble rendering a fair verdict if
   9   they didn't hear the defendant tell his side of the
 10    story?     Who here feels that they kind of need to
 11    hear the defendant's side of the story to render a
 12    fair verdict?        Anyone?       Juror No. 47, that's
 13    Mr. Roach.
 14               MR. ROACH:       I'd like to hear his story.
 15               MR. EASTWOOD:         You'd like to hear his story?
 16               MR. ROACH:       From him.
 17               MR. EASTWOOD:         You think it's only fair?
 18               MR. ROACH:       Yes.
 19               MR. EASTWOOD:         Do you think if you don't
 20    hear his side of the story, would you hold it
 21    against him?
 22               MR. ROACH:       I wouldn't hold it against him
 23    but I would prefer to hear it from him.
 24               MR. EASTWOOD:         Would you think less of his
 25    defense maybe?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 117 of 239 PageID #: 312
                                   Weinhaus, Vol. 1                          117




   1              MR. ROACH:       Not personally.
   2              MR. EASTWOOD:         Not me, I'm irrelevant but in
   3   terms of your weighing the evidence?
   4              MR. ROACH:       No, I don't think so, but I
   5   would personally like to hear it from him straight.
   6              MR. EASTWOOD:         And you might have a harder
   7   time rendering a verdict if you didn't hear it from
   8   him?
   9              MR. ROACH:       I think I could weigh the
 10    differences.
 11               MR. EASTWOOD:         Juror No. 18 and your name is
 12    Mrs. Bates.
 13               MS. BATES:       Yeah, I don't think that it
 14    would make any difference in whether or not I was
 15    impartial or partial, but I do think that goes back
 16    to the whole movie, you know, that's part of the
 17    missing movie if the defendant doesn't testify or
 18    doesn't tell his side of the story.
 19               MR. EASTWOOD:         So you'd have some questions?
 20               MS. BATES:       I might have some questions
 21    because that movie would not be complete.
 22               MR. EASTWOOD:         That's a good point.
 23               MS. BATES:       I would feel like I'm missing
 24    something.       Whether I am or not is unknown, but I
 25    would feel like I'm missing something important.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 118 of 239 PageID #: 313
                                   Weinhaus, Vol. 1                          118




   1              MR. EASTWOOD:         If you have some questions
   2   about the allegations against Jeff, about the
   3   State's case against Jeff, do you think it's my job
   4   to answer them?         Anyone?
   5              MS. PIOTRASCHKE:           Say that again.
   6              MR. EASTWOOD:         If you have some questions
   7   about the State's case, do you think it is my job,
   8   do you think it is the defendant's job to answer
   9   those questions?
 10               MS. PIOTRASCHKE:           I don't know, I don't know
 11    whose job it would be but it would be nice if we
 12    could ask questions.
 13               MR. EASTWOOD:         We will get to that.         Some
 14    judges allow jury questions, some don't, I don't
 15    know, we will get to that, but what I'm getting at
 16    is if you have questions about the State's case, do
 17    you think it's Mr. Parks' job or my job to answer
 18    those questions.         Is it the State's job or the
 19    defendant's job, and if you think it's the
 20    defendant's job at least a little bit, I'd like you
 21    to put your hand up and talk to me about it.                    Juror
 22    No. 30, that's Mr. Dziejma.
 23               MR. DZIEJMA:        Your job is to make sure
 24    there's due process, so if the State introduces
 25    evidence in such a way that it reflects badly on
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 119 of 239 PageID #: 314
                                   Weinhaus, Vol. 1                          119




   1   your client and not in a -- sensationalized and
   2   whatever, then that's your obligation to clear that
   3   up and clear up that picture.                  So if they introduce
   4   the muddy water, you add the water filter.
   5              MR. EASTWOOD:         You'd ask me to filter the
   6   mud out of their water?
   7              MR. DZIEJMA:        Absolutely.
   8              MR. EASTWOOD:         So you hold it to the
   9   defendant to clear up the picture if the picture was
 10    muddy?
 11               MR. DZIEJMA:        Sure, because they'd do the
 12    same thing for you.           If you muddy the water, they
 13    have to clarify it.
 14               MR. EASTWOOD:         But I don't have to do
 15    anything, right, what's my burden?
 16               MR. DZIEJMA:        Your burden is to protect the
 17    due process of your client.                So if they misrepresent
 18    something or paint it in a tinted light that favors
 19    the prosecution, is it not your obligation to say
 20    well, introduce some doubt?
 21               MR. EASTWOOD:         Maybe we're talking about two
 22    different things here.             I guess my question is if
 23    the evidence is unclear as to something the State
 24    has to prove up, are you going to hold it against
 25    the State or are you going to hold it against the
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 120 of 239 PageID #: 315
                                   Weinhaus, Vol. 1                          120




   1   defendant to clear it up?
   2              MR. DZIEJMA:        The State has to make their
   3   case, no question.
   4              MR. EASTWOOD:         Any other hands.        If you do
   5   find the defendant guilty on any of the counts, you
   6   will be asked to assess the punishment.                  Who here
   7   would have a problem just in principal with
   8   mitigating, lessening, reducing the punishment
   9   because of whatever evidence you see?                 I see no
 10    hands.
 11               MR. STRASSNER:          I would like you to clarify
 12    your question.        Do you mean within the prescribed
 13    boundaries of the law?
 14               MR. EASTWOOD:         Correct.
 15               MR. STRASSNER:          Then fine, thank you, I'm
 16    good.
 17               MR. EASTWOOD:         Who here feels you did the
 18    crime, you do the time, you do the max time.                    I see
 19    no hands.
 20           Finally, and I'm done now almost, do any of you
 21    right now, before I sit down here, already have any
 22    presumptions about the guilt or innocence of Jeff
 23    Weinhaus?       Anyone have any presumptions right now?
 24    Any presumptions of guilt?                I remind you that
 25    Mr. Weinhaus is innocent until found guilty beyond a
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 121 of 239 PageID #: 316
                                   Weinhaus, Vol. 1                          121




   1   reasonable doubt by this jury.                 All of us, all of us
   2   sitting here in this room today, you will be asked,
   3   because of him, you will be asked to sit in judgment
   4   of him.      He's in a pretty scary place right now.
   5   Thank you.
   6              JUDGE SUTHERLAND:            Ladies and gentlemen,
   7   we're going to recess again in just a minute to get
   8   the trial jury selected.              I think that will take at
   9   least 30 minutes, very likely somewhat longer.
 10    We'll certainly get it done as quickly as we can.
 11    We need No. 7, Ms. Fletcher; No. 18, Ms. Bates; and
 12    No. 32, Mr. Debonnaire, so stick around, you wanted
 13    to talk privately.          One more time the instruction
 14    gets shorter after that first long one.                  The court
 15    again reminds you of what you were told at the first
 16    recess of the court.           Until you retire to consider
 17    your verdict, you must not discuss this case amongst
 18    yourselves or with others or permit anyone to
 19    discuss it in your hearing.                You should not formally
 20    express any opinion about the case until it is
 21    finally given to you to decide.                You may not do any
 22    research or investigation on your own about any
 23    matter regarding this case or anyone involved with
 24    the trial.       Do not communicate with others about the
 25    case by any means. Do not read, view or listen to
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 122 of 239 PageID #: 317
                                   Weinhaus, Vol. 1                          122




   1   any newspaper, radio or electronic communication
   2   from the Internet or television report of the trial.
   3   We're in recess, not quite in recess, but you may go
   4   out with the bailiff, except those three jurors I
   5   mentioned.
   6              MR. PARKS:       Judge, No. 30 would like to have
   7   a conference as well.
   8              JUDGE SUTHERLAND:            Okay, No. 30.
   9       (WHEREUPON THE JURY PANEL EXITED THE COURTROOM)
 10         (WHEREUPON MS. FLETCHER APPROACHED THE BENCH)
 11               JUDGE SUTHERLAND:            Ms. Fletcher, if you want
 12    to come on up.        Ms. Fletcher, what was it?
 13               MS. FLETCHER:         I was charged with a felony
 14    17 years ago, and I felt uncomfortable the way I was
 15    treated by the police department.
 16               JUDGE SUTHERLAND:            Do you mind telling us
 17    what that was?
 18               MS. FLETCHER:         Promoting prostitution in the
 19    third degree.
 20               JUDGE SUTHERLAND:            Were you charged or
 21    convicted?
 22               MS. FLETCHER:         I was charged with a felony
 23    in the third degree.
 24               JUDGE SUTHERLAND:            Was that in Arkansas?
 25               MS. FLETCHER: No, Florissant, 17 years ago.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 123 of 239 PageID #: 318
                                   Weinhaus, Vol. 1                          123




   1              JUDGE SUTHERLAND:            So there was no
   2   conviction on your record?
   3              MS. FLETCHER:         Well, it was a felony charge
   4   17 years ago, so I guess it would still be on there.
   5   It's like 20 years or something.
   6              JUDGE SUTHERLAND:            It is?
   7              MR. PARKS:       Yeah.
   8              JUDGE SUTHERLAND:            Any questions?
   9              MR. EASTWOOD:         If you were chosen to serve
 10    on this jury, do you think you would be fair and
 11    impartial?
 12               MS. FLETCHER:         I think I can.        I know I
 13    should be saying yes or no.                Yes, yes.
 14               MR. EASTWOOD:         Would you believe a policeman
 15    less than someone off the street?
 16               MS. FLETCHER:         No.
 17               MR. EASTWOOD:         Would you treat him any
 18    differently than any other witness?
 19               MS. FLETCHER:         No.      And I have one other
 20    thing as far as you were asking about if we have
 21    something we need to do or take care of.                  I have
 22    injured my back pretty bad, so I'm in a lot of pain,
 23    I've been going to rehab and I've been sick for the
 24    last month, so I'm kind of in here struggling.
 25               JUDGE SUTHERLAND: Is it a problem to sit
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 124 of 239 PageID #: 319
                                   Weinhaus, Vol. 1                          124




   1   for an hour, hour and a half, two hours at a time?
   2              MS. FLETCHER:         Yeah, I'm getting my body
   3   readjusted right now, my hips and pelvis, so I
   4   wanted to let you know that.
   5              JUDGE SUTHERLAND:            Any questions?
   6              MR. PARKS:       No questions.
   7              MR. EASTWOOD:         No questions.
   8              JUDGE SUTHERLAND:            Ms. Bates.
   9          (WHEREUPON MS. BATES APPROACHED THE BENCH)
 10               JUDGE SUTHERLAND:            What was it that you had?
 11               MS. BATES:       Well, we were speaking about
 12    family members that had run-ins with the law, and I
 13    recently had my youngest son, he was charged with a
 14    felony, ended up being it was reduced to a
 15    misdemeanor.        It was for invasion of privacy in St.
 16    Louis County, and he didn't serve any jail time but
 17    he is on two years probation and that kind of thing,
 18    and it was a little harsh, I thought it was a little
 19    harsh punishment for what it was for, but it wasn't
 20    the jury that imposed that, it was a judge.
 21               MR. PARKS:       Is there anything about that
 22    that would keep you from being fair and impartial,
 23    could you set that aside?
 24               MS. BATES:       I could set that aside but I
 25    guess in a little part of the back of my mind I
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 125 of 239 PageID #: 320
                                   Weinhaus, Vol. 1                          125




   1   thought the punishment was strong.                So I don't know
   2   how much that would -- I'm not saying that that
   3   would necessarily affect my discussion of the
   4   punishment.
   5              MR. PARKS:       Would it affect your ability to
   6   render a fair and impartial verdict as to guilt or
   7   innocence?
   8              MS. BATES:       No.
   9              MR. PARKS:       Could you then consider the
 10    entire range of punishment?
 11               MS. BATES:       Yes, I could consider the entire
 12    range of punishment.
 13               MR. PARKS:       And you could put away what
 14    happened to your son while you considered that
 15    entire range?
 16               MS. BATES:       Yes.
 17               MR. PARKS:       No other questions, Your Honor.
 18               MR. EASTWOOD:         You would not treat a law
 19    enforcement officer's testimony any differently?
 20               MS. BATES:       No, and his didn't have anything
 21    to do with it, no, he was very pleasant.
 22               MR. EASTWOOD:         Your issue was with the
 23    severity of the process?
 24               JUDGE SUTHERLAND:            It was that nasty judge.
 25               MR. COMBS: But you're not going to believe
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 126 of 239 PageID #: 321
                                   Weinhaus, Vol. 1                          126




   1   the officers' testimony any more than anyone else's?
   2              MS. BATES:       No, sir.           Like I said, it was
   3   the severity of the punishment.
   4       (WHEREUPON MR. DEBONNAIRE APPROACHED THE BENCH)
   5              JUDGE SUTHERLAND:            Mr. Debonnaire, you
   6   indicated to the bailiff at the first recess that
   7   you had something you wanted to bring up.
   8              MR. DEBONNAIRE:          I'm sorry but you said it
   9   was hypothetical.          If he drew on the officer, I
 10    couldn't sit there and truthfully judge him, anybody
 11    that draws on a law enforcement officer.                  If that
 12    comes out in court and I'm sitting over there and he
 13    drew on the officer, there is no reason for that and
 14    I can't forgive that.            If that is the case, you
 15    wouldn't want me on there.                I'm sorry.
 16               JUDGE SUTHERLAND:            There's no wrong answers.
 17               MR. PARKS:       The question is if he's charged
 18    with attempted assault of a law enforcement officer
 19    and I prove all elements of that charge, would you
 20    find him guilty?
 21               MR. DEBONNAIRE:          Under those circumstances,
 22    yes, sir.       As I stated, if you find all those facts,
 23    if he had more than just like one or two doses, I
 24    carry them here in my pocket, I carry them for
 25    myself, I have many illnesses, so if that's all he's
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 127 of 239 PageID #: 322
                                   Weinhaus, Vol. 1                          127




   1   got, I have no problem with that, but that drawing a
   2   weapon on an officer, a clear officer, I can't live
   3   with that.
   4              MR. COMBS:       So sir, could you sit here and
   5   listen to the facts?
   6              THE WITNESS:        Yes, sir, I can listen as well
   7   as anyone else, sir.           And if you can prove to me
   8   that there was some kind of justification, although
   9   I'm sorry, I just don't see it, a guy with a badge
 10    is a guy with a badge and I just do what he tells
 11    me, whether I agree with him or not, whether he's
 12    wrong or not.
 13               MR. COMBS:       So you would be more likely to
 14    believe a police officer's testimony?
 15               MR. DEBONNAIRE:          Yeah, that's just the way I
 16    was raised.       I'm sure there's many reasons, like I
 17    said, I know there are circumstances and I would be
 18    willing to listen to them, but as I said, I don't
 19    know, I'd have to ask the judge how would you --
 20    would you want me to think, I've never been in this
 21    position.       I'm a child of the Clayton war era.
 22               JUDGE SUTHERLAND:            I am too, I'm older than
 23    you are.      I saw plenty of the Lone Ranger.
 24               MR. DEBONNAIRE:          And I'm a citizen of the
 25    United States, and that's his job to tell me whether
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 128 of 239 PageID #: 323
                                   Weinhaus, Vol. 1                          128




   1   I screwed up big time or not.
   2              MR. PARKS:       The question is can you listen
   3   to the evidence, can you render a fair and impartial
   4   verdict based only upon the evidence?
   5              MR. DEBONNAIRE:          Only on the facts, yes,
   6   sir, that you or these gentlemen instruct me to
   7   believe, and I trust you to give me the truth.
   8              JUDGE SUTHERLAND:            I'm not necessarily the
   9   fountain of truth for the world.               I'm just the
 10    umpire.
 11               MR. DEBONNAIRE:          Well, I'll be watching your
 12    face.     I try to be a reasonable man because should I
 13    ever be in a situation like this, I would want to --
 14    hopefully someone would be fair with me.
 15               JUDGE SUTHERLAND:            Any other questions?
 16               MR. PARKS:       No, sir.
 17               MR. EASTWOOD:         No, sir.
 18               MR. COMBS:       Thank you, sir.        I appreciate
 19    it.
 20               JUDGE SUTHERLAND:            Mr. Dziejma.
 21          (WHEREUPON MR. DZIEJMA APPROACHED THE BENCH)
 22               MR. DZIEJMA:        In the interest of disclosure,
 23    I'm a retired State employee, and I worked for Troop
 24    C from 1998 to about 2002, so I worked under Captain
 25    Johnson, and then I think it was probably 2004 or
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 129 of 239 PageID #: 324
                                   Weinhaus, Vol. 1                          129




   1   2005 after I left employment, I actually testified
   2   against the State, against the Highway Patrol in a
   3   civil lawsuit.
   4              MR. EASTWOOD:         You've been on both sides?
   5              MR. DZIEJMA:        I've been on both sides.           The
   6   truth is the truth.
   7              JUDGE SUTHERLAND:            Do you know any of the
   8   officers?
   9              MR. DZIEJMA:        They don't look familiar.
 10    Maybe our paths crossed at a meeting or something
 11    but no.
 12               JUDGE SUTHERLAND:            What was your capacity?
 13               MR. DZIEJMA:        I was a brown shirt uniform.
 14               MR. COMBS:       As law enforcement, you said you
 15    would be more likely to believe a police officer
 16    than a typical citizen?
 17               MR. DZIEJMA:        I am a police officer now.
 18               MR. COMBS:       You would give more credibility
 19    to a police officer?
 20               MR. DZIEJMA:        I would have a tendency to
 21    probably do that, sure.             If I'm given 50/50 and who
 22    are you going to believe, I'm going to choose the
 23    cop.
 24               MR. PARKS:       But you're going to be fair and
 25    impartial?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 130 of 239 PageID #: 325
                                   Weinhaus, Vol. 1                          130




   1              MR. DZIEJMA:        As far as the factual evidence
   2   that appears, that's fair and impartial, but if
   3   you're telling me one word against the other word.
   4              MR. COMBS:       You're going to take the police
   5   officer's?
   6              MR. DZIEJMA:        All he has is his credibility.
   7              JUDGE SUTHERLAND:            Thank you, sir.
   8   Challenges for cause on behalf of the State.
   9              MR. PARKS:       No. 7, Katherine Fletcher.            No.
 10    1, I don't know where she lives, putting everything
 11    else aside.
 12               JUDGE SUTHERLAND:            Any objection to
 13    Ms. Fletcher?
 14               MR. EASTWOOD:         No, with the back issue,
 15    that's not --
 16               JUDGE SUTHERLAND:            The residency issue, the
 17    promoting prostitution.             The challenge to juror No.
 18    7, Katherine Fletcher, full cause is granted.
 19               MR. EASTWOOD:         That's a prosecution, Judge.
 20               MR. PARKS:       No. 19, John Hatcher, he's the
 21    one that thinks marijuana should be legal.
 22               MR. EASTWOOD:         That's 22.
 23               JUDGE SUTHERLAND:            Hatcher wanted to
 24    legalize drugs.
 25               MR. PARKS: He wanted to legalize all drugs.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 131 of 239 PageID #: 326
                                   Weinhaus, Vol. 1                          131




   1              MR. EASTWOOD:         I would object to that.
   2   That's a policy point of view and that's a fair
   3   point of view to have.             I rehabilitated him several
   4   times by saying he could be fair and impartial.
   5              JUDGE SUTHERLAND:            We have plenty of jurors,
   6   he needs to move to Washington or Colorado or
   7   California or something.              The challenge to juror No.
   8   19, John Colin Hatcher, for cause is granted.
   9              MR. PARKS:       No. 22, Mr. Haslag, he said he
 10    has a doctor's appointment tomorrow.
 11               JUDGE SUTHERLAND:            I think he was a little
 12    reluctant when you asked if he could reschedule.
 13               MR. PARKS:       He said it took him a while to
 14    reschedule it.
 15               MR. EASTWOOD:         I have no objection to that,
 16    Your Honor.
 17               JUDGE SUTHERLAND:            He's related to a
 18    St. Clair police officer as well and indicated that
 19    might be a problem.           Challenge to juror 22, Kevin
 20    Gerard Haslag, for cause is granted.
 21               MR. PARKS:       No. 23, Isaac Gregg, does not
 22    believe that marijuana should be illegal, and when I
 23    asked him he said he could not follow the
 24    instruction given by the Court.
 25               MR. EASTWOOD: I think I did rehabilitate
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 132 of 239 PageID #: 327
                                   Weinhaus, Vol. 1                          132




   1   him to the extent that he said if the punishment was
   2   no punishment, he could give it.
   3              MR. COMBS:       Which it is because it's a
   4   misdemeanor.
   5              MR. PARKS:       There's no such thing as no
   6   punishment.
   7              JUDGE SUTHERLAND:            Challenge to juror No.
   8   23, Isaac J. Gregg, for cause is granted.
   9              MR. PARKS:       No. 44, Billy Parker, he's a
 10    frequent flyer.         He's set for jury trial in two
 11    weeks on a felony charge.
 12               JUDGE SUTHERLAND:            He's got eight felonies.
 13               MR. COMBS:       He looked pretty proud.
 14               JUDGE SUTHERLAND:            Challenge to juror 44,
 15    Billy C. Parker, for cause is granted.
 16               MR. PARKS:       No. 34, Bridgett Nowlin, she
 17    said she had to go in to get stitches removed
 18    tomorrow after surgery.
 19               JUDGE SUTHERLAND:            I'm with her, I got some
 20    out last Wednesday in my head, so I don't have any
 21    problem with that.          Do you have any problems with
 22    that, 34?
 23               MR. EASTWOOD:         I don't think that's
 24    necessarily -- she said she could get them out
 25    later.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 133 of 239 PageID #: 328
                                   Weinhaus, Vol. 1                          133




   1              MR. COMBS:       It's a matter of 48 hours.
   2              MR. PARKS:       She said she could call the
   3   doctor.
   4              MR. COMBS:       Stitches dissolve these days.
   5              JUDGE SUTHERLAND:            Not all of them.      I'll
   6   deny that.       With agreement I'd grant it but she can
   7   put that off a couple of days.
   8              MR. PARKS:       She also has a felony forgery
   9   charge that she did not disclose, Your Honor.
 10               JUDGE SUTHERLAND:            A conviction?
 11               MR. PARKS:       She's been arrested with two
 12    felony charges.         It's on her criminal history but
 13    the charges, it doesn't tell whether they have
 14    been --
 15               MR. COMBS:       She admitted to them.          She
 16    didn't describe what they were but she did admit to
 17    being charged with two felonies when we asked.
 18               MR. PARKS:       I think under the circumstances,
 19    she ought to be --
 20               JUDGE SUTHERLAND:            Yeah, I changed my mind,
 21    challenge to juror 34, Bridgett Renee Nowlin, for
 22    cause is also granted.             I'm not sure she would have
 23    been reached anyway.
 24               MR. PARKS:       And then No. 6, Paulette Buhr.
 25               JUDGE SUTHERLAND: Reason?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 134 of 239 PageID #: 329
                                   Weinhaus, Vol. 1                          134




   1              MR. PARKS:       She just had a recent DWI within
   2   a year.      Her brother is in prison and she said -- I
   3   believe she stated she couldn't put that aside.
   4   She's the one with the leather jacket there.
   5              MR. EASTWOOD:         My notes, Your Honor, don't
   6   indicate that she has a problem putting that aside.
   7   I think she also said she was treated fairly in her
   8   DWI.
   9              JUDGE SUTHERLAND:            Yeah, my notes indicate
 10    that she didn't have a problem with that either.
 11               MR. COMBS:       Same notes, Your Honor.
 12               JUDGE SUTHERLAND:            Challenge to juror No. 6,
 13    Paulette M. Buhr, for cause is denied.
 14               MR. PARKS:       That's all I have, Your Honor.
 15               JUDGE SUTHERLAND:            Challenges for cause on
 16    behalf of defendant?
 17               MR. EASTWOOD:         I believe juror No. 4,
 18    Mr. Suntrup, testified that he would always believe
 19    a law enforcement officer.
 20               JUDGE SUTHERLAND:            Yes.
 21               MR. PARKS:       But he said he could be fair and
 22    impartial.
 23               JUDGE SUTHERLAND:            He also said if there
 24    were one or two stories, he's going to believe the
 25    cop.     So the challenge to juror No. 4, Robert A.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 135 of 239 PageID #: 330
                                   Weinhaus, Vol. 1                          135




   1   Suntrup for cause is granted.
   2              MR. COMBS:       Juror No. 9, Sharon Dubuque,
   3   she's got something with a felony.                She said the
   4   cops were fair but I know there's a handful of
   5   people that know the case, I don't know how you plan
   6   on handling that.
   7              JUDGE SUTHERLAND:            Just having seen, read or
   8   heard a media report, even multiple, doesn't
   9   disqualify a person.           The question is whether they
 10    made up their mind or they're biased for or against
 11    one side and nobody indicated that.
 12               MR. EASTWOOD:         I have 10, she admitted that
 13    she would believe a police officer more than the
 14    typical person.         She said she had many friends in
 15    law enforcement.
 16               MR. PARKS:       But she said she could be fair
 17    and impartial and set that aside.
 18               JUDGE SUTHERLAND:            Challenge to juror No.
 19    10, Luisa Sensenbrenner, is denied.
 20               MR. EASTWOOD:         Certainly 12 who knows your
 21    daughter wouldn't be fair.
 22               MR. PARKS:       She said she knew law
 23    enforcement.
 24               MR. COMBS:       The one that knows your daughter
 25    and that you know.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 136 of 239 PageID #: 331
                                   Weinhaus, Vol. 1                          136




   1              MR. PARKS:       I don't know them, she knows my
   2   daughter.       She's from New Haven and my daughter is a
   3   police officer in New Haven.
   4              MR. COMBS:       So she's friends with law
   5   enforcement who is the prosecutor's daughter in a
   6   case.
   7              JUDGE SUTHERLAND:            That's a little iffy but
   8   I think I'll grant it.             She's the one whose grandson
   9   is going into drug court as soon as he gets out of
 10    treatment.       Challenge to juror No. 12, Frieda
 11    Lorraine Terschluse, for cause is granted.
 12               MR. COMBS:       No. 15, she didn't even know
 13    that it was a law that you could carry an open
 14    weapon.      She said she didn't believe it or know it
 15    was a law, so if she can't be directed to follow the
 16    law, that's the pinnacle issue in this case.
 17               MR. PARKS:       She never said she couldn't
 18    follow it, she said she didn't know that was the
 19    law.
 20               MR. COMBS:       She said she didn't like guns or
 21    didn't agree people should be allowed to carry a
 22    gun.
 23               JUDGE SUTHERLAND:            There's a lot of people
 24    that don't like them.
 25               MR. COMBS: She seems pretty prejudicial
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 137 of 239 PageID #: 332
                                   Weinhaus, Vol. 1                          137




   1   when that's the pinnacle issue to the most serious
   2   charges in our case.
   3              MR. PARKS:       Carrying the gun is not the
   4   problem, using the gun is the problem.
   5              JUDGE SUTHERLAND:            I don't think anything
   6   she says disqualifies her from this case.                  Challenge
   7   to 15, Arlys Dayton, is denied.
   8              MR. COMBS:       How about No. 18, Ms. Bates who
   9   came up and spoke with us.                It seemed like you agree
 10    with me, if you need an explanation I can give one.
 11               JUDGE SUTHERLAND:            The big note I have with
 12    Ms. Bates is she indicated there's "something
 13    missing", quote, if the defendant doesn't testify.
 14    So challenge to juror No. 18, Loren C. Bates, for
 15    cause is granted.
 16               MR. COMBS:       Jumping ahead but to get this
 17    out of the way I think that Mr. Dziejma, he was law
 18    enforcement.
 19               JUDGE SUTHERLAND:            No. 30.
 20               MR. PARKS:       Your Honor, he said he could be
 21    fair and impartial.           He was truthful with the Court
 22    and said that he would balance the testimony from
 23    the witness stand and make a decision.
 24               MR. COMBS:       But --
 25               JUDGE SUTHERLAND: The challenge is well
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 138 of 239 PageID #: 333
                                   Weinhaus, Vol. 1                          138




   1   taken.     Challenge to juror No. 30, Kevin M. Dziejma,
   2   is granted.
   3              MR. COMBS:       No. 38, Your Honor, was the
   4   woman who had a cousin who works for the Sheriff's
   5   Department, lived by the gas station, said she felt
   6   personally involved in the case.
   7              MR. PARKS:       That was 27.
   8              JUDGE SUTHERLAND:            27 was her mother that
   9   lived by the gas station.               38 was the one that said
 10    her office was closed.
 11               MR. PARKS:       38 lives (sic) in Jefferson
 12    County.      So when Jefferson County courthouse was
 13    shut down --
 14               JUDGE SUTHERLAND:            She lives in Jefferson
 15    County?
 16               MR. PARKS:       No, she works in the Jefferson
 17    County Courthouse, lives in Franklin.
 18               MR. COMBS:       Her cousin also works for the
 19    sheriff's department.
 20               JUDGE SUTHERLAND:            When the courthouse was
 21    closed, was that as a result of this?
 22               MR. PARKS:       Yes.
 23               JUDGE SUTHERLAND:            Challenge to 38, Melissa
 24    B. Scheer, for cause is granted.
 25               MR. COMBS: And then 32, that gentleman, he
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 139 of 239 PageID #: 334
                                   Weinhaus, Vol. 1                          139




   1   doesn't seem mentally stable, that's the gentleman
   2   that came up in tears.             I don't think he's capable
   3   of sitting on this trial, I really don't.                  I think
   4   that that's -- I really don't think he's mentally
   5   stable.
   6              MR. PARKS:       I don't have any reason to doubt
   7   that he's not stable, but I don't think that it's a
   8   cause to strike.
   9              JUDGE SUTHERLAND:            I don't know about
 10    stable, he's wishy washy.
 11               MR. COMBS:       That was a wrong choice of
 12    words, I apologize.           He was a very nice man but it
 13    would be taxing on him when he said he had health
 14    problems.       I don't think he would be a suitable
 15    juror.
 16               JUDGE SUTHERLAND:            I'm not buying that one.
 17               MR. EASTWOOD:         He did say he would listen to
 18    a cop more -- he said he was brought up to listen to
 19    a policeman over someone else.
 20               MR. COMBS:       And a judge.
 21               JUDGE SUTHERLAND:            Challenge to juror 32,
 22    John M. Debonnaire, for cause is denied.                  It's an
 23    interesting name.          Any other challenges for cause?
 24               MR. EASTWOOD:         We're getting to the high
 25    numbers here, so they're probably moot.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 140 of 239 PageID #: 335
                                   Weinhaus, Vol. 1                            140




   1              MR. COMBS:       That was 51, son is in jail in
   2   Franklin County.         I have that she said she would
   3   have trouble being unbiased.                   Her son is serving in
   4   jail in the county where this case is being tried.
   5              MR. PARKS:       I don't have anything negative
   6   about her.       She said that her son was charged here
   7   but she could put that aside and render a fair and
   8   impartial --
   9              JUDGE SUTHERLAND:            I think she did too.        I
 10    don't think she's going to be needed.                  Challenge to
 11    juror 51, Michelle Kay Tuttle, for cause is denied.
 12    So we need 24 for the first 12.                  I believe that
 13    would take us just through Mr. Debonnaire, No. 32.
 14    Anybody disagree with that?                So draw the line there
 15    after Mr. Debonnaire.            First 12 will be stricken,
 16    six each from those and then we'll take the next
 17    three, which would be 32, 35 and 36 for the
 18    alternate and each of you gets one strike.
 19               MR. EASTWOOD:         I'm sorry, perhaps I
 20    misheard, it's 33, 35 and 36?
 21               JUDGE SUTHERLAND:            34 was stricken for
 22    cause.
 23               MR. EASTWOOD:         And we get one strike there.
 24               JUDGE SUTHERLAND:            So I will mark the rest
 25    of them as not needed. Okay, Mr. Parks gets his
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 141 of 239 PageID #: 336
                                   Weinhaus, Vol. 1                          141




   1   first, he'll give you the master list when he's
   2   finished, and when you're done, give it to the clerk
   3   and we'll get them in here.                I don't want to swear
   4   them in until after lunch.
   5              MR. EASTWOOD:         Your Honor, I think I should
   6   bring it to the court's awareness.                I was passed a
   7   note that juror No. 31, Mr. Brendel, had -- I was
   8   passed this note by the defendant's ex-wife.                    Mr.
   9   Brendel was posting comments about this case on
 10    Facebook.       I obviously have not verified that.               I
 11    inquired of him about it and he denied it, so I
 12    can't prove that he's wrong, juror 31.                 I just bring
 13    that to the Court's attention for the record because
 14    it's an unverified allegation.                 I have no reason to
 15    doubt, however, that the allegation is false either.
 16               JUDGE SUTHERLAND:            If we can come up with
 17    something but they haven't been able to run that
 18    down.     He's working under some other phoney baloney
 19    name.
 20               MR. COMBS:       There would be no way to prove
 21    or disprove it probably.
 22               JUDGE SUTHERLAND:            We'll let it ride for
 23    now.
 24               (WHEREUPON A BRIEF RECESS TOOK PLACE)
 25               JUDGE SUTHERLAND: Trial jury is picked,
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 142 of 239 PageID #: 337
                                   Weinhaus, Vol. 1                          142




   1   let's bring them in, seat them and discharge the
   2   rest of the folks and then we'll go to lunch.
   3      (WHEREUPON THE JURY PANEL ENTERED THE COURTROOM)
   4              JUDGE SUTHERLAND:            Ladies and gentlemen,
   5   those of you who were not selected for the trial
   6   jury today, also known as the people in the back,
   7   all you over here know what your fate for the next
   8   couple of days.         You'll be excused in a minute.              In
   9   the event you need a written excuse for some kind
 10    for work because you were on jury service today, you
 11    can pick that up at the Circuit Clerk's office on
 12    the first floor on your way out.               I want to thank
 13    you for making yourselves available for jury
 14    service.      I understand your term of potential jury
 15    service lasts until the end of December, so you're
 16    stuck until the end of the year.               I'm not from
 17    Franklin County, but if Franklin County is like
 18    every other circuit in the State, there's not going
 19    to be any trials between Christmas and New Years, so
 20    you don't have to worry about that a whole lot.
 21    Nobody wants to aggravate potential jurors in the
 22    holiday season.         If any of you wish to stay and
 23    watch all or part of the trial, you can do so.                    It's
 24    your courtroom and tax dollars that pay for this
 25    place, and you can stay if you wish to do so, but
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 143 of 239 PageID #: 338
                                   Weinhaus, Vol. 1                          143




   1   with that you are excused and free to go.
   2    (WHEREUPON THE EXCUSED JURORS EXITED THE COURTROOM)
   3              JUDGE SUTHERLAND:            Ladies and gentlemen of
   4   the trial jury, we're going to eat lunch.                  Let me
   5   just say that if you need to contact anybody, pick
   6   up a child from school or tell somebody you're going
   7   to be late for a meeting or late afternoon,
   8   something like that, you can certainly do that, not
   9   a problem.       You'll be free to go wherever you want
 10    for lunch today.         The next couple of days, assuming
 11    we're still going on Thursday, which I have a
 12    feeling we will be, we'll give you a captive lunch
 13    in the jury room at lunch, but today we're not
 14    prepared for that.          So you're free to go anywhere
 15    you want for lunch.           If you live close by and you
 16    can go home for lunch, that's fine, but we're going
 17    to recess for an hour.             So I need you to get back in
 18    the jury room as quickly as possible so we can get
 19    going on time.
 20           The Court again reminds you of what you were
 21    told at the first recess of the Court.                 Until you
 22    retire to consider your verdict, you must not
 23    discuss this case among yourselves or with others or
 24    permit anyone to discuss it in your hearing.                    You
 25    should not form or express any opinion about the
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 144 of 239 PageID #: 339
                                   Weinhaus, Vol. 1                          144




   1   case until it is finally given to you to decide.                     Do
   2   not do any research or investigation on your own
   3   about any matter regarding this case or anyone
   4   involved in the trial.             Do not communicate with
   5   others about the case by any means.                Do not read,
   6   view or listen to any newspaper, radio or electronic
   7   communication from the Internet or television report
   8   of the trial.        That's the official instruction that
   9   I have to read.         I want to give you my own
 10    unofficial instruction.             When you go out to lunch,
 11    you'll go home this evening, wherever you need to go
 12    if it's not home and somebody, you'll see somebody
 13    you know or relative, somebody is home, how are you
 14    doing, what are you doing today, well I'm on this
 15    jury.     And they may something like oh, is it an
 16    interesting case, tell me all about it.                  What I need
 17    you to do is say I'm sorry, the Judge told me I
 18    can't talk about the case until it's all over with.
 19    When it's over, I'll give you a call or see you at
 20    home or church, see you at school, whatever it may
 21    be and I'll tell you all about it, but I just can't
 22    talk about it now.          If you can do that, we won't
 23    have any problems.          It's just after 1 o'clock, so
 24    let's say we'll be in recess until five minutes
 25    after 2:00 for lunch.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 145 of 239 PageID #: 340
                                   Weinhaus, Vol. 1                           145




   1              MS. LAUBINGER:          We have children, so how
   2   late will this usually run?
   3              JUDGE SUTHERLAND:            We'll probably go today
   4   to somewhere around 5 o'clock, give or take a little
   5   bit, just depends on where we are with the witnesses
   6   and evidence, but let's call it 5 o'clock give or
   7   take a little bit.          We're in recess until 2:05.
   8            (WHEREUPON A LUNCHEON RECESS TOOK PLACE)
   9              JUDGE SUTHERLAND:            Are we ready to bring the
 10    jury in?
 11               MR. PARKS:       State is ready.
 12               MR. EASTWOOD:         Defense is ready.
 13           (WHEREUPON THE JURY ENTERED THE COURTROOM)
 14               JUDGE SUTHERLAND:            Ladies and gentlemen of
 15    the jury, I'd ask you at this time, I didn't have a
 16    chance to tell you to stand up because you haven't
 17    sat down yet.        If you'd raise your right hand to be
 18    sworn as a trial jury in this case.
 19                  (WHEREUPON THE JURY WAS SWORN IN)
 20               JUDGE SUTHERLAND:            This case will proceed in
 21    the following order.           First the Court will read to
 22    you two instructions concerning the law applicable
 23    to this case and its trial.                Next the attorney for
 24    the State must make an opening statement outlining
 25    what he expects the State's evidence will be.                    The
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 146 of 239 PageID #: 341
                                   Weinhaus, Vol. 1                           146




   1   attorney for the defendant is not required to make
   2   an opening statement then or at any other time;
   3   however, if he chooses to do so, he may make an
   4   opening statement after that of the State or he may
   5   reserve his opening statement until the conclusion
   6   of the State's evidence.              Evidence will then be
   7   introduced.       At the conclusion of all of the
   8   evidence, further instructions in writing concerning
   9   the law will be read to you by the Court, after
 10    which the attorneys may make their arguments.                    You
 11    will then be given the written instructions of the
 12    Court to take with you to your jury room.                  You will
 13    go to that room, select a floor person, deliberate
 14    and arrive at your verdict.                If you find the
 15    defendant guilty in the first stage of the trial, a
 16    second stage of the trial will be held.                  During the
 17    second stage, additional instructions will be read
 18    to you by the Court, additional evidence may be
 19    presented and the attorneys will make their
 20    arguments as to punishment.                With the additional
 21    instructions of the Court, you will return to the
 22    jury room to deliberate and determine the punishment
 23    to be assessed.         Sometimes there are delays or
 24    conferences out of your hearing with the attorneys
 25    about matters of law. There are good reasons for
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 147 of 239 PageID #: 342
                                   Weinhaus, Vol. 1                          147




   1   these delays and conferences.                  The Court is
   2   confident that you will be patient and
   3   understanding.        We will have recesses from time to
   4   time.
   5          The following two instructions of law are for
   6   your guidance in this case.                The two of them, along
   7   with other instructions in writing read to you at
   8   the close of all the evidence, will be handed to you
   9   at that time to take to your jury room.                  Instruction
 10    No. 1, those who participate in a jury trial must do
 11    so in accordance with established rules.                  This is
 12    true of the parties, the witnesses, the lawyers and
 13    the judge.       It is equally true of jurors.             It is the
 14    Court's duty to enforce those rules and to instruct
 15    you upon the law applicable to this case.                  It is
 16    your duty to follow the law as the Court gives it to
 17    you; however, no statement, ruling or remark that I
 18    may make during the trial is intended to indicate my
 19    opinion of what the facts are.                  It is your duty to
 20    determine the facts and to determine them only from
 21    the evidence and the reasonable inferences to be
 22    drawn from the evidence.              In your determination of
 23    the facts, you alone must decide upon the
 24    believability of the witnesses and the weight and
 25    value of the evidence in determining the
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 148 of 239 PageID #: 343
                                   Weinhaus, Vol. 1                          148




   1   believability of a witness and the weight to be
   2   given to testimony of the witness.                You may take
   3   into consideration the witness' manner of all
   4   testifying, the ability and opportunity of the
   5   witness to observe and remember any matter about
   6   which testimony is given and the interest, bias or
   7   prejudice the witness may have; the reasonableness
   8   of the witness' testimony considered in the light of
   9   all of the evidence in the case and any other matter
 10    that has a tendency in reason to prove or disprove
 11    the truthfulness of the testimony of the witness.
 12    It is important for you to understand that this case
 13    must be decided only by the evidence presented and
 14    the proceedings in this courtroom and the
 15    instructions I give you.              The reason for this is
 16    that the evidence presented in Court is reviewed by
 17    the lawyers and Court, and the lawyers have an
 18    opportunity to comment on or dispute evidence
 19    presented in Court.           If you obtain information from
 20    other places, the lawyers do not have the
 21    opportunity to comment on or dispute it.                  Fairness
 22    in our system of justice requires giving both sides
 23    the opportunity to view and comment on all evidence
 24    in the case.        It is unfair to the parties if you
 25    obtain information about the case outside this
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 149 of 239 PageID #: 344
                                   Weinhaus, Vol. 1                          149




   1   courtroom; therefore, you should not visit the scene
   2   of any of the incidents described in this case, nor
   3   should you conduct your own research or
   4   investigation.        For example, you should not conduct
   5   any independent research of any type by reference to
   6   textbooks, dictionaries, magazines, the Internet, a
   7   person you consider to be knowledgeable or any other
   8   means about any issue in this case or any witnesses,
   9   parties, lawyers, medical or scientific terminology
 10    or evidence that is in any way involved in this
 11    trial.     You should not communicate, use a cell
 12    phone, record, photograph, video, email, blog,
 13    tweet, text or post anything about this trial or
 14    your thoughts or opinions about any issue in this
 15    case to any person.           This prohibition on
 16    communication about this trial includes use of the
 17    Internet, websites such as Facebook, Myspace,
 18    Twitter or any other personal or public website.
 19    Faithful performance by you of your duty as jurors
 20    is vital to the administration of justice.                   You
 21    should perform your duties without prejudice or fear
 22    and solely from a fair and impartial consideration
 23    of the whole case.          Do not make up your mind during
 24    the trial about what the verdict should be.                   Keep an
 25    open mind until you have heard all the evidence and
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 150 of 239 PageID #: 345
                                   Weinhaus, Vol. 1                          150




   1   the case is given to you to decide.
   2          Instruction No. 2, you must not assume as true
   3   any fact solely because it is included in or
   4   suggested by a question asked of a witness.                   A
   5   question is not evidence and may be considered only
   6   as it supplies meaning to the answer.                 From time to
   7   time the attorneys may make objections.                  They have a
   8   right to do so and are only doing their duty as they
   9   see it.      You should draw no inferences from the fact
 10    that an objection has been made.               If the Court
 11    sustains an objection to a question, you will
 12    disregard the entire question and you should not
 13    speculate as to what the answer of the witness might
 14    have been.       The same applies to exhibits offered but
 15    excluded from the evidence after an objection has
 16    been sustained.         You will also disregard any answer
 17    or other matter in which the Court directs you not
 18    to consider or anything the Court requires stricken
 19    from the record.         The opening statements of
 20    attorneys are not evidence.                You must not consider
 21    as evidence any statement, remark or argument by any
 22    attorney addressed to another attorney or to the
 23    Court; however, the attorneys may enter into
 24    agreements or stipulations of fact.                These
 25    agreements and stipulations become part of the
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 151 of 239 PageID #: 346
                                   Weinhaus, Vol. 1                          151




   1   evidence and are to be considered by you as such.
   2   Opening statement on behalf of the State.
   3          (OPENING STATEMENT ON BEHALF OF THE STATE)
   4              MR. PARKS:       Thank you, Your Honor.           In
   5   August of 2012, Sergeant Folsom received a call from
   6   Judge Parker, who is a presiding judge in Crawford
   7   County.      Judge Parker asked Sergeant Folsom to
   8   investigate a harassing You Tube video that had been
   9   put up that Judge Parker had felt was a threat to
 10    him.     So, Sergeant Folsom will tell you that he came
 11    up, he got a copy of the video, he looked at the
 12    video and he started his investigation.                  He started
 13    his investigation in Crawford County because the
 14    defendant was running for coroner in Crawford
 15    County, and it was believed since he was running for
 16    office in Crawford County, he lived in Crawford
 17    County.      Sergeant Folsom will tell you that he
 18    checked to see what effect this video had had on the
 19    Court system and the judicial system and the police
 20    system in Crawford County.                He then began to do the
 21    investigation.        He went to the house where the
 22    defendant listed his address in his campaign filings
 23    and couldn't find him.             They then ran a license
 24    check of a car that people had seen the defendant
 25    driving and that car came back registered to a woman
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 152 of 239 PageID #: 347
                                   Weinhaus, Vol. 1                           152




   1   who lived in Piney Park here in Franklin County.
   2   And so Sergeant Folsom and Corporal Mertens with the
   3   Highway Patrol went to Piney Park to talk to the
   4   defendant.       When they arrived at Piney Park, they
   5   knocked on the door, defendant came to the door,
   6   they recognized him from the You Tube video.
   7   Sergeant Folsom was on the steps and he'll tell you
   8   there's bushes, it's a narrow step, but when the
   9   defendant opened the door and came out and closed
 10    the door behind him very quickly, Sergeant Folsom
 11    will tell you he smelled the odor of marijuana.
 12    They asked the defendant if they could move over to
 13    the driveway because of the small size of the porch,
 14    which the defendant readily agreed to do.                  They
 15    began to talk to him about the You Tube video.                    He
 16    admitted making the You Tube video, and they had
 17    about a 20 or 30 minute conversation about the
 18    contents of the You Tube video.                At this time the
 19    defendant turned to go back into the house.
 20    Sergeant Folsom told him, "I'm sorry, you can't go
 21    back in.      Can we have permission to search your
 22    house?     We smell marijuana.             Will you open the
 23    door?"     And the defendant said no.
 24           And so, Sergeant Folsom will tell you that he
 25    came, applied for and was granted a search warrant
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 153 of 239 PageID #: 348
                                   Weinhaus, Vol. 1                          153




   1   to go back and search the house at Piney Park.                    That
   2   when he got there, he and Corporal Mertens went in
   3   to search the house.           He'll tell you that in the
   4   upstairs drawer they find a nine millimeter pistol
   5   in an Army style holster.               That they went downstairs
   6   and they found what the defendant had called his
   7   command center, and this is the area where he had
   8   made the You Tube broadcast.                   And in searching the
   9   area of the command center, as the defendant called
 10    it, they found in a Camel snuff tin a pill and a
 11    half, which when sent to the lab, the lab personnel
 12    will tell you these pills tested positive for
 13    Morphine.       They will also tell you that they
 14    continued to search, they found other drug
 15    paraphernalia, and just outside of the door of the
 16    command center on a bag up on top of a high shelf
 17    they found a bag containing marijuana.                  They seized
 18    this evidence, they sent it to the lab, they seized
 19    the defendant's computer to check and see if there
 20    was anymore threatening emails or videos or anything
 21    on there, and they will tell you that this is the
 22    normal practice that normally these items,
 23    especially drug items, need to be sent off to the
 24    lab before they can be -- before we charge anybody
 25    with a crime.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 154 of 239 PageID #: 349
                                   Weinhaus, Vol. 1                          154




   1          Sergeant Folsom will tell you that in the
   2   video, and you will see the video, the defendant had
   3   given until September 17th for Judge Parker and
   4   other officials in Crawford County to vacate their
   5   office.      If they did not vacate their office by
   6   September 17th, that the defendant and his followers
   7   would come, would forcibly remove them from office,
   8   would try them in a peoples Court and hang them for
   9   treason.      This worried the people in Crawford
 10    County, and this worried the people in the Highway
 11    Patrol.      So it was decided that before September
 12    17th, Sergeant Folsom and Corporal Mertens would
 13    place defendant under arrest for threatening a
 14    judicial official, for the possession of the illegal
 15    Morphine and for possession of the marijuana.
 16           They did not want to go back to the defendant's
 17    house, because as they told you, it wasn't a very
 18    easy place to access, especially through the front
 19    door, so they devised a ruse.                  The defendant had
 20    been asking for the return of a computer, so
 21    Sergeant Folsom called the defendant and said hey,
 22    we've got your computers.               And Sergeant Folsom will
 23    tell you that the defendant said fine, I want to
 24    meet you at a public place.                And so it was decided
 25    at the MFA station on Highway K in Franklin County
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 155 of 239 PageID #: 350
                                   Weinhaus, Vol. 1                          155




   1   on September 11th, 2012 the two parties would meet
   2   the Highway Patrol there with the intention of
   3   taking defendant into custody, the defendant going
   4   with the intention of receiving his computers.
   5          Sergeant Folsom and Corporal Mertens will tell
   6   you that they arrived and had picked this place
   7   because there wasn't much traffic there.                  They'd
   8   also brought two Highway Patrol agents from Rolla to
   9   help them to secure the scene, and they had also two
 10    uniformed troopers in cars at either end of Highway
 11    K in case the defendant ran, they had cars to try to
 12    stop him, and it was their intention to take the
 13    defendant under arrest when he showed up to pick up
 14    his computers.        And they will testify to you that
 15    they weren't expecting any trouble from the
 16    defendant.       They hadn't had any trouble with him in
 17    the past, and they will tell you they didn't have
 18    their ballistic vests on.               They had their detective
 19    weapons, which are service weapons but with small
 20    capacity magazines.           They didn't get their high
 21    capacity pistols out of the car.               They didn't get
 22    their shotguns or AR-15 rifles because they weren't
 23    expecting any trouble from the defendant.                  And they
 24    will tell you that they were parked on the parking
 25    lot back aways when the defendant came in, made a
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 156 of 239 PageID #: 351
                                   Weinhaus, Vol. 1                          156




   1   very high rate of speed turn.                  While he was turning,
   2   they thought he was going to strike their car.
   3   Before he stopped, he unhooked his seat belt and got
   4   out of the car.         And there was an exchange between
   5   the troopers and the defendant because Sergeant
   6   Folsom will testify when defendant got out of the
   7   car, he had an Army type holster with a pistol in
   8   that holster.        And there was an exchange between the
   9   two.     Sergeant Folsom will tell you he told him what
 10    are you doing with that gun, and the defendant will
 11    say what are you doing with that gun.                  And Sergeant
 12    Folsom will tell you at this time the defendant had
 13    unhooked the flap, put his hand under the flap, put
 14    his hand on the pistol and started to remove the
 15    pistol from the holster, at which time the defendant
 16    said, "You're going to have to shoot me, man", and
 17    he was.      Sergeant Folsom and Corporal Mertens opened
 18    fire striking the defendant twice in the chest, once
 19    in the neck and once in the head.                  The defendant is
 20    charged with making the threats of the judicial
 21    officers, he's charged with possession of Morphine,
 22    charged with possession of the marijuana, charged
 23    with the assault of the two law enforcement officers
 24    by trying to draw his weapon to shoot them.                   He's
 25    charged with armed criminal action for the use of
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 157 of 239 PageID #: 352
                                   Weinhaus, Vol. 1                          157




   1   that weapon, and he's charged with resisting arrest
   2   of the arrest that the two officers were trying to
   3   do.
   4          There's one other interesting fact about this
   5   case.     Unbeknownst to anyone at the time, the
   6   defendant was wearing a video/audio recording watch,
   7   and we have the shooting recorded on the defendant's
   8   watch, which you will be allowed to see.                  After
   9   hearing the evidence presented by the State, the
 10    State will ask you to find the defendant guilty of
 11    all eight charges charged against him.
 12               JUDGE SUTHERLAND:            Any opening statement for
 13    the defendant at this time?
 14               MR. EASTWOOD:         Yes, Your Honor.        May I
 15    proceed?
 16               JUDGE SUTHERLAND:            Yes.
 17         (OPENING STATEMENT ON BEHALF OF THE DEFENDANT)
 18               MR. EASTWOOD:         May it please the Court,
 19    Mr. Parks, members of the jury.                Jeff Weinhaus for
 20    many years has been a newspaper publisher and a
 21    blogger, and he's not really known in Franklin
 22    County, but the evidence will show that he is known
 23    in Jefferson and Crawford County, and in fact he was
 24    running for coroner of Crawford County.                  And Jeff
 25    published a You Tube broadcast, had a channel on You
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 158 of 239 PageID #: 353
                                   Weinhaus, Vol. 1                          158




   1   Tube called Bulletinman and he also published a
   2   newspaper that ran ads distributed in gas stations
   3   and places like that.            And the spirit of this
   4   publication that occurred over decades was a full
   5   throated denouncement of official corruption,
   6   corrupt elected officials, corrupt judges, in this
   7   case Judge Kelly Parker who was a State rep who
   8   became a judge and who Jeff believed to be corrupt
   9   or made statements that indicated a belief that
 10    Judge Parker came to the judgeship in a less than
 11    entirely pure manner.            And so what you're going to
 12    see today, first up most likely, is a You Tube video
 13    featuring Jeff.         It's one of many Bulletinman
 14    broadcasts, a user named Bulletinman posted on You
 15    Tube.     You Tube, I think most of you are familiar
 16    with it, it's a video website owned by Google.
 17    Anyone can access this material, it's free, it's on
 18    the worldwide web, whether you have Internet at home
 19    or go to the library, whatever, and you're going to
 20    see two versions of this video.                You're going to see
 21    one that's just Jeff talking, and you're going to
 22    see another one which has captions, You Tube calls
 23    them annotations but most of us call those captions,
 24    they're boxes of texts that pop-up on the screen
 25    during times when Jeff is talking. You're never
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 159 of 239 PageID #: 354
                                   Weinhaus, Vol. 1                          159




   1   even going to hear Jeff state Judge Kelly Parker's
   2   name.     You are going to hear him carry on for over
   3   nine minutes in a video.              It's pretty over the top.
   4   Some of the things he says you may or may not agree
   5   with.     It's controversial political speech.                At
   6   times he's kind of funny too or he certainly has a
   7   tongue in cheek manner.             This is not a very, very
   8   serious speech.         This is a type of speech where you
   9   might think he's at least getting people who agree
 10    with him to laugh along with him.               And remember,
 11    it's America, we all have our different views and
 12    you may or may not share Jeff's views.                 So the State
 13    is going to show you two videos, one with these
 14    annotations and one without the annotations.                    I
 15    don't know if they're going to show you who added
 16    the annotations.
 17           The evidence will also show that Jeff didn't
 18    have any cases before Judge Parker.                It's not like
 19    Judge Parker was sitting in judgment of him in a
 20    criminal or civil trial or someone in his family or
 21    life, one of his friends or something like that.                     So
 22    the evidence will show there was nothing before the
 23    judge in which Jeff was trying to influence the
 24    judge.     He was just criticizing the judge.                Well, he
 25    never mentions the judge by name but these
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 160 of 239 PageID #: 355
                                   Weinhaus, Vol. 1                          160




   1   annotations do.
   2          Now, Mr. Parks is right, Judge Parker contacted
   3   the Highway Patrol.           And two troopers who don't
   4   normally patrol this area, they're from Rolla,
   5   Sergeant Folsom, Corporal Mertens, came up to Piney
   6   Park to a house where Jeff sometimes lived with his
   7   wife and his son.          And they did allegedly smell pot,
   8   obtained a search warrant and they went through the
   9   entire house, they ransacked the entire house, and
 10    in the basement Mr. Parks called it a command
 11    center, I'm going to call it what it is, which is a
 12    basement, they found in this family house a small
 13    quantity of pot and a tablet and a half of Morphine.
 14    But the main thing they did that day is they seized
 15    Jeff's computers.          And if you're running for public
 16    office, in this case coroner, and you make regular
 17    You Tube videos, it's kind of a big deal if someone
 18    seizes your computers because you can't make and
 19    upload your videos to You Tube anymore.                  So Jeff was
 20    angry, angry that his computers were taken.                   He felt
 21    like it was a direct assault on his First Amendment
 22    rights.      It was pay back for criticizing the judge.
 23    He was going to have his computers taken away, and
 24    he filed what's called a writ of replevin, which is
 25    basically an order to give it back with the Missouri
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 161 of 239 PageID #: 356
                                   Weinhaus, Vol. 1                          161




   1   Supreme Court.        The writ was rejected.           He didn't
   2   follow the right filing rules.                 Jeff is not a
   3   lawyer, but the point is what he really wanted was
   4   to get his computers back.                And in fact, at some
   5   point he started to make, I'm not sure which
   6   computer, but he started making more videos and he
   7   criticized Sergeant Folsom directly by name.                    And in
   8   these You Tube podcasts, he'd call up the Highway
   9   Patrol on the line and you might have heard on a
 10    radio show or something kind of make fun of them and
 11    make fun of Sergeant Folsom and attack him as
 12    someone who was interfering with his First Amendment
 13    rights.      And he did something more than that, he
 14    started emailing Sergeant Folsom directly saying who
 15    is your lawyer going to be when I sue, I'm going to
 16    sue you, sue you for a lot of money because you
 17    interfered with my rights.                You're trying to stifle
 18    my free speech.
 19           Sergeant Folsom, by the way, is the trooper who
 20    later shot Jeff multiple times.                He contacted
 21    Sergeant Folsom through a social network service
 22    called Google Circles, you may not have heard of it
 23    because it's not nearly as popular as Facebook, but
 24    it's out there and it's called Google Circles, and
 25    he tried to friend request Sergeant Folsom through
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 162 of 239 PageID #: 357
                                   Weinhaus, Vol. 1                          162




   1   Google Circles.         And a few weeks after his computers
   2   were seized, the troopers, Sergeant Folsom and
   3   Corporal Mertens, called Jeff and said, "Hey, Jeff,
   4   we're going to give you your computers back."
   5          Now, in fact they weren't, they were lying to
   6   him, this was all a ruse to serve an arrest warrant
   7   on him, but the evidence will show that Jeff
   8   believed them.        He believed that he was getting his
   9   computers back.         And so although the troopers,
 10    you'll hear, had gone to Jeff's house that morning,
 11    instead they said let's meet at a neutral location.
 12    They didn't say to Jeff, hey, why don't you come
 13    down to the police station.                They didn't say to
 14    Jeff, hey, let's go to a secluded location.                   They
 15    said to him let's meet at a gas station.                  Gas
 16    station is a public place.                You'll hear evidence
 17    that there were delivery trucks there that day.
 18    There were workmen working on a gutter repair job on
 19    the MFA gas station building.                  You'll hear there was
 20    a store clerk, customers.               You'll also hear that
 21    this was a place where Jeff was a regular customer.
 22    His habit and custom every day was buying a soda and
 23    a pack of cigarettes.            By all accounts an easy going
 24    guy.     By all accounts that day was in a good state
 25    of mind, a happy state of mind, maybe even a
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 163 of 239 PageID #: 358
                                   Weinhaus, Vol. 1                          163




   1   jubilant state of mind, because in Jeff's mind he
   2   won, he was getting his computers back.                  He won, he
   3   criticized the judge, they kind of messed with him
   4   taking his computers away but he was getting it
   5   back.
   6          So, Jeff went to meet the troopers at the gas
   7   station.      He drove his wife's Subaru, pulled into a
   8   parking lot, it's on a slight hill, it's kind of
   9   gravelly, it's not a smooth asphalt surface, it's
 10    kind of a gravelly surface, and where the troopers
 11    were stationed was on a slight incline.                  He drove
 12    in, circled around and parked his Subaru in a way
 13    that would be easy to unload the computers from the
 14    troopers' car and load them into the back of his
 15    Subaru, which would make sense.                If you're going to
 16    go pick up computer equipment, that's what you'd do.
 17           Now, Jeff did have an open carry weapon on him.
 18    You probably figured that out from this morning
 19    where there was a lot of conversation about that,
 20    okay, but Jeff did have an open carry weapon on him.
 21    And he's not charged here today for unlawful
 22    possession of that weapon.                And you'll also hear
 23    evidence that that weapon was in a special military
 24    style holster, open carry military style holster.
 25    It's the type of holster used by Army Rangers when
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 164 of 239 PageID #: 359
                                   Weinhaus, Vol. 1                          164




   1   they jump out of airplanes.                Basically it's really
   2   difficult to open.          The reason is when you jump out
   3   of an airplane, you don't want your gun to fall out.
   4   So it requires additional effort, additional force,
   5   additional strength and a combination of movements
   6   to open the holster at all.                In other words this
   7   isn't a situation where anyone could quickly draw a
   8   weapon.      It's not that type of situation.              And you
   9   will hear that Sergeant Folsom recognized that
 10    holster.      He knew, because he was a military
 11    veteran, that that was this special type of holster
 12    that was used when you jump out of an airplane or
 13    whatnot and that it took a little more time and
 14    effort to unlatch the holster and retrieve a weapon
 15    out of that.
 16           Now, the troopers did bring back-up that day.
 17    They brought the FBI.            Two FBI agents were stationed
 18    way, way from the troopers, from Jeff at the other
 19    end of the parking lot.             But you'll also hear the
 20    troopers didn't feel Jeff was particularly
 21    dangerous.       You'll hear they had vests with them
 22    that day, bullet proof vests, they didn't wear them,
 23    they were in plain clothes.                Jeff knew them, of
 24    course, but they were in plain clothes.                  I think
 25    they were in golf polo type shirts. You'll see them
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 165 of 239 PageID #: 360
                                   Weinhaus, Vol. 1                          165




   1   on the wrist watch video, and you will see that
   2   wrist watch video because Jeff didn't trust those
   3   troopers after what they had done to him.                  And
   4   within seconds of exiting his wife's Subaru, Jeff's
   5   fears were confirmed when after a calm exchange of
   6   words Jeff was shot four times.
   7          You will see the bullets coming out of Sergeant
   8   Folsom's gun on this tape.                And before that you will
   9   hear Jeff ordered to get down on the ground.                    You
 10    will see his left hand go up and then within less
 11    than three seconds of the order to get down on the
 12    ground, you will hear the first bullet fly out from
 13    Sergeant Folsom's gun.             And I suggest that the
 14    evidence will show that Jeff was complying with the
 15    order to get down on the ground.               The evidence will
 16    show from the angle at which the bullets entered his
 17    body, the angle in which you were looking at the
 18    shooter on the tape, this man was complying with the
 19    order of the trooper to get down on the ground.
 20           You will also hear from three people who have
 21    no stake in this case, two were workmen, working men
 22    repairing a gutter.           You'll also hear from the store
 23    clerk.     They all saw the shooting, none of them saw
 24    Jeff's hand on a gun.            The only evidence you'll hear
 25    of Jeff's hand on a gun were from the two troopers
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 166 of 239 PageID #: 361
                                   Weinhaus, Vol. 1                          166




   1   who shot him, one of whom had been criticized by
   2   Jeff pretty badly on the Internet and who ordered
   3   him to get down on the ground and within three
   4   seconds of that order shot him as he was getting
   5   down on the ground.           You'll see the video, you'll
   6   see the wounds it caused.               Jeff Weinhaus was air
   7   medevaced, air lifted to St. John's Mercy Hospital
   8   in St. Louis County, spent two months recovering in
   9   the hospital.        At the close of the evidence I'm
 10    going to ask you to acquit Jeff, acquit Jeff because
 11    the State cannot meet its burden of proving these
 12    eight counts beyond a reasonable doubt.                  Thank you.
 13               JUDGE SUTHERLAND:            Evidence for the State.
 14               MR. PARKS:       Thank you, Your Honor.           The
 15    State calls Sergeant Folsom.
 16              (WHEREUPON SERGEANT FOLSOM WAS SWORN IN)
 17               DIRECT EXAMINATION OF SERGEANT FOLSOM
 18    QUESTIONS BY MR. PARKS:
 19          Q    Please state your name for the record.
 20          A    Henry James Folsom.
 21          Q    You are a sergeant with the Missouri State
 22    Highway Patrol; is that correct?
 23          A    Yes, sir.
 24          Q    And how long have you been with the Highway
 25    Patrol?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 167 of 239 PageID #: 362
                                   Weinhaus, Vol. 1                          167




   1         A    I've been with the Highway Patrol 16 plus
   2   years.
   3         Q    And before that were you in the United
   4   States Army?
   5         A    Yes, sir.
   6         Q    And what was your position in the United
   7   States Army?
   8         A    In the Army I had several different
   9   positions.       I was a military policeman.             I was
 10    assigned to protection detail for another Department
 11    of Defense agency, basically a body guard, and
 12    finally I was a special agent for the United States
 13    Army, Criminal Investigation Command, basically a
 14    criminal investigator for the Army.
 15          Q    What is your assignment now?
 16          A    I'm a criminal investigator for the Highway
 17    Patrol.
 18          Q    Where are you assigned to?
 19          A    I'm assigned out of Troop I Rolla Criminal
 20    Investigation Unit.
 21          Q    Does Crawford County take in Troop I?
 22          A    Yes, sir.
 23          Q    Franklin County is in Troop C; is that
 24    correct?
 25          A    Yes, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 168 of 239 PageID #: 363
                                   Weinhaus, Vol. 1                          168




   1         Q    The borderline between the two Highway
   2   Patrol troops is the border between Franklin and
   3   Crawford County?
   4         A    Yes, sir.
   5         Q    And have you had any firearms training?
   6         A    Yes, sir.
   7         Q    Have you taken the required classes through
   8   the Missouri State Highway Patrol?
   9         A    Yes, sir.
 10          Q    And have you had any training in the
 11    detection of marijuana?
 12          A    Yes, sir.
 13          Q    What training have you had?
 14          A    While I was assigned in the Army, I served
 15    for a year as an undercover drug investigator.
 16    During that time we did control burns from the
 17    evidence room to certify and familiarize ourselves
 18    with the smell of burnt marijuana.
 19          Q    So you are familiar with the smell of
 20    marijuana?
 21          A    Yes, sir.
 22          Q    I direct your attention now to August 18 of
 23    2012.     Did you receive a telephone call from Judge
 24    Kelly Parker?
 25          A    Yes, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 169 of 239 PageID #: 364
                                   Weinhaus, Vol. 1                          169




   1         Q    What was that phone call in regards to?
   2         A    It was in regards to a You Tube video that
   3   had been posted by Jeffrey Weinhaus.                 They referred
   4   to it as a pod cast in which he had allegedly
   5   threatened some judicial officers.
   6         Q    Did Judge Parker ask you to investigate
   7   this?
   8         A    Yes, sir.       He stated he felt threatened by
   9   it, as well as other members of the judicial office
 10    there, and he asked for the Highway Patrol to
 11    investigate.
 12          Q    And did you review these pod casts?
 13          A    Yes, sir, I did.
 14          Q    I show you at this time what has been marked
 15    as State's Exhibit No. 1.               Do you recognize this?
 16          A    Yes, sir, it is a copy of the pod cast made
 17    concerning Jeffrey Weinhaus' video.
 18          Q    And I show you what has been marked as
 19    State's Exhibit No. 1-A.              Do you recognize this?
 20          A    Yes, sir.       This is a copy of the pod cast
 21    with the captions.
 22          Q    And have you viewed these two videos?
 23          A    Yes, sir, I have.
 24          Q    And are these two videos here in the same or
 25    the same as the videos that you saw?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 170 of 239 PageID #: 365
                                   Weinhaus, Vol. 1                          170




   1         A    Yes, sir.
   2              MR. PARKS:       Your Honor, at this time I would
   3   move that State's Exhibits 1 and 1-A be admitted
   4   into evidence.
   5              MR. EASTWOOD:         I would object, Your Honor.
   6   I believe both these, as I previously briefed the
   7   Court, both of these recordings are protected by the
   8   First Amendment, and for those reasons, which the
   9   Court has already been briefed on in writing, I
 10    would object.
 11               JUDGE SUTHERLAND:            The objections are
 12    overruled.       State's Exhibits 1 and 1-A are admitted.
 13               MR. PARKS:       And I would ask permission to
 14    play these for the jury at this time, Your Honor.
 15               JUDGE SUTHERLAND:            You may do so.
 16         (WHEREUPON VIDEO WITHOUT CAPTIONS WAS PLAYED)
 17          Q    (By Mr. Parks) That is the first video that
 18    you looked at during your investigation; is that
 19    correct, Sergeant Folsom?
 20          A    Yes, sir, it is.
 21          Q    You then found another video with captions;
 22    is that correct?
 23          A    Yes, sir, I did.
 24               MR. EASTWOOD:         Your Honor, for the record I
 25    object to him playing this video as well for the
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 171 of 239 PageID #: 366
                                   Weinhaus, Vol. 1                          171




   1   same reasons briefed to the Court, First Amendment
   2   speech.
   3              JUDGE SUTHERLAND:            Objection overruled.
   4          (WHEREUPON VIDEO WITH CAPTIONS WAS PLAYED)
   5         Q    (By Mr. Parks) Now Sergeant Folsom, after
   6   you had seen the video, what did you do next?
   7         A    After I had seen the videos and had them
   8   documented, I met with various law enforcement
   9   officials from state, federal and county agencies to
 10    try to look at the videos and determine the validity
 11    of the threats being made on the videos.
 12          Q    And did you do an investigation in Crawford
 13    County itself?
 14          A    Yes, at some point I did meet with Crawford
 15    County officials.
 16          Q    And what did you find out was going on in
 17    Crawford County?
 18          A    I discovered that of course they had
 19    heightened their security due to some of these
 20    threats, and reportedly Jeff Weinhaus had visited
 21    the 911 dispatch center and had been frequenting the
 22    courthouse and had put everyone on edge, and they
 23    had taken some security precautions like locking the
 24    911 center where he had entered a few days prior and
 25    placing an armed guard inside the facility as well
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 172 of 239 PageID #: 367
                                   Weinhaus, Vol. 1                          172




   1   as changing the way they entered the courtrooms and
   2   their security.
   3         Q    After this investigation, was it -- what did
   4   you do next in your investigation?
   5         A    After I met with the officials, at that
   6   point it was determined that most of the things that
   7   Mr. Weinhaus had said were under the free speech,
   8   and at that point the decision was made that I would
   9   contact him at his home and try to discuss with him
 10    the video and see if he had actually intended to
 11    harm anyone or himself and possibly was a danger to
 12    anyone.
 13          Q    And did you and Corporal Mertens then
 14    proceed to the defendant's home in Crawford County?
 15          A    We proceeded to several addresses in
 16    Crawford County; however, we were not able to locate
 17    him.
 18          Q    How did you locate the defendant?
 19          A    Eventually I had met with the sheriff of
 20    Crawford County, Randy Martin, and he had given me a
 21    cellular phone photograph picture of the vehicle
 22    that Mr. Weinhaus was alleged to have driven.                    I
 23    read the license plate, it came back to a green
 24    Subaru registered to Judy Kropf, who was a resident
 25    here in Franklin County.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 173 of 239 PageID #: 368
                                   Weinhaus, Vol. 1                          173




   1         Q    That would be the Piney Park location?
   2         A    Yes, sir.
   3         Q    What did you do next?
   4         A    After checking the addresses in Crawford
   5   County with no results, myself and Scott Mertens
   6   started to drive towards Franklin County.
   7         Q    What happened?
   8         A    Eventually we came to Mr. Weinhaus'
   9   residence there in Piney Park.
 10          Q    And what did you do when you came to the
 11    residence?
 12          A    I went and knocked on the door, and
 13    Mr. Weinhaus came to the door and opened the front
 14    door.     At the front door it was a really narrow
 15    stairwell that was covered with bushes on both
 16    sides.     It was a really narrow front pad to step out
 17    on, and the door swung outwards.               So when he stepped
 18    outside to speak to me on the door, we were in very
 19    close proximity to each other, and at that point I
 20    smelled the odor of marijuana.
 21          Q    Where did you smell this odor coming from?
 22          A    Mostly I smelled a very strong odor coming
 23    from the house, and since we were standing there
 24    almost face-to-face, I smelled the marijuana coming
 25    from him also.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 174 of 239 PageID #: 369
                                   Weinhaus, Vol. 1                          174




   1         Q    What did you do next?
   2         A    I asked him if it would be okay if we could
   3   step down from the step, because we were basically
   4   face-to-face, and he agreed and led us over to a
   5   carport area that was adjacent to his house.
   6         Q    And Corporal Mertens was with you this
   7   entire time but he wasn't standing up on the porch;
   8   is that correct?
   9         A    No, there was only room for one person to go
 10    up the stairs at a time, so he waited at the bottom
 11    of the stairs.
 12          Q    When you and the defendant came down from
 13    the stairs and went to the carport, what happened
 14    next?
 15          A    We went to the carport where I began to
 16    speak to Mr. Weinhaus.             Of course when I knocked on
 17    the door, I informed him the reason why I came to
 18    speak to him was about the video and to assess the
 19    validity of any threats that he had made, and we had
 20    about a 25, 30 minute conversation about the video.
 21          Q    Can you highlight that conversation for us?
 22          A    In that conversation Mr. Weinhaus, he
 23    maintained that he was a peaceful person, that he
 24    was trying to call people to arms and wake up
 25    America.      He would say things like he was planning
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 175 of 239 PageID #: 370
                                   Weinhaus, Vol. 1                          175




   1   on removing corrupt officials and do this in a
   2   peaceful manner; however, a situation like this was
   3   exactly what the Second Amendment was created for,
   4   and he would kind of waiver with the peaceful
   5   statement and go back with another statement such as
   6   his Army was going to take over America because
   7   basically the constitution had failed.                 He just made
   8   some radical type statements about the Government
   9   and his beliefs.
 10          Q    Did he accuse any judicial officials of
 11    treason?
 12          A    Yes, he accused several officials of
 13    treason, and he asked myself and Scott Mertens if we
 14    knew what the punishment was for treason.
 15               MR. EASTWOOD:         Your Honor, I object that the
 16    question was leading and move to strike.
 17               JUDGE SUTHERLAND:            Overruled, go ahead.
 18          Q    (By Mr. Parks) Did he answer his own
 19    question for you?
 20          A    Yes.     Before we could answer the question,
 21    he answered the question and said death is the
 22    punishment for treason.
 23          Q    At this point was the conversation ended?
 24          A    Once we had finished talking about 25, 30
 25    minutes, there come a point, he even gave me a copy
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 176 of 239 PageID #: 371
                                   Weinhaus, Vol. 1                          176




   1   of his bulletin and explained to me some of his
   2   personal beliefs about the Lord Jesus Christ, and
   3   once we had come to basically where he started to
   4   repeat himself in the conversation, we both kind of
   5   ended the conversation.
   6         Q    What did you do next?
   7         A    At that point he started turning to go back
   8   towards his residence, and I asked him to stop and I
   9   explained that when I contacted him at the front
 10    door that I smelled the odor of marijuana, and it
 11    was at that point that I explained -- I asked
 12    Mr. Weinhaus if there was any marijuana in the house
 13    and he denied.        At that point we had a short
 14    conversation and he tried to step around me and go
 15    towards the house.
 16          Q    What did you do?
 17          A    I stepped in front of him and rather than
 18    get into an altercation or wrestling match of any
 19    kind, I immediately told him to turn around and I
 20    was going to handcuff him, and he immediately
 21    submitted into the handcuff position and stuck his
 22    wrists out.       I handcuffed him.            I explained to him
 23    that I handcuffed him for his safety, that I was
 24    going to apply for a warrant, and being as there was
 25    no other officers there, I didn't want to get into a
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 177 of 239 PageID #: 372
                                   Weinhaus, Vol. 1                          177




   1   wrestling match with him trying to get back into the
   2   house.     During that time he was screaming for
   3   someone in the house to come and help him, that the
   4   cops were going to search the house, they were
   5   looking for drugs, and eventually someone did come
   6   to the door.
   7         Q    Do you know who that individual was?
   8         A    It was Judy Kropf.
   9         Q    And what happened with her?
 10          A    My partner, Scott Mertens, contacted her and
 11    she came to the door of the house.
 12          Q    Did you then apply for a search warrant?
 13          A    Yes, sir.       I called for, of course, other
 14    officers to arrive at the scene.               Once they arrived
 15    at the scene, I unhandcuffed Mr. Weinhaus and
 16    explained to him that now that we had other
 17    officers, he was free to leave but he could not go
 18    back in the house.          At that point I left Corporal
 19    Mertens with the other officers guarding the house
 20    and I came to apply for a search warrant for the
 21    home.
 22          Q    I show you what has been marked as State's
 23    Exhibit 2.       Do you recognize this?
 24          A    Yes, sir.
 25          Q    What do you recognize this to be?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 178 of 239 PageID #: 373
                                   Weinhaus, Vol. 1                          178




   1         A    It is a search warrant which I applied for
   2   using an affidavit granting me permission to search
   3   the home of Mr. Weinhaus.
   4         Q    This is the search warrant that you used to
   5   search the house; is that correct?
   6         A    Yes, sir.
   7         Q    And this search warrant has the items that
   8   you seized listed on it; is that correct?
   9         A    Yes, sir, it has a return and inventory
 10    listing the items.
 11          Q    And it also has a picture of the front of
 12    the house; is that correct?
 13          A    Yes, sir.
 14               MR. PARKS:       Your Honor, at this time I would
 15    ask that State's Exhibit 2 be admitted into
 16    evidence.
 17               MR. EASTWOOD:         No objection, Your Honor.
 18               JUDGE SUTHERLAND:            State's Exhibit 2 is
 19    admitted.
 20               MR. PARKS:       I need to get my technical
 21    expert up here.
 22               JUDGE SUTHERLAND:            Every office should have
 23    a 15 year old.
 24          Q    (By Mr. Parks) And I show you here from the
 25    search warrant, this is a picture of the front of
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 179 of 239 PageID #: 374
                                   Weinhaus, Vol. 1                          179




   1   the house; is that correct?
   2         A    Yes, sir.
   3         Q    And this shows the narrow bushes and the
   4   narrow sidewalk leading up to the door?
   5         A    Yes, sir.
   6         Q    And this is the door that the defendant came
   7   out and you asked him to step around to the carport;
   8   is that correct?
   9         A    Yes, sir, I did.
 10          Q    And that carport would be this area over
 11    here; is that correct?
 12          A    Yes, sir.
 13          Q    After receiving the search warrant, what did
 14    you do?
 15          A    After I received the search warrant, of
 16    course I was driven by a local officer, once I
 17    received the search warrant, we drove back to the
 18    residence where Mr. Weinhaus was, and I contacted
 19    Mr. Weinhaus there at his residence and informed him
 20    that I had obtained a search warrant.
 21          Q    And did you and Corporal Mertens then begin
 22    to search the house?
 23          A    After I gave Mr. Weinhaus a copy of the
 24    search warrant and again informed him that he was
 25    free to leave, he did not have to remain, we did
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 180 of 239 PageID #: 375
                                   Weinhaus, Vol. 1                          180




   1   begin to search the house.
   2         Q    And where did you first start to search?
   3         A    We first began to search the main level.                  It
   4   was a ranch style home with a basement.                  We searched
   5   the upper level, the main level.
   6         Q    And what did you find there?
   7         A    Upstairs we found some laptop equipment as
   8   well as video cameras, and we also located a nine
   9   millimeter handgun in a night stand drawer by the
 10    master bed.
 11          Q    Was there anything else in that drawer
 12    besides the pistol?
 13          A    There was the box that the pistol had came
 14    in.    The box had paperwork which said that Judy
 15    Kropf was the owner of the pistol.                There was also a
 16    green Army holster there with the weapon, as well as
 17    the weapon was loaded with ammunition in a magazine;
 18    however, there was not a round in the chamber.
 19          Q    I show you what has been marked as State's
 20    Exhibit 3 and 4, do you recognize these?
 21          A    Yes, sir.
 22          Q    And are these the items or photographs as
 23    they appeared to you on the day when you committed
 24    or did the search?
 25          A    Yes, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 181 of 239 PageID #: 376
                                   Weinhaus, Vol. 1                          181




   1              MR. PARKS:       Your Honor, I would ask that
   2   State's Exhibits 3 and 4 be admitted into evidence.
   3              MR. EASTWOOD:         No objection.
   4              JUDGE SUTHERLAND:            State's Exhibits 3 and 4
   5   are admitted.
   6         Q    (By Mr. Parks) And I show you what has been
   7   marked here as State's Exhibit No. 3.                 Can you tell
   8   the jury what this is a photo of?
   9         A    It's a photo of the top drawer of the night
 10    stand.     It contains some hearing protection that you
 11    can see on the right of the green holster.                   Inside
 12    the green holster is a black nine millimeter
 13    handgun.
 14          Q    And I show you what has been marked as
 15    State's Exhibit No. 4, do you recognize this?
 16          A    Yes, sir, that is a picture of the handgun
 17    after I removed it from the holster.
 18          Q    After searching the upstairs, and you say
 19    you did not seize this pistol; is that correct?
 20          A    No, sir, I did not.
 21          Q    And why did you not seize this?
 22          A    The pistol was legally registered, it served
 23    no evidence of a crime.             It was totally legal for it
 24    to be there and we left it where it was.
 25          Q    When you had spoken to Mr. Weinhaus before
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 182 of 239 PageID #: 377
                                   Weinhaus, Vol. 1                          182




   1   doing the search, had he told you about any specific
   2   areas of his house in the basement?
   3              MR. EASTWOOD:         Objection, leading.
   4              JUDGE SUTHERLAND:            Overruled, he may answer.
   5              THE WITNESS:        Would you repeat the question,
   6   sir.
   7         Q    (By Mr. Parks) Yes.             When you had your
   8   conversation with Mr. Weinhaus, did he talk about
   9   any specific rooms in the basement of the house?
 10          A    I don't recall that we discussed any
 11    specific rooms in the basement.
 12          Q    Did he call a specific room the "command
 13    center"?
 14               MR. EASTWOOD:         Objection, leading.
 15               JUDGE SUTHERLAND:            Overruled, you may
 16    answer.
 17               THE WITNESS:        That term did come up during
 18    our conversation.
 19          Q    (By Mr. Parks) And when you went to the
 20    basement of the house, where did you go?
 21          A    When we arrived down in the basement, as
 22    soon as we entered the basement there was a large
 23    main room that was cluttered with boxes and looked
 24    like a lot of personal belongings that normally
 25    would be in a basement. There were a lot of
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 183 of 239 PageID #: 378
                                   Weinhaus, Vol. 1                          183




   1   cardboard boxes and things in storage.                 Just off to
   2   the right of the main part of the basement there was
   3   cameras set up, a desk with a computer, a lot of the
   4   banners and things that you saw in the video where
   5   Mr. Weinhaus was running for coroner and the
   6   backdrop basically for where he had made the videos.
   7         Q    And I show you what has been marked as
   8   State's Exhibit No. 5.             Do you recognize this?
   9         A    Yes, sir.
 10          Q    What do you recognize this to be?
 11          A    It is an area in the basement that I
 12    observed that Mr. Weinhaus described as his command
 13    center, as well as the area that I believe the
 14    videos were made.
 15          Q    And does this photo fairly and accurately
 16    represent what you saw there during the search?
 17          A    Yes, sir, it does.
 18               MR. PARKS:       Your Honor, I would ask that
 19    State's Exhibit No. 5 be admitted into evidence.
 20               MR. EASTWOOD:         No objection, Your Honor.
 21               JUDGE SUTHERLAND:            State's Exhibit 5 is
 22    admitted.
 23          Q    (By Mr. Parks) And here again, this is the
 24    photo of the command center type room that you saw
 25    in the basement of Mr. Weinhaus' house?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 184 of 239 PageID #: 379
                                   Weinhaus, Vol. 1                          184




   1         A    Yes, sir, it is.
   2         Q    And this is the same back drop that was in
   3   the two videos that we saw previously; is that
   4   correct?
   5         A    I believe it was, yes, sir.
   6         Q    What did you search next?
   7         A    After we searched the main level, we
   8   searched the basement area there by the command
   9   center.      I began to search the desk where the video
 10    equipment was -- there was a video camera as well as
 11    computer equipment sitting on top of the desk, and I
 12    began to search the desk which contained that
 13    equipment.
 14          Q    And what did you find?
 15          A    I opened up one of the drawers in the desk
 16    and I found some drug paraphernalia, a set of
 17    scales, rubber type Tupperware tub containing some
 18    marijuana as well as smoking pipes and other
 19    instruments.
 20          Q    Was there anything else in that can?
 21          A    Yes, sir.
 22          Q    What?
 23          A    There was a small Camel tin.              It was almost
 24    like a tin that Sucrets or something comes in, a
 25    small metal tin.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 185 of 239 PageID #: 380
                                   Weinhaus, Vol. 1                          185




   1         Q    And what was in that?
   2         A    When I opened up that tin, there was a pill
   3   and a half and a partial portion of a small sliver
   4   of another pill inside that I could see.
   5         Q    And did you seize those items?
   6         A    Yes, sir, I did.
   7         Q    And were those pills sent to the Missouri
   8   State Highway Patrol?
   9         A    Yes, sir, they were.
 10          Q    I show you what has been marked as State's
 11    Exhibits 6, 7 and 8.           Do you recognize these?
 12          A    Yes, sir.
 13          Q    What do you recognize these to be?
 14          A    Exhibit 6 shows the photograph that I took
 15    of the items that were in the desk.                The Tupperware
 16    contained the scales as well as the marijuana.
 17    Exhibit 7 shows as I'm removing the items from the
 18    plastic Tupperware dish it shows the metal tin, it
 19    shows the scale removed as well as some smoking
 20    devices.      Exhibit 8 shows, after I've opened the
 21    tin, it shows a pink pill, a half of a pink pill and
 22    a little sliver of a blue pill.
 23               MR. PARKS:       Your Honor, I would ask that
 24    State's Exhibits 6, 7 and 8 be admitted into
 25    evidence.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 186 of 239 PageID #: 381
                                   Weinhaus, Vol. 1                          186




   1              MR. EASTWOOD:         May I review the photographs
   2   please before maintaining a position?
   3              JUDGE SUTHERLAND:            Yes.
   4              MR. EASTWOOD:         No objection, Your Honor.
   5              JUDGE SUTHERLAND:            State's Exhibits 6, 7 and
   6   8 are admitted.
   7         Q    (By Mr. Parks) And I have up here what has
   8   been admitted as State's Exhibit 6.                Again could you
   9   please explain to the jury what these are, it should
 10    be on your monitor.
 11          A    It's a Tupperware type container containing
 12    a scale, as well as a jar containing marijuana
 13    residue, as well as the other items that we've
 14    spoken about.
 15          Q    And I now show you what's been marked as
 16    State's Exhibit No. 7.             What is this a photo of?
 17          A    This is a photograph as I'm removing the
 18    items from the Tupperware container and laying them
 19    on the desk to document them.
 20          Q    And you said that this was drug
 21    paraphernalia.        Could you explain what the drug
 22    paraphernalia is here in this picture?
 23          A    My picture is clearer than that picture.
 24    Inside the Tupperware container there is a blue
 25    smoking pipe, a red smoking pipe, as well as an
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 187 of 239 PageID #: 382
                                   Weinhaus, Vol. 1                          187




   1   instrument used to grind marijuana or to chop it up
   2   to refine it.
   3         Q    And what would the scale be used for?
   4         A    Measuring.
   5         Q    And I show you what has been marked as
   6   State's Exhibit No. 8.             Could you explain to the
   7   jury what is here.
   8         A    This is a photograph of what was inside the
   9   metal tin when I opened it.
 10          Q    And what is this, these two items right here
 11    and here?
 12          A    There is a pink pill that is whole, there is
 13    a half of a pink pill just underneath it, and to the
 14    right of the tin there is a sliver of a blue pill.
 15          Q    And these are the way that you found the
 16    items during your search?
 17          A    Yes, sir, it is.
 18          Q    And were these items packaged and sent to
 19    the Missouri State Highway Patrol lab?
 20          A    Yes, sir, they were.
 21          Q    I show you now what has been marked as
 22    State's Exhibits 9 and 10.                You didn't do the
 23    seizing of the evidence, Corporal Mertens did the
 24    seizing of the evidence; is that correct?
 25          A    We did the seizing of the evidence together.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 188 of 239 PageID #: 383
                                   Weinhaus, Vol. 1                          188




   1   He packaged the evidence.               I seized and photographed
   2   the evidence and he packaged it.                 His handwriting is
   3   always much neater than mine.
   4         Q    And is this package in the same condition as
   5   when you all seized it?
   6         A    Yes, sir.       It bears my signature here.            It's
   7   still sealed with the tape and initials.                  This as
   8   well bears my signature here.                  It bears the tape and
   9   the initials.
 10          Q    And both packages have blue tape at the
 11    bottom, what is that from?
 12          A    The blue tape usually signifies -- officers
 13    in the field use red tape and blue tape is used by
 14    the laboratories to signify when they've opened the
 15    package and conducted an examination.                  They reseal
 16    it with blue tape.
 17          Q    At this time I would ask you if you could
 18    open package No. 9.
 19               MR. PARKS:       At this time I would ask that
 20    State's Exhibits 9 and 10 be admitted into evidence,
 21    Your Honor.
 22               MR. EASTWOOD:         May I approach, Your Honor.
 23               JUDGE SUTHERLAND:            Yes.
 24                       (BENCH CONFERENCE BEGINS)
 25               MR. EASTWOOD: Right now 9 and 10 are
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 189 of 239 PageID #: 384
                                   Weinhaus, Vol. 1                          189




   1   described as marijuana and Morphine pills.
   2   Obviously I'm not going to consent to them being
   3   entered into the record as marijuana and Morphine.
   4              MR. PARKS:       I'm just introducing the
   5   package.
   6              JUDGE SUTHERLAND:            Not proving what they
   7   are?
   8              MR. EASTWOOD:         That's my point.        I don't
   9   have a chain of custody objection or anything like
 10    that, but I don't want to concede that this is
 11    marijuana or Morphine.
 12               JUDGE SUTHERLAND:            I'll overrule the
 13    objection on the assumption the State is going to
 14    prove this up somehow or another.
 15               MR. PARKS:       Not with this witness.
 16               MR. EASTWOOD:         Barring that, I have no
 17    objection, Your Honor.
 18                        (BENCH CONFERENCE ENDS)
 19          Q    (By Mr. Parks) Could you open State's
 20    Exhibit No. 9.        Could you tell us what is in State's
 21    Exhibit No. 9.
 22          A    In State's Exhibit No. 9 there is a glass
 23    container, which is sealed in this cardboard box per
 24    our laboratory, Ziplock style bag containing
 25    marijuana and a brown paper bag containing
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 190 of 239 PageID #: 385
                                   Weinhaus, Vol. 1                          190




   1   marijuana.
   2         Q    And could you please open --
   3              MR. EASTWOOD:         I object to the extent that
   4   the witness is not qualified to testify what the
   5   drug is.
   6              MR. PARKS:       Your Honor, the witness has
   7   testified that he has had extensive training --
   8              JUDGE SUTHERLAND:            As far as the marijuana,
   9   yeah, overruled.
 10               MR. PARKS:       Only to the marijuana is all I'm
 11    asking for.
 12          Q    (By Mr. Parks) Could you please open what
 13    has been marked as State's Exhibit No. 10, please.
 14    And could you tell the jury what was in State's
 15    Exhibit No. 10?
 16          A    A blue Camel tin that was identified in the
 17    photographs earlier.
 18          Q    Could you open that tin.
 19               MR. PARKS:       And Your Honor, may I pass the
 20    tin to the jury so that they may see the contents of
 21    the tin?      I might be able to put it on --
 22               JUDGE SUTHERLAND:            Yeah, I'd prefer you to
 23    put it on the -- not that the jurors would pop the
 24    pills but I don't want them to get spilled or
 25    knocked out or something.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 191 of 239 PageID #: 386
                                   Weinhaus, Vol. 1                          191




   1         Q     (By Mr. Parks) And I'm going to take these
   2   out.      These are the pink pill and part of the blue
   3   pill; is that correct?
   4         A     Yes, sir.
   5               JUDGE SUTHERLAND:           Mr. Parks, if you have a
   6   ways to go with this witness, I suspect you do, do
   7   you need a break?          I don't want to go another hour
   8   and a half without a break.                Why don't we take a
   9   recess now if that's all right.
 10                MR. PARKS:      That will be fine, it's a good
 11    stopping point.
 12                JUDGE SUTHERLAND:           We'll be in recess for 10
 13    minutes.      The Court again reminds you of what you
 14    were told at the first recess of the Court.                   Until
 15    you retire to consider your verdict, you must not
 16    discuss this case among yourselves or with others or
 17    permit anyone to discuss it in your hearing.                    You
 18    should not form or express any opinion about the
 19    case until it is finally given to you to decide.                      Do
 20    not do any research or investigation on your own
 21    about any matter regarding this case or anyone
 22    involved in the trial.             Do not communicate with
 23    others about the case by any means.                Do not read,
 24    view or listen to any newspaper, radio, electronic
 25    communication from the Internet or television report
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 192 of 239 PageID #: 387
                                   Weinhaus, Vol. 1                          192




   1   of the trial.        I hope you're paying attention to
   2   that because we're going to have a test on that
   3   instruction when the trial is over with.                  We'll be
   4   in recess for 10.
   5              (WHEREUPON A BRIEF RECESS TOOK PLACE)
   6              JUDGE SUTHERLAND:            We're not finished with
   7   the first witness yet, but the parties have agreed
   8   to put the laboratory technician from the Highway
   9   Patrol laboratory on out of order.                So we're going
 10    to interrupt Sergeant Folsom's testimony to do that
 11    right now.       If you'd raise your right hand and be
 12    sworn by the clerk, please.
 13               (WHEREUPON MATTHEW FOX WAS SWORN IN)
 14                  DIRECT EXAMINATION OF MATTHEW FOX
 15    QUESTIONS BY MR PARKS:
 16          Q    Please state your name for the record.
 17          A    My name is Matthew Fox.
 18          Q    How are you employed?
 19          A    I work at the Missouri State Highway Patrol
 20    Crime Lab in Jefferson City, Missouri in the drug
 21    chemistry section.
 22          Q    What are your duties there?
 23          A    I test solid dosage specimens for the
 24    presence of controlled substances.
 25          Q    And what training have you had to do these
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 193 of 239 PageID #: 388
                                   Weinhaus, Vol. 1                          193




   1   testings?
   2         A    I have a Bachelors in Science in Forensic
   3   Chemistry from Ohio University in Athens, Ohio.
   4   When I was employed by the Highway Patrol, I
   5   underwent a six month on-the-job training period.                     I
   6   passed a proficiency and competency exam.                  In
   7   addition I go to various courses, lectures and
   8   seminars about various topics in the field of
   9   forensic chemistry.
 10          Q    Have you testified in Court before about
 11    your testing of solid materials?
 12          A    Yes, sir, I have.
 13               MR. PARKS:       Your Honor, may the witness be
 14    qualified as a chemist for the Highway Patrol?
 15               MR. EASTWOOD:         No objection, Your Honor.
 16               JUDGE SUTHERLAND:            Yes, he certainly may.
 17    Go ahead.
 18          Q    (By Mr. Parks) And I show you what has been
 19    marked as State's Exhibit No. 10, do you recognize
 20    this?
 21          A    Yes, sir, I do.
 22          Q    How do you recognize this?
 23          A    This item has the unique seven digit lab
 24    identifier that was placed on it when it came into
 25    my custody, and in addition it has my initials and
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 194 of 239 PageID #: 389
                                   Weinhaus, Vol. 1                          194




   1   date from when I opened the container.
   2         Q    What is the blue tape?
   3         A    The blue tape is the seal that I put on the
   4   opening of the container after I finish testing the
   5   evidence inside.
   6         Q    Is this in the same condition except for
   7   where we opened it in Court here today?
   8         A    Yes, sir, it is.
   9         Q    Could you remove the items from there.                 And
 10    could you open the tin, please.                Do you recognize
 11    the item in the tin, the pink item?
 12          A    Yes, sir, I do.
 13          Q    And how do you recognize that item?
 14          A    This item, after I tested it, I repackaged
 15    it in the plastic bag, and I can tell that because
 16    it has my initials and date as well as the unique
 17    seven digit lab identifier that was associated with
 18    it.
 19          Q    Was there also a half of pill that you
 20    tested?
 21          A    I did not test the tablet fragment in here,
 22    but there is a tablet fragment in here.
 23          Q    How do you go about doing the test on this
 24    pill?
 25          A    So when I receive a tablet, I will open the
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 195 of 239 PageID #: 390
                                   Weinhaus, Vol. 1                          195




   1   evidence, I will note any physical characteristics
   2   about the evidence when it came in, how it was
   3   contained.       I'll note the color, the shape, any
   4   pharmaceutical identifiers around the tablet.                    I'll
   5   do a pharmaceutical look-up for those identifiers.
   6         Q    What is a pharmaceutical look-up?
   7         A    We have a program called RXID.               It's a
   8   computer program that has hundreds of different
   9   pharmaceutical identifiers associated with different
 10    tablets in it.
 11          Q    Are those the numbers that are pre-printed
 12    on the tablets?
 13          A    Yes, sir.       So I will do a comparison of
 14    those numbers.        I will make a printout of that.
 15    I'll then take a sample of the tablet to test on my
 16    instrument.
 17          Q    Did you do so in this case?
 18          A    Yes, sir, I did.
 19          Q    How do you use controls so that you don't
 20    cross contaminate from one experiment to another?
 21          A    I open one item at a time.               I completely
 22    clean my area between items.                   In addition when the
 23    sample is run on an instrument, I will also run a
 24    blank in between each sample to show there was no
 25    cross contamination leading from one sample to
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 196 of 239 PageID #: 391
                                   Weinhaus, Vol. 1                          196




   1   another.
   2         Q    What kind of test did you do on this item?
   3         A    I did two tests.           I did the pharmaceutical
   4   identifier look-up, and I did a technique that's
   5   known as gas chromatography and mass spectrometry.
   6         Q    What is that?
   7         A    That's actually two separate techniques.
   8   Gas chromatography is the first technique, we call
   9   that GC, and the second is mass spectrometry, which
 10    we call MS.       GC is a separation technique.              You take
 11    a mixture and place it in the instrument, and the
 12    instrument will separate it out into its individual
 13    components.       Mass spectrometry is an identification
 14    technique.       You take an individual specimen, break
 15    it down into its unique fragments, and based on
 16    those fragments you can tell the composition of the
 17    material.
 18          Q    Did you do that on the pink pill here?
 19          A    Yes, sir, I did.
 20          Q    And based upon your test results, were you
 21    able to determine what this pill was?
 22          A    Yes, sir, I was.
 23          Q    What was it?
 24          A    The tablet contains morphine schedule two
 25    controlled substance.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 197 of 239 PageID #: 392
                                   Weinhaus, Vol. 1                          197




   1         Q    Did you write a report for your findings?
   2         A    Yes, sir, I did.
   3         Q    And I show you what has been marked as
   4   State's Exhibit No. 31.             Do you recognize this?
   5         A    Yes, sir, I do.
   6         Q    And is that the lab report that you wrote
   7   for the items contained in State's Exhibit No. 10?
   8         A    Yes, sir, it is.
   9         Q    And how can you tell that that report is for
 10    this item?
 11          A    This report has my signature and the date I
 12    completed it, as well as the unique seven digit lab
 13    identifier here in the top right-hand corner.
 14               MR. PARKS:       Your Honor, at this time I would
 15    ask that State's Exhibit No. 31 be admitted into
 16    evidence.
 17               JUDGE SUTHERLAND:            Any objection?
 18               MR. EASTWOOD:         I'm sorry, which exhibit is
 19    it?
 20               JUDGE SUTHERLAND:            The lab report, 31.
 21               MR. EASTWOOD:         No objection, Your Honor.
 22               JUDGE SUTHERLAND:            State's Exhibit 31 is
 23    admitted.
 24               MR. PARKS:       I have no further questions of
 25    this witness at this time, Your Honor.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 198 of 239 PageID #: 393
                                   Weinhaus, Vol. 1                          198




   1              JUDGE SUTHERLAND:            Cross examination.
   2              MR. EASTWOOD:         Thank you, Your Honor.
   3                 CROSS EXAMINATION OF MATTHEW FOX
   4   QUESTIONS BY MR. EASTWOOD:
   5         Q    Mr. Fox, how long have you been with the
   6   Highway Patrol lab?
   7         A    I've been employed with the Highway Patrol
   8   for about seven and a half years now.
   9         Q    Is the Highway Patrol lab an ASCLD certified
 10    lab?
 11          A    Yes, sir, it is.
 12          Q    And I'd ask that you tell the jury what
 13    ASCLD is.
 14          A    ASCLD lab is an organization that certifies
 15    laboratories to a standard.
 16          Q    And you have to go through annual
 17    accreditation; isn't that right?
 18          A    They're not annual accreditations.                I
 19    believe our current accreditation cycle is five
 20    years.
 21          Q    What level certification does the Highway
 22    Patrol have?
 23          A    It's not the Legacy program, it's the ASCLD
 24    lab program.
 25          Q    Legacy is a higher certification program?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 199 of 239 PageID #: 394
                                   Weinhaus, Vol. 1                          199




   1         A    Legacy was the older program.              They've
   2   progressed from Legacy to the newest ASCLD lab.
   3         Q    And within the lab and pursuant to ASCLD
   4   standards, it's fair to say you have to follow
   5   certain procedures; isn't that right?
   6         A    Yes, sir, it is.
   7         Q    Otherwise the science is not considered to
   8   be verifiable or proper, is that fair to say?
   9         A    Yes, sir.
 10          Q    Do you also have a QA/QC manual, quality
 11    assurance/quality control manual?
 12          A    Yes, sir, we do.
 13          Q    And when you do the GC mass spec test, you
 14    talked about, in fact you use a standard of the drug
 15    in order to compare it against the sample you're
 16    testing; isn't that right?
 17          A    No, sir, that's not always correct.
 18          Q    Oh, okay.       What about here with the
 19    Morphine.       Would you have a standard for the
 20    Morphine or no?
 21          A    We do have a standard present in the lab;
 22    however, usually how I do my comparisons is I
 23    compare them to a library that we purchased which
 24    contains multiple numerous mass specs.
 25          Q    So the Morphine that you compared the sample
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 200 of 239 PageID #: 395
                                   Weinhaus, Vol. 1                          200




   1   to, was that a standard or was that something from
   2   the library?
   3         A    That was from the library, yes, sir.
   4         Q    How long had you had that library?
   5         A    I can't say off the top of my head.                I
   6   believe it's a 2008 edition.
   7         Q    And in your custom and practice and under
   8   ASCLD rules, when you get say a pill, a tablet,
   9   looks like it's a Morphine tablet perhaps, how many
 10    times do you normally run it through the GC mass?
 11          A    With a tablet we do two tests, the first
 12    test is the pharmaceutical identifier test and the
 13    second test is usually a GCMS test.
 14          Q    For the GC mass spec, how many times do you
 15    usually run the sample?
 16          A    One time.
 17          Q    How many times did you run it here?
 18          A    One time.
 19          Q    And what about for the -- did you perform
 20    testing on the marijuana?
 21          A    Yes, sir, I did.
 22          Q    And how many times did you perform that
 23    test?
 24          A    I tested three specimens of marijuana.
 25          Q    Three tests of the same sample?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 201 of 239 PageID #: 396
                                   Weinhaus, Vol. 1                          201




   1         A    Marijuana testing is a little different than
   2   testing we do on powders or tablets.
   3         Q    Can you tell the jury about that briefly in
   4   layman's terms.
   5         A    Sure.     Marijuana testing, what we'll do is
   6   when I receive a specimen, I'll first weigh it and
   7   look for physical characteristics under a
   8   microscope.       If I see those physical
   9   characteristics, then I take a specimen of the
 10    sample to perform two further tests.
 11          Q    Are you aware that some ASCLD labs around
 12    the nation have had problems recently?
 13          A    I have heard news stories, yes, sir.
 14          Q    So has that led you and your lab and the
 15    Highway Patrol to take heightened steps to make sure
 16    that you're following the procedures and practices
 17    that you ought to be?
 18          A    We have been continually accredited for a
 19    number of years now, and as far as I know we have
 20    not had any sort of issue regarding those kind of
 21    issues regarding what you've heard about in the
 22    news.
 23          Q    No issues of misconduct or negligence?
 24          A    None that I'm aware of.
 25          Q    There's been no failure to follow procedures
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 202 of 239 PageID #: 397
                                   Weinhaus, Vol. 1                          202




   1   that you know of?
   2         A    How would you define a failure?
   3         Q    A failure to perform a proper test on a
   4   controlled substance?
   5         A    No, sir.
   6         Q    Failure to follow the procedures that are
   7   prescribed by ASCLD or your QA/QC manual?
   8         A    No, sir, none that I'm aware of.
   9         Q    And you're satisfied that the data here is a
 10    good clean result to show the presence of Morphine?
 11          A    Yes, sir.
 12          Q    How come you didn't run the blue fragment?
 13          A    I did run the blue fragment, sir.
 14          Q    Well, I thought you said you didn't.                 I
 15    thought you said you ran the pink tablet; right?
 16          A    No, there are two items here, item 3.8 was a
 17    blue tablet fragment, and item 3.9 originally had a
 18    purple tablet and a purple tablet fragment.                   Usually
 19    in cases like this when I have a whole tablet and a
 20    tablet fragment, I disregard the tablet fragment and
 21    just perform my test on the tablet because the
 22    tablet fragment doesn't have the full pharmaceutical
 23    identifiers that the tablet would.
 24          Q    In your opinion were these different
 25    substances or do you not know?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 203 of 239 PageID #: 398
                                   Weinhaus, Vol. 1                           203




   1         A    I did not make any conclusion about the
   2   purple tablet fragment.
   3         Q    The color difference suggests something
   4   might be different?
   5         A    The color was the same as the tablet.                 The
   6   purple tablet fragment had the same color as the
   7   purple tablet.
   8         Q    Now in the Highway Patrol crime lab, you
   9   don't, as a whole, perhaps -- do you specialize just
 10    in drugs?
 11          A    I work in the drug chemistry section, yes,
 12    sir.
 13          Q    But there are other sections in the lab;
 14    right?
 15          A    Yes, sir, there are.
 16          Q    Those include latent fingerprints, looking
 17    for fingerprints?
 18          A    Yes, sir.
 19          Q    DNA testing?
 20          A    Yes, sir, we have a DNA testing.
 21          Q    And other sections too like arson or
 22    something like that, I don't know how you're set up.
 23          A    There are other sections in addition to the
 24    ones that you named, yes, sir.
 25          Q    To your knowledge the Camel box that those
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 204 of 239 PageID #: 399
                                   Weinhaus, Vol. 1                          204




   1   tablets were in, was any latent fingerprint analysis
   2   performed on it?
   3         A    I do not know.          I know I did not perform
   4   drug analysis on the container.
   5         Q    So you have no idea whose fingerprints, if
   6   any, are on that?
   7         A    No, sir.
   8         Q    And to your knowledge was any DNA testing
   9   performed on either the tablets or the Camel box?
 10          A    To my knowledge, no, sir, there was no DNA
 11    testing performed on either item.
 12          Q    So to your knowledge no DNA, no
 13    fingerprints?
 14          A    That is correct, sir.
 15               MR. EASTWOOD:         Thank you very much for your
 16    time today.       No further questions.
 17                REDIRECT EXAMINATION OF MATTHEW FOX
 18    QUESTIONS BY MR. PARKS:
 19          Q    You said you identified the blue fragment?
 20          A    Yes, there's a bit of confusion.               There are
 21    two items within the Camel container, 3.8 was the
 22    blue tablet fragment.
 23          Q    What was the blue tablet fragment?
 24          A    The tablet contained Morphine, a schedule
 25    two controlled substance.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 205 of 239 PageID #: 400
                                   Weinhaus, Vol. 1                           205




   1         Q    And then the blue tablet, did you test that?
   2         A    Yes, sir.
   3         Q    What was that?
   4         A    The blue tablet fragment contains Morphine.
   5              MR. PARKS:       Thank you.         No further
   6   questions.
   7              JUDGE SUTHERLAND:            Redirect?
   8              MR. EASTWOOD:         None, Your Honor.
   9              JUDGE SUTHERLAND:            May this witness be
 10    excused?
 11               MR. PARKS:       Yes, Your Honor.
 12               JUDGE SUTHERLAND:            You may step down.       You
 13    are free to go.         Are you going to recall Sergeant
 14    Folsom?
 15               MR. PARKS:       Yes, please, Your Honor.
 16        CONTINUED DIRECT EXAMINATION OF SERGEANT FOLSOM
 17    QUESTIONS BY MR. PARKS:
 18          Q    Sergeant Folsom, we talked about you seizing
 19    the drugs from your search.                Did you seize any other
 20    items?
 21          A    Yes, sir, I did.
 22          Q    What other items did you seize?
 23          A    We seized some computer equipment, some
 24    video cameras.
 25          Q    After you had seized these items and
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 206 of 239 PageID #: 401
                                   Weinhaus, Vol. 1                          206




   1   finished your search, what did you do next?
   2         A    After we seized the items and finished the
   3   search, I provided Mr. Weinhaus with a copy of the
   4   return listing the items that we had taken from the
   5   residence.
   6         Q    And then what happened?
   7         A    The return was filed with the courts and the
   8   items were processed as evidence and laid forward
   9   for laboratory examinations.
 10          Q    When you serve a search warrant and the
 11    person is there, do you usually leave a business
 12    card?
 13          A    When the person is there?
 14          Q    Did you leave a business card with
 15    Mr. Weinhaus?
 16          A    At some point I believe he asked me for a
 17    business card, and I'm obligated to give that to
 18    him.      So I provided him with one.
 19          Q    And does that have your email address on it?
 20          A    Yes, sir, it does.
 21          Q    Did you start to receive emails from the
 22    defendant at this time?
 23          A    Yes, sir, I did.
 24          Q    What was he asking for?
 25          A    There were various emails. One of them
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 207 of 239 PageID #: 402
                                   Weinhaus, Vol. 1                          207




   1   wanted to know the name of my attorney that would be
   2   representing me in the suit, and one of them, I
   3   believe, asked where he could serve me with papers.
   4         Q    And did he ask for his computers back?
   5         A    I do not recall in an email if he asked for
   6   his computers back.           I know that he had a writ of
   7   replevin that he asked for his computers back, and I
   8   received that by email as well.
   9         Q    I direct your attention now to September
 10    10th.     Was a meeting held between you and your
 11    supervisors with the Missouri State Highway Patrol?
 12          A    Yes, sir, it was.
 13          Q    And at that meeting was it decided that you
 14    would arrest the defendant for the drug and the
 15    tampering charges?
 16          A    At that meeting it was decided that actions
 17    needed to be taken to take Mr. Weinhaus into
 18    custody, or we were going to have to further monitor
 19    his movements before September 17th, such as place a
 20    GPS locator on his car or perform some type of
 21    technical surveillance on him.
 22          Q    After this meeting, what did you do?
 23          A    After this meeting, of course I was given my
 24    directions that I was to coordinate with you to find
 25    out whether or not we could take him into custody or
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 208 of 239 PageID #: 403
                                   Weinhaus, Vol. 1                          208




   1   to begin plans to place a locator on his vehicle and
   2   set up some type of technical surveillance until the
   3   17th because of the heightened state.
   4         Q    And you received an arrest warrant for the
   5   defendant; is that correct?
   6         A    Yes, sir, I did.
   7         Q    What did you do next?
   8         A    At that point once I received -- I came and
   9   applied for the arrest warrant and I received the
 10    arrest warrant.         At that point I contacted the
 11    Franklin County Sheriff's Department and asked them
 12    if they would assist me in serving the warrant.
 13          Q    And what happened next?
 14          A    They declined, they told me that they were
 15    too busy.
 16          Q    And what happened next?
 17          A    At that point I was, of course, out of my
 18    normal patrol area.           I did not know anyone who had
 19    jurisdiction to assist me, and Corporal Mertens
 20    served the warrant, so I contacted the two FBI
 21    agents that we worked with in Rolla who are out of
 22    the St. Louis office and asked them if they would
 23    accompany us, as well as I arranged for two marked
 24    cars to be present during the operation in case
 25    Mr. Weinhaus went mobile.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 209 of 239 PageID #: 404
                                   Weinhaus, Vol. 1                          209




   1         Q    I direct your attention to September 11th,
   2   2012.     How did you formulate your plan to effect the
   3   arrest?
   4         A    Based on limited resources, I placed the two
   5   uniformed -- first I made arrangements to meet him
   6   in a public place.
   7         Q    How did you make those arrangements?
   8         A    When I contacted him, luckily I was going to
   9   bring it up but he brought it up first, I contacted
 10    him by phone.
 11          Q    What did he tell you?
 12          A    That he did not trust me and he wished to
 13    meet me in a public place.
 14          Q    What place did you decide or agree to meet
 15    at?
 16          A    We had tentatively made plans to meet at a
 17    gas station that was, I believe, less than a mile
 18    from his house.         It was a really secluded gas
 19    station.      Earlier that morning we drove by his house
 20    and we believed that he was probably home; however,
 21    I did not want to go to his house and serve the
 22    arrest warrant because prior he had made several
 23    threats against me, as well as on the Internet he
 24    stated in one of his videos that he should have
 25    placed a bullet in my head, as well as he called my
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 210 of 239 PageID #: 405
                                   Weinhaus, Vol. 1                          210




   1   supervisors and complained that I had stolen items
   2   from his home.        So I felt based on the heightened
   3   awareness that I should not go back to his home.
   4   Which he also made a video where he stated that he
   5   was at home with his guns loaded on Def-Con 4.                    So I
   6   contacted him and tried to arrange to meet him in a
   7   public place, and like I said luckily he actually
   8   brought up that it be a public place.
   9         Q    So you agreed to meet at the MFA station on
 10    Highway K; is that correct?
 11          A    Yes, at the station in the parking lot that
 12    was adjacent to the station where it looked like at
 13    one time they maybe parked big trucks.
 14          Q    And did you arrive at the MFA station first?
 15          A    Yes, sir, we did.
 16          Q    And what did you do when you arrived there?
 17          A    When we arrived there, it took about 45
 18    minutes for the federal agents to arrive.                  Once they
 19    arrived, we looked over the location, we agreed that
 20    we would place -- Scott Mertens and I would place
 21    our car in a highly visible area just off the road
 22    so we could be observed when Jeff was to come to
 23    meet us.      We get the agents on the other side of the
 24    building, they were dressed in plain clothes.
 25    Normally myself and Corporal Mertens wear plain
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 211 of 239 PageID #: 406
                                   Weinhaus, Vol. 1                          211




   1   clothes.      We were dressed in plain clothes.               And we
   2   had the two marked units from Troop C Highway Patrol
   3   unit stationed down the road on each side of the MFA
   4   station kind of backed-off into someone's driveway.
   5   In case there was a vehicle pursuit, they could shut
   6   down the road.
   7         Q    And I show you what has been marked as
   8   State's Exhibit No. 13.             Can you see this from your
   9   location there?
 10          A    No, I cannot, sir.             I can see the top part.
 11    Yes, sir.
 12          Q    And is this a diagram of the MFA station on
 13    September 12th of 2012?
 14          A    Yes, sir, it is.
 15               MR. PARKS:       Your Honor, I would ask that
 16    State's Exhibit No. 13 be admitted into evidence.
 17               MR. EASTWOOD:         No objection.
 18               JUDGE SUTHERLAND:            State's Exhibit 13 is
 19    admitted.
 20          Q    (By Mr. Parks) And Sergeant Folsom, I'm
 21    going to ask you if you can take the laser pointer.
 22          A    May I stand, sir?
 23          Q    Sure, and if you need to come around here to
 24    the front, would that be all right?
 25               JUDGE SUTHERLAND: Yeah, it's all right.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 212 of 239 PageID #: 407
                                   Weinhaus, Vol. 1                          212




   1   Stay away from the front of it.                I can see all
   2   right, so the jury can see it.                 It's not important
   3   if I see it, it's important that the jury see it.
   4         Q    (By Mr. Parks) Does this -- this is the
   5   location.       Where were you parked?
   6         A    Corporal Mertens and I were parked here in
   7   Corporal Mertens' vehicle just off the highway.
   8   There's the main Route K here, and we were parked
   9   highly visible here just off the road.
 10          Q    And where were the FBI agents located?
 11          A    The FBI agents were originally parked here
 12    in their vehicle; however, during the time when we
 13    were waiting for Mr. Weinhaus to arrive, someone was
 14    repairing the gutters and they had to back up and
 15    move here because they were asked by the employees
 16    to move their vehicle.
 17          Q    And is this the location where the FBI
 18    agents were located?
 19          A    Yes, sir.       This is the location when the
 20    incident took place where their vehicle was parked.
 21          Q    And this vehicle here, what is this vehicle?
 22          A    This vehicle represents Mr. Weinhaus'
 23    vehicle parked.
 24          Q    And when he pulled into the driveway or into
 25    the parking lot, how did he pull in?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 213 of 239 PageID #: 408
                                   Weinhaus, Vol. 1                          213




   1         A    Mr. Weinhaus was coming down Route K here.
   2   He made a left turn into the parking lot.                  He drove
   3   passed our location at a high rate of speed, he
   4   turned around here and came passed our vehicle here
   5   and applied his brakes and slid on the gravel to a
   6   stationary position here.
   7         Q    And in this diagram are there any items that
   8   were next to the building that you saw that are not
   9   on this diagram?
 10          A    In the diagram, I previously viewed the
 11    diagram, there were gas pumps here; however, there's
 12    photographs that show there was a large container
 13    here where my dot is that contained propane tanks
 14    where you exchange like at Lowe's.
 15          Q    Like barbecue kind?
 16          A    Yes, sir.
 17          Q    Okay, thank you very much.             Sergeant Folsom,
 18    I'm going to back up here because I forgot one item.
 19    I'm going to show you what has been marked as
 20    State's Exhibit No. 11.             Do you recognize this?
 21          A    Yes, sir.
 22          Q    And what do you recognize this to be?
 23          A    It is a photograph of the brown bag that was
 24    an exhibit that you previously had me open here, the
 25    small brown bag.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 214 of 239 PageID #: 409
                                   Weinhaus, Vol. 1                          214




   1              MR. PARKS:       Your Honor, I would ask that
   2   State's Exhibit No. 11 be admitted into evidence.
   3              MR. EASTWOOD:         Can I see it?       I won't
   4   object.
   5         Q    (By Mr. Parks) To clarify this, where was
   6   this photo taken?
   7         A    This photograph is taken in Mr. Weinhaus'
   8   basement.       There are on the main level to the right
   9   is the area that we referred to as the command
 10    center, and this is on a shelf basically between the
 11    stairs and the command center.
 12               MR. EASTWOOD:         I have no objection, Your
 13    Honor.
 14               JUDGE SUTHERLAND:            State's Exhibit 11 is
 15    admitted.
 16          Q    (By Mr. Parks) When Mr. Weinhaus pulled into
 17    the MFA station, did anything unusual occur?
 18          A    When he pulled into the MFA station, he
 19    pulled in at a high rate of speed, and while he
 20    drove passed us he was removing his seat belt.
 21          Q    What did you think?
 22          A    It looked that he was in a hurry to get out.
 23          Q    And as a highway trooper, are you trained on
 24    high speed exits from cars?
 25          A    I received training from my FTO, Eric
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 215 of 239 PageID #: 410
                                   Weinhaus, Vol. 1                          215




   1   Bolkmer, his training philosophy was there's no
   2   reason why anyone should get out of the car faster
   3   than you.       So as soon as we begin to pull to the
   4   shoulder, we remove our seat belt and begin to get
   5   out of the vehicle.           His rule was that we always
   6   exited prior to contacting anyone or them exiting
   7   their car.
   8         Q    And seeing Mr. Weinhaus remove his seat belt
   9   before he got the car stopped, did this cause you
 10    any thoughts?
 11          A    It just appeared to me that he was in a
 12    hurry to get out.
 13          Q    Was there anything about the way he pulled
 14    in and came close to your car that gave you pause?
 15          A    Originally I was in the passenger's side and
 16    I had opened my door as he was driving passed our
 17    vehicle, and I began to step out and when I heard --
 18    I could not see his vehicle behind us completely but
 19    I heard the engine accelerate, and when I heard the
 20    engine accelerate I thought maybe at that point that
 21    he was going to ram our vehicle, and I maintained my
 22    seat in the position or seat in the vehicle until he
 23    drove passed our position.
 24          Q    Now were you expecting any trouble from
 25    Mr. Weinhaus that day?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 216 of 239 PageID #: 411
                                   Weinhaus, Vol. 1                          216




   1         A    I was not expecting any physical trouble
   2   from him, no.
   3         Q    How were you dressed?
   4         A    I was wearing a pair of 511 style, they're
   5   police style plain pocket pants, five pocket pants
   6   and a polo shirt with an emblem on it that said
   7   Highway Patrol, large emblem.
   8         Q    How was Corporal Mertens dressed?
   9         A    A different shade of the 511 type pants and
 10    a white polo shirt that had the Highway Patrol's
 11    emblem on it.
 12          Q    Did you have your ballistic vest on?
 13          A    No, sir, we did not.
 14          Q    Why not?
 15          A    We had placed, of course, when we went to
 16    meet him, we placed those items in our vehicle;
 17    however, it was a bad tactical decision.                  We were
 18    lazy and they sat in the back seat, and
 19    Mr. Weinhaus, when I contacted him on the phone, he
 20    told me originally that he would have people there
 21    with him, and we felt like No. 1, we didn't deem him
 22    to be a threat; and No. 2, if we exited the vehicle
 23    and started putting on bullet proof vests and people
 24    saw us, they would interpret that the wrong way.                     So
 25    we made a bad decision, we were kind of lazy and
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 217 of 239 PageID #: 412
                                   Weinhaus, Vol. 1                          217




   1   didn't put them on.
   2         Q    Were you armed at this time?
   3         A    Yes, sir, we were.
   4         Q    What were you armed with?
   5         A    In our vehicle we always have several
   6   weapons; however, we were armed with our subcompact
   7   Glock on our hip, which is our smallest pistol.
   8         Q    Did you have a larger Glock?
   9         A    Yes, sir.
 10          Q    Did you have shotguns?
 11          A    Yes, sir.
 12          Q    Did you have AR-15s?
 13          A    Yes, sir, we did.
 14          Q    But did you get any of these out of the car?
 15          A    No, sir.
 16          Q    When the defendant pulled in and stopped,
 17    what did you do next?
 18          A    When he pulled in and stopped, I exited the
 19    vehicle and I began to talk to him, tried to engage
 20    him in dialogue.         I had a manila folder in my right
 21    hand, which contained a copy of the arrest warrant
 22    as well as the affidavit and other paperwork that I
 23    wanted to show him to show him that I actually did
 24    have an arrest warrant for him.
 25          Q    And what else did you have, if anything?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 218 of 239 PageID #: 413
                                   Weinhaus, Vol. 1                           218




   1         A    All I had was the manila folder in my hand,
   2   my right hand, and my weapon on my left hip, I'm
   3   left-handed.
   4         Q    Did you instruct Corporal Mertens to do
   5   anything at this time?
   6         A    When I got out and I began to walk towards
   7   the rear of Mr. Weinhaus' vehicle, Corporal Mertens
   8   and I kind of met at the trunk of his vehicle.                    He
   9   was a step or two in front of me.               I reached forward
 10    and grabbed his shoulder and kind of pulled back on
 11    him and I explained to him that I wanted him to go
 12    to the trunk of our car and open the trunk.
 13          Q    Why did you do that?
 14          A    I wanted to No. 1 continue the ruse that we
 15    had his computer equipment that we were going to
 16    return to give the FBI agents time to come across
 17    the parking lot to be there, and at the same time
 18    when Mr. Weinhaus had exited his vehicle, he turned
 19    and faced me and was staring at me, and he never
 20    took a step or moved from his vehicle, and I didn't
 21    know if he was going to hop back in the vehicle and
 22    drive off or if he was possibly waiting for me to
 23    come around to speak with him.
 24          Q    What happened next?
 25          A    Corporal Mertens asked me was I sure and I
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 219 of 239 PageID #: 414
                                   Weinhaus, Vol. 1                          219




   1   explained to him that I was sure, that I wanted him
   2   to go to the trunk of the car, and I approached the
   3   rear of Mr. Weinhaus' car and I peaked around the
   4   side where I observed both his hands.
   5         Q    What did you see?
   6         A    They were both empty.
   7         Q    What happened next?
   8         A    When I looked around the car, Mr. Weinhaus
   9   was standing in a bladed fashion towards me.
 10          Q    What do you mean by bladed fashion?
 11          A    Basically standing sideways with his left
 12    foot in front of his right foot at a 45 degree
 13    angle.
 14          Q    What happened then?
 15          A    When I stepped around the side of the
 16    vehicle and I had the folder in my hand, it was at
 17    that point that I could see on the right hip that
 18    Mr. Weinhaus was carrying a large green Army holster
 19    with a black handgun in the holster.
 20          Q    And what happened then?
 21          A    At that point I was kind of shocked, I still
 22    had the folder in my hand and I began to place my
 23    hand on my weapon as I was bladed facing him, and I
 24    asked him what are you doing with that gun.
 25          Q    And was your weapon drawn at this time?
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 220 of 239 PageID #: 415
                                   Weinhaus, Vol. 1                          220




   1         A    I was in the process of removing my weapon
   2   from the holster and placing it at the low ready.
   3         Q    What is the low ready?
   4         A    Down by my side just in front of my hip.
   5         Q    When you asked Mr. Weinhaus why he had the
   6   gun, what happened then?
   7         A    He replied something to the effect of what
   8   are you doing with your gun.
   9         Q    And what did you say?
 10          A    I replied something to the effect of I was
 11    authorized, and he said "well, I'm authorized too"
 12    or something of that nature.
 13          Q    During this conversation, could you see
 14    Mr. Weinhaus' hands?
 15          A    Yes, sir.
 16          Q    What was he doing with his hands?
 17          A    At that point both his hands were down at
 18    his side, and after he replied "well, I'm
 19    authorized," he started reaching his right hand down
 20    and manipulated the flap on the holster that he was
 21    wearing.
 22          Q    Are you familiar with that type of holster?
 23          A    Yes, sir.       I was issued that holster in the
 24    United States Army for several years, and I
 25    personally own one.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 221 of 239 PageID #: 416
                                   Weinhaus, Vol. 1                          221




   1         Q    What happened next?
   2         A    He began to pull -- there's a safety ring
   3   there which requires you to pull the ring all the
   4   way down.       He began to pull the ring down with his
   5   right hand and disengage the flap.
   6         Q    What happened then?
   7         A    At that point, utilizing his right hand, he
   8   swept the flap up.          The flap covers the entire
   9   weapon and goes all the way down the side of the
 10    holster.      He swept the flap up and placed his hand
 11    on the buttstock of the weapon.
 12          Q    What did you do?
 13          A    At that point I ordered him to get on the
 14    ground.
 15          Q    And what did he do?
 16          A    At that point he did not get on the ground.
 17    He turned and instead of standing at a bladed
 18    position towards me, now he was squared up to me, we
 19    were squared face to face, toe to toe.
 20          Q    During this time where was the defendant's
 21    eyes?
 22          A    His eyes never left my face.
 23          Q    What happened next?
 24          A    At that point I began to raise my weapon
 25    thinking that Mr. Weinhaus was going to draw his
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 222 of 239 PageID #: 417
                                   Weinhaus, Vol. 1                          222




   1   weapon, and at that point I observed in my line of
   2   sight was some people at the gas station propane
   3   tanks and fuel tanks, and I could not fire my
   4   weapon.
   5         Q    What did you do?
   6         A    Stepped left to change my angle of contact
   7   with Mr. Weinhaus.
   8         Q    Where was Mr. Weinhaus' hands at this time?
   9         A    He was still manipulating the holster on his
 10    weapon.      His right hand was on the holster,
 11    underneath the holster's flap on the gun.                  His left
 12    hand I have no idea, I was just staring at his right
 13    hand.     My vision began to tunnel in, and I was just
 14    fixed on his right hand on that weapon.
 15          Q    In a shooting situation, is this unusual for
 16    your vision to start tunneling in on one particular
 17    area?
 18          A    In my training, no, it's not unusual.
 19          Q    What happened next?
 20          A    At that point I stepped left and I had a
 21    clear line of sight, and it was at that point
 22    Mr. Weinhaus, I again ordered him as well as
 23    Corporal Mertens ordered him to get down on the
 24    ground.      At that point he looked me square in my
 25    face and said, "you're going to have to shoot me" as
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 223 of 239 PageID #: 418
                                   Weinhaus, Vol. 1                          223




   1   he continued to draw the weapon out.
   2         Q    And what did you do?
   3         A    As he pulled the weapon out, again that was
   4   the only thing that I was focused on was the weapon,
   5   I watched the weapon come all the way up out of the
   6   holster, except for about the last inch of the
   7   weapon.
   8         Q    What happened next?
   9         A    The holster required him to draw the weapon
 10    up in an extreme position and then cant the weapon.
 11    As soon as he had the weapon all the way up and it
 12    was about an inch out of the holster, I fired two
 13    shots to his chest and one to his head to
 14    incapacitate him as I continued to step left away
 15    from the gas pumps.
 16          Q    And did you hit him?
 17          A    Yes, I hit him.
 18          Q    And what did he do?
 19          A    At that point I heard -- I did not hear the
 20    gunshots from my gun, but I felt the recoil, but I
 21    saw the blood begin to spurt from his chest.                    He was
 22    wearing a dress shirt like I have on now and a tie,
 23    and I physically was maybe seven feet from him, and
 24    I saw the rounds hit and the blood begin to spurt
 25    from his chest, and I saw both his eyes rolled up in
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 224 of 239 PageID #: 419
                                   Weinhaus, Vol. 1                          224




   1   his head, and there was just the whites of his eyes
   2   showing.
   3         Q    What did you think had happened at this
   4   time?
   5         A    I was pretty sure that I had killed him,
   6   that I had incapacitated him.
   7         Q    I show you what has been marked as State's
   8   Exhibit No. 27.         Could you open this for us, please?
   9         A    Yes, sir.
 10          Q    And I show you a holster that was taken from
 11    State's Exhibit No. 27.             Is this the same type of
 12    holster that Mr. Weinhaus was wearing?
 13          A    Yes, sir.
 14          Q    Do you know if this was the same holster?
 15          A    I do not know, I know that looks to be the
 16    same type holster.
 17          Q    Do you know if this was the same holster
 18    that you saw in his house when you performed the
 19    search warrant?
 20          A    No, sir, I do not.
 21          Q    But it looks like that same type of holster?
 22          A    Yes, sir, it looks like it.
 23          Q    And I show you a nine millimeter pistol that
 24    was in Exhibit 27.          Do you recognize this?
 25          A    Yes, sir, it's a High Point nine millimeter
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 225 of 239 PageID #: 420
                                   Weinhaus, Vol. 1                          225




   1   semiautomatic pistol.
   2         Q    Was this the pistol that the defendant had
   3   on him on September 11th?
   4         A    I believe so.         I did not seize the weapon
   5   but it looks like it.
   6         Q    But it looks like the same weapon?
   7         A    Yes, sir.
   8              MR. PARKS:       Your Honor, I would ask that
   9   State's Exhibit 27 be admitted into evidence.
 10               MR. EASTWOOD:         No objection.
 11               JUDGE SUTHERLAND:            State's Exhibit 27 is
 12    admitted.
 13          Q    (By Mr. Parks) Could you take this holster,
 14    please.      Could you show the jury how the defendant
 15    was wearing this holster on September 11th.
 16          A    May I stand, sir?
 17          Q    Sure, please.         And you're doing something
 18    with the weapon now, what is that?
 19          A    This is the belt loop catch, so I'm just
 20    lifting up the belt loop catch so I can insert the
 21    holster onto my belt.
 22          Q    And they have a little -- it has a spring
 23    load there that catches back in so it won't fall off
 24    your belt; is that right?
 25          A    Yes, sir, it has a safety device, I didn't
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 226 of 239 PageID #: 421
                                   Weinhaus, Vol. 1                          226




   1   clip it but it clips back into the metal.
   2         Q    When a weapon is in that holster, how do you
   3   get the weapon out?
   4         A    In order to retrieve the weapon, you have to
   5   pull this black plastic ring here all the way down
   6   until the metal clip here breaks free of all the
   7   way -- it's secured underneath this plastic all the
   8   way into here, so that piece of metal has to come
   9   all the way down for the flap to disengage.
 10          Q    And when you first saw the defendant, how
 11    was the flap of the holster?
 12          A    It was secure and the weapon was secured.
 13          Q    What did you see the defendant do to this
 14    holster?
 15          A    I saw him manipulate the flap, pull the flap
 16    back and place his hand on the buttstock of the
 17    weapon.
 18          Q    And then what did he do with the weapon?
 19          A    He began to draw the weapon out after he
 20    made the comment "you're going to have to shoot me,
 21    man", and he drew the weapon out to here where he
 22    was just not able to yet cant it forward when I
 23    fired.
 24          Q    Thank you.       Now after the defendant fell, or
 25    let me rephrase that. How did the defendant fall
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 227 of 239 PageID #: 422
                                   Weinhaus, Vol. 1                          227




   1   after he had been shot?
   2         A    I fired two shots to his head, one -- two
   3   shots to his chest and one to his head, and I began
   4   to scan left.        I heard some screaming at the gas
   5   station, and I did not know if there were other
   6   people involved.         Mr. Weinhaus stated he was going
   7   to bring people with him and that he would not be
   8   alone, so I did not know if I hadn't shot one of
   9   those people at the gas station.               So I began to look
 10    towards the gas station and scan for other threats
 11    when I heard a loud gunshot to my right towards the
 12    area where Mr. Weinhaus was standing.                 At that point
 13    I traversed my weapon back to the right, and I had
 14    already taken a step forward and to the left, and I
 15    fired one last shot to his head.
 16          Q    And did he fall backwards, did he fall
 17    forwards, how did he fall?
 18          A    When I fired the last shot to his head, he
 19    had the weapon in his right hand, the weapon was in
 20    his hand, his head immediately flinched back and he
 21    dropped violently straight towards the ground and
 22    piled up with his arms underneath his chest with his
 23    buttocks in the air and his legs kind of tucked
 24    underneath him a little bit, almost like a toddler
 25    sleeps.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 228 of 239 PageID #: 423
                                   Weinhaus, Vol. 1                          228




   1         Q    And where was the weapon at this time?
   2         A    The weapon was underneath him, I presume,
   3   because I couldn't see it.
   4         Q    What did you do?
   5         A    At that point I continued to scan and see if
   6   I saw anyone else with a weapon or anything else.
   7   The FBI agent was running towards me, Mike
   8   Maruschak.       I asked him to cover me as I moved
   9   forward, and I rolled Mr. Weinhaus over onto his
 10    left side, and I saw the weapon was lying underneath
 11    him, just out of the holster.                  The buttstock of the
 12    weapon was still in his fingertips; however, none of
 13    his fingers were near the trigger guard or trigger
 14    housing, and I could clearly see that he was totally
 15    incapacitated.        He was totally limp.
 16          Q    What did you do then?
 17          A    I still had my weapon in my left hand.                 I
 18    took the weapon from underneath him and jammed it
 19    down into the holster.
 20          Q    Why did you do that?
 21          A    Because I knew that better than to throw it
 22    or tuck it in my waist band and shoot myself or have
 23    an accidental discharge, I was really nervous, so I
 24    jammed the weapon into the holster because I knew it
 25    would be secure there, there was no way it could go
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 229 of 239 PageID #: 424
                                   Weinhaus, Vol. 1                            229




   1   off.
   2         Q    What did you do with the holster?
   3         A    I asked for Mike Maruschak to cover me and
   4   he assumed the position of cover pointing his weapon
   5   towards Mr. Weinhaus.            I reached down and clipped
   6   those clips that you saw me clip before, and I threw
   7   the whole thing behind me.
   8         Q    The holster and the weapon behind you?
   9         A    Yes, sir, and then I handcuffed
 10    Mr. Weinhaus.
 11          Q    Did you then call for an ambulance?
 12          A    Almost immediately I had yelled after I
 13    handcuffed him to call for an ambulance, and Mike
 14    Maruschak, the FBI agent, told me he would.                   And at
 15    that point Corporal Mertens yelled from beside the
 16    car that he had already called, they were on the
 17    way.
 18          Q    I show you now what has been marked as
 19    State's Exhibit No. 15.             Do you recognize this?
 20          A    Yes, sir.
 21          Q    What do you recognize this to be?
 22          A    It is a copy of the watch video that was
 23    discovered later that Mr. Weinhaus was wearing.                     I
 24    never saw it, it was some type of digital watch that
 25    recorded.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 230 of 239 PageID #: 425
                                   Weinhaus, Vol. 1                          230




   1         Q    You didn't see the watch but you've seen the
   2   video?
   3         A    I've seen the video, yes, sir.
   4         Q    Is this a fair and accurate representation
   5   of the video taken from the wrist watch video/audio
   6   camera?
   7         A    Yes, sir, it is.
   8              MR. PARKS:       At this time I would ask that
   9   State's Exhibit 15 be admitted into evidence.
 10               MR. EASTWOOD:         I would just ask that
 11    Mr. Parks provide a little more foundation in the
 12    sense that this was the watch that was worn at the
 13    scene as well.        So let me just get that in for the
 14    record.
 15               MR. PARKS:       I have to do that with another
 16    witness, Your Honor, because this witness does not
 17    know anything about the wrist watch video at the
 18    scene.
 19               JUDGE SUTHERLAND:            We ought to wait then.
 20               MR. EASTWOOD:         I will not object, then, to
 21    the contents of the video itself.
 22               JUDGE SUTHERLAND:            State's Exhibit 15 then
 23    is admitted.
 24               MR. PARKS:       And I ask permission to play the
 25    video at this time.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 231 of 239 PageID #: 426
                                   Weinhaus, Vol. 1                          231




   1              MR. EASTWOOD:         No objection.
   2              JUDGE SUTHERLAND:            Not too long, I guess?
   3              MR. PARKS:       About nine minutes.
   4                  (WHEREUPON THE VIDEO WAS SHOWN)
   5         Q    (By Mr. Parks) Sergeant Folsom, is the rest
   6   of the video of the ambulance personnel arriving and
   7   performing medical procedures on the defendant?
   8         A    Yes.     Prior to that there's some of Scott
   9   Mertens and I -- Scott Mertens tried to provide
 10    medical aid to Mr. Weinhaus while I secured the
 11    scene.
 12               JUDGE SUTHERLAND:            I assume there's no
 13    representation that the date that was showing on the
 14    video was accurate?
 15               MR. PARKS:       No, Your Honor.
 16          Q    (By Mr. Parks) And Sergeant Folsom, I show
 17    you what has been marked as State's Exhibit No. 16.
 18    Can you identify that, please?
 19          A    That is the location of the shooting.
 20    There's Corporal Mertens' white patrol car and
 21    Mr. Weinhaus' green Subaru.
 22          Q    And are those in the same position as on
 23    State's Exhibit 13?
 24          A    Yes, same as on the diagram.
 25          Q    And I show you State's Exhibit 17, do you
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 232 of 239 PageID #: 427
                                   Weinhaus, Vol. 1                          232




   1   recognize this?
   2         A    Yes, sir.
   3         Q    What is this a photo of?
   4         A    It's a photo of the other side of the
   5   vehicle.      It's a different angle of the crime scene
   6   there at the gas station.
   7         Q    And I show you State's Exhibit No. 18, do
   8   you recognize this?
   9         A    Yes, sir, that is a different angle of the
 10    same area, same vehicles.
 11          Q    And I show you State's Exhibit No. 19, do
 12    you recognize this?
 13          A    Yes, sir, that is another angle of the
 14    vehicles there in the parking lot.
 15          Q    And I show you State's Exhibit No. 14, do
 16    you recognize this?
 17          A    Yes, sir, that is -- looks like a more
 18    distant shot of the area.
 19          Q    And these are showing the cars, Corporal
 20    Mertens' car and the defendant's car as they were on
 21    the day of September 11th, 2012?
 22          A    Yes, sir, it does.
 23          Q    And do these photographs fairly and
 24    accurately represent the way the scene was?
 25          A    Yes, sir, they do.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 233 of 239 PageID #: 428
                                   Weinhaus, Vol. 1                          233




   1         Q    Now there's some Highway Patrol and county
   2   vehicles in these photographs, but those vehicles
   3   came afterwards; is that correct?
   4         A    Yes, sir.
   5         Q    But these vehicles would be fair and
   6   accurate representations of the scene as you saw it
   7   that day?
   8         A    Yes, sir, it would.
   9              MR. PARKS:       Your Honor, I would ask that
 10    State's Exhibits 14, 16, 17, 18 and 19 be admitted
 11    into evidence.
 12               MR. EASTWOOD:         Can I look at them, please,
 13    Judge?
 14               JUDGE SUTHERLAND:            Yes.
 15               MR. EASTWOOD:         No objection, Your Honor.
 16               JUDGE SUTHERLAND:            State's Exhibits 14, 15,
 17    16, 17 and 18 are admitted.                Did you offer 19 or
 18    just 18?
 19               MR. PARKS:       18 and 19.
 20               JUDGE SUTHERLAND:            18 and 19 are admitted.
 21          Q    (By Mr. Parks) I'm going to show you here
 22    State's Exhibit No. 14.             Do you see in this picture
 23    the propane tanks that you were talking about?
 24          A    Yes, sir, here along the building there's an
 25    ice machine as well as to the left of it is the cage
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 234 of 239 PageID #: 429
                                   Weinhaus, Vol. 1                          234




   1   of propane.
   2         Q    And you would have been coming from the
   3   passenger side of the white car, here on State's
   4   Exhibit 13, you would have gotten out of the
   5   passenger side of the white car; is that correct?
   6         A    Yes, sir.
   7         Q    And you would have come around to an area
   8   approximately here?
   9         A    Yes, sir.
 10          Q    And this is where you said the defendant got
 11    out of his car and was standing approximately here?
 12          A    He was standing by the driver's door of his
 13    vehicle.
 14          Q    Right here?
 15          A    Yes, sir.
 16          Q    And those are -- you can tell where he was
 17    standing by the debris that was left from the
 18    medical personnel, is that correct, in those
 19    photographs?
 20          A    The medical debris represents where he fell.
 21    I don't believe it would indicate exactly where he
 22    was standing.        He was standing more towards the
 23    vehicle, and the medical debris is more towards the
 24    left.
 25          Q    And you told Corporal Mertens to pop his
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 235 of 239 PageID #: 430
                                   Weinhaus, Vol. 1                          235




   1   trunk and he did so here?
   2         A    Yes, sir, he went back to the trunk.
   3         Q    From your position here you're looking over
   4   toward -- right in here is where you saw those gas
   5   tanks; is that correct?
   6         A    Yes, sir, there's gas tanks, people and gas
   7   pumps there.
   8         Q    So you left the cover of your car, moved to
   9   the left so that you wouldn't be firing directly
 10    into the gas pumps or the gas tanks; is that
 11    correct?
 12          A    That is a correct statement; however, you
 13    pointed the pointer at the back of our car and I
 14    moved from the back of Mr. Weinhaus' car to change
 15    the angle.
 16          Q    Over into this area?
 17          A    Yes, so that my shots would go into the area
 18    between the FBI car and the curb.
 19          Q    And could you come down and mark on here
 20    where you ended up?
 21          A    Where I ended up standing up during the
 22    shooting, sir?
 23          Q    Yes.
 24          A    I ended up somewhere in here.              I was
 25    originally here.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 236 of 239 PageID #: 431
                                   Weinhaus, Vol. 1                          236




   1         Q    And where was the defendant standing?
   2         A    Here.
   3         Q    Put a D there.          And the O is where you
   4   started and the X is where you ended up?
   5         A    Yes, sir.
   6              MR. PARKS:       Your Honor, I have no more
   7   questions of this witness at this time.
   8              JUDGE SUTHERLAND:            I told the jury we'd
   9   recess around 5:00 give or take, and we're right
 10    around 5:00, so I think we're going to recess.
 11    Sergeant Folsom, I'll have to ask you to come back
 12    tomorrow morning.          Ladies and gentlemen, you may
 13    have noticed that this particular room is sometimes
 14    more like a dictatorship than a democracy.                   I want
 15    to return a little democracy to the proceeding.                     Can
 16    we start a little early tomorrow?               Is it okay if we
 17    start at 8:30?        Anybody got a problem with that?
 18    You have a little question mark on your face, is
 19    that a problem, Ms. Stack, is that okay?                  If that's
 20    all right, we'll start at 8:30.                The earlier we get
 21    started, the earlier we'll get done whenever we get
 22    done.     If you could be in the jury room perhaps 15
 23    minutes before that, 8:15 or so, so we can get a
 24    head count and make sure everybody is here, give you
 25    a chance to go to the restroom if you need to before
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 237 of 239 PageID #: 432
                                   Weinhaus, Vol. 1                          237




   1   we start at 8:30 if that's okay, gentlemen?
   2              MR. PARKS:       Yes, sir.
   3              MR. EASTWOOD:         Yes, sir.
   4              JUDGE SUTHERLAND:            The Court reminds you
   5   until you retire to consider your verdict, you must
   6   not discuss this case among yourselves, with others
   7   or permit anyone to discuss it in your hearing.                     You
   8   should not form or express any opinion about this
   9   case until it is finally given to you to decide.                     Do
 10    not do any research or investigation on your own
 11    about any matter regarding this case or anyone
 12    involved with the trial.              Do not communicate with
 13    others about the case by any means.                Do not read,
 14    view or listen to any newspaper, radio, electronic
 15    communication from the Internet or television report
 16    of the trial.        I show it's about 4:59 p.m.             We're in
 17    recess until 8:30 a.m. tomorrow morning.
 18                     (COURT RECESSED FOR THE DAY)
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 238 of 239 PageID #: 433
                                   Weinhaus, Vol. 1                          238




   1   State of Missouri
   2                               SS.
   3   County of Franklin
   4          I, Kim Wrocklage, duly commissioned, qualified
   5   and authorized to administer oaths and to certify to
   6   depositions, do hereby certify that pursuant to
   7   agreement in the civil cause now pending and
   8   undetermined in the Circuit Court of Franklin
   9   County, State of Missouri, to be used in the trial
 10    of said cause in said court, I was attended at the
 11    Franklin County Justice Center, 401 E. Main Street,
 12    Union, in the County of Franklin, State of Missouri
 13    on the 8th day of October, 2014.
 14           The said witnesses were sworn to testify the
 15    truth, the whole truth, and nothing but the truth in
 16    the case aforesaid and thereupon testified as is
 17    shown in the foregoing transcript.                Said testimony
 18    was reported by me in shorthand and caused to be
 19    transcribed into typewriting, and the foregoing
 20    pages correctly set forth the testimony of the
 21    aforementioned witnesses, together with the
 22    questions propounded by counsel and remarks and
 23    objections of counsel thereto, and is in all
 24    respects a full, true, correct and complete
 25    transcript.
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Case: 4:17-cv-01941-DDN Doc. #: 27-2 Filed: 12/22/17 Page: 239 of 239 PageID #: 434
                                   Weinhaus, Vol. 1                          239




   1          I further certify that I am not of counsel or
   2   attorney for either of the parties to said suit, not
   3   related to nor interested in any of the parties or
   4   their attorneys.
   5
   6          _______/s/ Kim Wrocklage_______
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